Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 1Confidentiality
                                         to Further     of 84. PageID #: 253521
                                                                            Review

     1                  UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
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          IN RE:     NATIONAL                    MDL No. 2804
     5    PRESCRIPTION OPIATE
          LITIGATION                             Case No.
     6                                           1:17-MD-2804
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          THIS DOCUMENT RELATES TO               Hon. Dan A. Polster
     8    ALL CASES
     9    **************************
    10
    11           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                        CONFIDENTIALITY REVIEW
    13          VIDEOTAPED DEPOSITION OF EILEEN SPAULDING
    14
    15                  Tuesday, February 5th, 2019
    16                         9:06 a.m.
    17
    18           Held At:
    19                  Ropes & Gray LLP
    20                  800 Boylston Street
    21                  Boston, Massachusetts
    22
    23    REPORTED BY:
    24    Maureen O'Connor Pollard, RMR, CLR, CSR

   Golkow Litigation Services                                         Page 1 (1)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 2Confidentiality
                                         to Further     of 84. PageID #: 253522
                                                                            Review
                                           Page 2                                                       Page 4
    1 APPEARANCES:                                   1 APPEARANCES (Continued):
    2                                                2 FOR ENDO PHARMACEUTICALS INC., ENDO HEALTH
    3 FOR THE PLAINTIFFS:                                SOLUTIONS INC., PAR PHARMACEUTICAL COMPANIES,
    4     GARY A. GOTTO, ESQ.                        3 INC. (f/k/a PAR PHARMACEUTICAL HOLDINGS, INC.):
                                                     4     ERICA GUTHRIE, ESQ. (Remotely)
    5     CHANELE REYES, ESQ.
                                                     5     HEATHER A. HOSMER, ESQ. (Remotely)
    6     DAVID KO, ESQ. (Remotely)
                                                     6       ARNOLD & PORTER KAYE SCHOLER, LLP
    7       KELLER ROHRBACK, LLP
                                                     7       601 Massachusetts Avenue, NW
    8       3101 North Central Avenue
                                                     8       Washington, DC 20001-3743
    9       Phoenix, Arizona 85012                   9       202-942-5000
   10       ggotto@kellerrohrback.com               10       erica.guthrie@arnoldporter.com
   11       creyes@kellerrohrback.com               11       heather.hosmer@arnoldporter.com
   12                                               12
   13 FOR THE TENNESSEE PLAINTIFFS:                 13 FOR MALLINCKRODT, LLC and SPECGX, LLC, and THE
   14     BENJAMIN A. GESTEL, ESQ.                       DEPONENT:
   15       BRANSTETTER, STRANCH & JENNINGS, PLLC   14     ANDREW O'CONNOR, ESQ.
   16       223 Rosa L. Parks Avenue                15     KAITLIN A. BERGEN
                                                    16     JENNIFER S. PANTINA, ESQ.
   17       Nashville, Tennessee 37203
                                                    17       ROPES & GRAY LLP
   18       615-254-8801
                                                    18       800 Boylston Street
   19       bgestel@bsjfirm.com
                                                    19       Boston, Massachusetts 02199-3600
   20
                                                    20       617-951-7000
   21
                                                    21       andrew.oconnor@ropesgray.com
   22                                               22       kaitlin.gergen@ropesgray.com
   23                                               23
   24                                               24 VIDEOGRAPHER: Robert Martignetti

                                        Page 3                                                          Page 5
    1   APPEARANCES (Continued):                     1             INDEX
    2   FOR McKESSON CORPORATION:
                                                     2   EXAMINATION                            PAGE
                                                     3   EILEEN SPAULDING
    3     ALEJANDRO BARRIENTOS, ESQ. (Remotely)      4   BY MR. GOTTO                           10
    4       COVINGTON & BURLING LLP                  5   BY MR. GESTEL                          274
                                                     6   BY MR. O'CONNOR                          326
    5       One CityCenter                           7
    6       850 Tenth Street, NW                     8
                                                     9         EXHIBITS
    7       Washington, DC 20001-4956               10   NO.      DESCRIPTION                 PAGE
    8       202-662-5518                            11   Mallinckrodt- 11/11/09 e-mail, Bates
    9       abarrientos@cov.co,                          Spaulding-1 MNK-T1_0000278740............ 111
                                                    12
   10                                                  Mallinckrodt- Document titled FY '10
   11   FOR WALMART:                                13 Spaulding-2    Assessment, Bates
                                                                MNK-T1_0000490704 through
   12     CHRISTOPHER MARKHAM, ESQ.                 14          720.......................... 115
   13       JONES DAY                               15 Mallinckrodt- E-mail chain, Bates
   14       100 High Street                            Spaulding-3 MNK-T1_0007026254 and 255.... 121
                                                    16
   15       Boston, Massachusetts 02110                  Mallinckrodt- E-mail chain, Bates
                                                    17 Spaulding-4      MNK-T1_0007730928 through
   16       617-960-3939
                                                                  930.......................... 133
   17       cmarkham@jonesday.com                   18
   18                                                    Mallinckrodt- E-mail chain, Bates
                                                    19 Spaulding-5 MNK-T1_0000274080 and 4081... 136
   19   FOR PERNIX:                                 20 Mallinckrodt- 1/31/11 e-mail with
   20     BRUCE CLARK, ESQ. (Remotely)                   Spaulding-6    attached PowerPoint, Bates
   21        CLARK MICHIE LLP                       21          MNK-T1_0005187729............ 140
                                                    22 Mallinckrodt- Document titled Oxycodone
   22        220 Alexander Street                      Spaulding-7 Extended Release Risk Map
   23        Princeton, New Jersey 08540            23          Action Plan, Bates
                                                                MNK-T1_0000448773 through
   24        bruce.clark@clarkmichie.com            24          780.......................... 144

   Golkow Litigation Services                                                          Page 2 (2 - 5)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 3Confidentiality
                                         to Further     of 84. PageID #: 253523
                                                                            Review
                                                     Page 6                                                         Page 8
    1                                                          1
        Mallinckrodt- E-mail chain, Bates                          Mallinckrodt- E-mail chain, Bates
    2 Spaulding-8 MNK-T1_0006443249............ 150            2 Spaulding-32 MNK-T1_0000282686 and 687.... 239
    3 Mallinckrodt- E-mail chain, Bates                        3 Mallinckrodt- E-mail chain, Bates
        Spaulding-9   MNK-T1_0000492214 and 215.... 153            Spaulding-33 MNK-T1_0000290887............ 242
    4                                                          4
        Mallinckrodt- E-mail chain, Bates                          Mallinckrodt- E-mail chain, Bates
    5 Spaulding-10      MNK-T1_0001792949 through              5 Spaulding-34 MNK-T1_0003044340............ 242
                 951.......................... 159             6 Mallinckrodt- E-mail chain, Bates
    6
        Mallinckrodt- 12/27/07 letter from DEA,                    Spaulding-35 MNK-T1_0000283719 through
    7 Spaulding-11       Bates MNK-T1-0000270069 and
                                                               7          721.......................... 246
                                                               8 Mallinckrodt- E-mail chain, Bates
                 70........................... 166
    8                                                              Spaulding-36 MNK-T1_0006055924 through
        Mallinckrodt- Document titled Suspicious               9          926.......................... 248
    9   Spaulding-12 Order Monitoring Team                    10 Mallinckrodt- E-mail chain, Bates
                 Charter, Bates                                    Spaulding-37 MNK-T1_0006056192............ 249
   10            MNK-T1_0000496062............ 172            11
   11   Mallinckrodt- E-mail chain with                            Mallinckrodt- E-mail chain, Bates
        Spaulding-13 attachment, Bates                        12 Spaulding-38      MNK-T1_0005641401 through
   12            MNK-T1_0007026341 and 342.... 174                          403.......................... 249
   13   Mallinckrodt- E-mail chain, Bates                     13
        Spaulding-14 MNK-T1_0004282621............ 178             Mallinckrodt- Clawed back - E-mail chain,
   14                                                         14 Spaulding-39 Bates MNK-T1_0007729523...... 250
        Mallinckrodt- E-mail chain, Bates                     15 Mallinckrodt- 7/17/08 e-mail with
   15 Spaulding-15 MNK-T1_0000274399 and 400.... 180               Spaulding-40     attachment, Bates
   16 Mallinckrodt- E-mail with attachment,                   16          MNK-T1_0006442504 and 505.... 253
        Spaulding-16 Bates MNK-T1_0002940798...... 184        17 Mallinckrodt- Administrative Memorandum
   17
                                                                   Spaulding-41 of Agreement................. 256
        Mallinckrodt- E-mail chain, Bates                     18
   18 Spaulding-17      MNK-T1_0005663239 through
                 242.......................... 188      Mallinckrodt- Spreadsheet titled Oxy
   19                                                         19 Spaulding-42
                                                                        Percent of Sales by Dist by
      Mallinckrodt- E-mail chain, Bates                          State, Bates
   20 Spaulding-18 MNK-T1_0000280632 and 633.... 194 20          MNK-T1_0008434332............ 284
   21 Mallinckrodt- Document titled Suspicious       21 Mallinckrodt- E-mail chain with
      Spaulding-19 Order Monitoring Program,            Spaulding-43 attachment, Bates
   22          Bates MNK-T1_0000477900               22          MNK-T1_0007898862 through
               through 912.................. 195                 864.......................... 287
   23                                                         23
   24                                                         24

                                                     Page 7                                                         Page 9
    1                                                          1
      Mallinckrodt- Document titled Notes from                     Mallinckrodt- 6/29/12 e-mail with
    2 Spaulding-20   Meeting at DEA Albany                     2   Spaulding-44 attachment, Bates
               Office, 11/01/10, Bates                                      MNK-T1_0007053962 through
    3          MNK-T1_0002357150 and 151.... 198               3            966.... . .. ....... ..... 298
    4 Mallinckrodt- 11/30/10 e-mail, Bates                     4   Mallinckrodt- CSC Steering Committee
      Spaulding-21 MNK-T1_0000270021............ 202               Spaulding-45 Meeting Notes, 12/12/12,
    5                                                          5            Bates MNK-T1_0006967775
      Mallinckrodt- E-mail chain, Bates                                     through 777.................. 304
    6 Spaulding-22 MNK-T1_0001519526 and 527.... 204           6
    7 Mallinckrodt- 10/18/11 e-mail with                           Mallinckrodt- Document titled HZQS -
      Spaulding-23 attachments, Bates                          7   Spaulding-46 Controlled Substances
    8          MNK-T1_0000289371, and                                       Compliance Responsibilities
               MAL-MI000030498 through 502.. 206               8            Associated with
    9                                                                       Anti-Diversion, Bates
      Mallinckrodt- 3/15/11 e-ail with                         9            MNK-TNSTA05335585 through
   10 Spaulding-24    attachment, Bates                       10
                                                                            589.......................... 317
               MNK-T1_0000282467 through
   11          474.......................... 209                   Mallinckrodt- Document titled HZQS -
   12 Mallinckrodt- 4/28/11 e-mail with                       11   Spaulding-47 Identification,
      Spaulding-25 attachment, Bates                                        Investigation, and Reports
   13          MNK-T1_0000283244 through
                                                              12            of Controlled Substances
               248.......................... 211                            Suspicious Orders, Bates
   14
                                                              13            MNK-TNSTA05335590 through
        Mallinckrodt- 11/1/10 letter, Bates                   14
                                                                            593.......................... 318
   15 Spaulding-26 MNK-T1_0000288483 and 484.... 215
   16 Mallinckrodt- E-mail chain, Bates                            Mallinckrodt- Document titled HZQS -
      Spaulding-27 MNK-T1_0000422189 through
                                                              15   Spaulding-48 Controlled Substances
   17          192.......................... 221                            Compliance Responsibilities
   18 Mallinckrodt- E-mail chain, Bates
                                                     16                     Associated with Suspicious
      Spaulding-28 MNK-T1_0000485790 and 791.... 223 17                     Order Monitoring, Bates
                                                                            MNK-TNSTA05335581 through
   19
      Mallinckrodt- E-mail chain with                         18
                                                                            584.......................... 319
   20 Spaulding-29   attachment, Bates
               MNK-T1_0000561060 through                           Mallinckrodt- E-mail chain with
               1062......................... 227
                                                              19   Spaulding-49 attachment, Bates
   21
   22 Mallinckrodt- E-mail chain, Bates                                     MNK-T1_0007898351 through
      Spaulding-30 MNK-T1_0000371673 and 674.... 229
                                                              20
                                                              21
                                                                            354.......................... 320
   23                                                         22
        Mallinckrodt- E-mail chain, Bates                     23
   24 Spaulding-31    MNK-T1_0005424123 through               24

   Golkow Litigation Services                                                                       Page 3 (6 - 9)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 4Confidentiality
                                         to Further     of 84. PageID #: 253524
                                                                            Review
                                                Page 10                                                 Page 12
    1        PROCEEDINGS                                    1      Q. I'm pretty sure we can all be heard.
    2                                                       2         We will take breaks periodically
    3          THE VIDEOGRAPHER: We are now on the          3   today, but if you need a break at any point, as
    4   record. My name is Robert Martignetti, I'm a        4   long as there's not a question pending, just let
    5   videographer for Golkow Litigation Services.        5   me know, and we'll accommodate that. Okay?
    6   Today's date is February 5, 2019, and the time      6      A. Okay.
    7   is 9:06 a.m.                                        7      Q. By whom are you employed?
    8          This video deposition is being held in       8      A. Mallinckrodt.
    9   Boston, Massachusetts, In Re: National Opiate       9      Q. And what's your business address?
   10   Litigation.                                        10      A. 172 Railroad Avenue, Hobart, New York
   11          The deponent is Eileen Spaulding.           11   13788.
   12          Counsel will be noted on the                12      Q. And when did you first become employed
   13   stenographic record.                               13   at Mallinckrodt?
   14          The court reporter is Maureen Pollard,      14      A. December of 1998.
   15   and will now swear in the witness.                 15      Q. Before we get into your Mallinckrodt
   16                                                      16   employment, just a little bit of background.
   17           EILEEN SPAULDING,                          17   Describe for me briefly your post-high school
   18   having been duly identified and sworn, was         18   education.
   19   examined and testified as follows:                 19      A. So I have an associate's in computer
   20            EXAMINATION                               20   information systems technology from BYU. And I
   21   BY MR. GOTTO:                                      21   went into the workforce for Elastic Stop Nut for
   22      Q. Good morning, Ms. Spaulding.                 22   approximately two years after graduation. I
   23      A. Good morning.                                23   then worked for J.L. Hammett School Supplies as
   24      Q. My name is Gary Gotto. We met briefly        24   a customer service rep for ten years, PSE&G as a
                                                Page 11                                                 Page 13
    1   just before we went on the record. We've never      1   customer service rep for approximately two
    2   met before today, correct?                          2   years, and then I relocated to New York and
    3        A. Correct.                                    3   started with Mallinckrodt.
    4        Q. Have you ever given a deposition            4      Q. Okay. What is PSE&G?
    5   previously?                                         5      A. Public Service Electric & Gas. It's
    6        A. No.                                         6   the electric company for the State of New
    7        Q. Okay. Well, we will -- just a few           7   Jersey.
    8   items by way of background. Please let me           8      Q. Okay. And do you hold any
    9   finish my questions if you can, and I'll            9   professional licenses or certifications?
   10   certainly try to let you finish your answers       10      A. No.
   11   before so we don't speak over each other.          11      Q. Approximately when did you get your
   12           If any of my questions are unclear to      12   associate's degree?
   13   you in any way, let me know and I'll do my best    13      A. I graduated in 1990.
   14   to clarify them.                                   14      Q. Okay. All right. And prior to
   15        A. Okay.                                      15   Mallinckrodt did you have any employment history
   16        Q. If you answer a question without           16   that was related in any way to the
   17   asking for a clarification, I'll assume you felt   17   pharmaceuticals industry?
   18   like you understood it. Okay?                      18      A. No.
   19        A. Yes.                                       19      Q. In your undergraduate work did you
   20        Q. And this is kind of a large table so       20   take any coursework that related to the
   21   I'll try to keep my voice up so we can all hear    21   pharmaceuticals industry?
   22   each other. But I'm not shouting, I'm just         22      A. No.
   23   trying to --                                       23      Q. Have you done any other formal --
   24        A. I understand.                              24   apart from on-the-job training or internal

   Golkow Litigation Services                                                         Page 4 (10 - 13)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 5Confidentiality
                                         to Further     of 84. PageID #: 253525
                                                                            Review
                                                      Page 14                                                Page 16
    1   training programs provided at Mallinckrodt, any          1       A. Yes.
    2   other educational programs that you've taken             2       Q. And did any of those documents refresh
    3   that relate in any way to the pharmaceuticals            3   your recollection in any regard?
    4   industry?                                                4       A. Yes.
    5       A. Not sure I understand what you mean.              5       Q. And in what regards can you recall
    6   Like DEA training seminars?                              6   your recollection being refreshed?
    7       Q. That would be -- let me -- the                    7       A. Well, once I'd read the e-mail, then
    8   pharmaceuticals industry -- well, let's be as            8   it would remind me of what the topic or the
    9   broad as we can. That relate to pharmaceuticals          9   subject matter was.
   10   in any way, so that would include anything              10       Q. Okay. Was there any particular matter
   11   related to DEA training or the Controlled               11   you can recall reviewing a document and having
   12   Substances Act, anything of that nature.                12   that document refresh your recollection as to a
   13       A. Yes. So I've attended several DEA                13   specific subject matter or event?
   14   pharmaceutical training seminars sponsored by           14          MR. O'CONNOR: I'm going to object,
   15   the DEA; pharmaceutical industry conferences            15   and instruct the witness not to answer to the
   16   also sponsored by DEA; HDMA, which is now known         16   extent it would get into which particular
   17   as HDA, two of their conferences; and                   17   documents we were looking at which would be
   18   BuzzeoPDMA, now IQVIA, I've attended multiple           18   protected by the attorney/client communication
   19   industry conferences.                                   19   privilege and work product doctrine.
   20       Q. Okay. And have those all been during             20   BY MR. GOTTO:
   21   the time you were employed by Mallinckrodt?             21       Q. So again, and I think this is
   22       A. Yes.                                             22   consistent with your counsel's instruction, I'd
   23       Q. Okay. We'll get into that in just a              23   like you to tell me not the document itself but
   24   bit.                                                    24   just the subject matter, what the event or the
                                                     Page 15                                                 Page 17
    1         Tell me what you did -- and I don't                1   subject matter as to which you can recall your
    2   want you to disclose any communications with             2   recollection being refreshed by reviewing a
    3   your counsel, but what did you do to prepare for         3   document.
    4   today's deposition?                                      4          MR. O'CONNOR: You can answer at a
    5       A. I met with my counsel.                            5   general level.
    6       Q. Okay. And how many times did you meet             6       A. Whatever the subject was of the
    7   with counsel?                                            7   particular document I would remember upon
    8       A. Three.                                            8   reading it.
    9       Q. And approximately when did you meet               9   BY MR. GOTTO:
   10   with counsel?                                           10       Q. Sure. Okay.
   11       A. Two in January, and one yesterday.               11          Fair to say, then, there's not a
   12       Q. And were those personal meetings or              12   specific thing that comes to your mind as you're
   13   telephonic?                                             13   sitting here today of, for example, reviewing a
   14       A. Personal.                                        14   document and having the sensation of oh, gee, I
   15       Q. And who was present?                             15   forgot all about that meeting but now that I
   16       A. Kate and Andrew.                                 16   review this document I remember there was such a
   17       Q. No one else?                                     17   meeting, or anything of that nature that would
   18       A. No.                                              18   be more specific than just a general, well, I
   19       Q. Approximately how long did each one of           19   see a document and that at some level, you know,
   20   the meetings last?                                      20   causes me to better remember something that
   21       A. Seven to eight hours.                            21   happened some years back?
   22       Q. And you can just answer this yes or              22       A. No.
   23   no. Did you review any documents during those           23       Q. Okay. Have you reviewed any
   24   meetings?                                               24   transcripts of any deposition testimony given by

   Golkow Litigation Services                                                             Page 5 (14 - 17)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 6Confidentiality
                                         to Further     of 84. PageID #: 253526
                                                                            Review
                                                Page 18                                                        Page 20
    1   any of the witnesses in this matter?                1           Okay. Do you have at home any paper
    2       A. No.                                          2   files that in any way relate to your work at
    3       Q. Have you had -- well, have you spoken        3   Mallinckrodt?
    4   to anyone who has given a deposition in this        4       A. No.
    5   matter with respect to their deposition?            5       Q. And have you at any time?
    6       A. Only that they had been deposed.             6       A. No. I apologize, I step back. I have
    7   Nothing of the subject matter.                      7   taken work home previously to complete and bring
    8       Q. Okay. And who did you speak to in            8   back to work the next day.
    9   that regard?                                        9       Q. Okay. But in terms of maintaining a
   10       A. Karen Harper.                               10   file in a file --
   11       Q. Anyone else?                                11       A. No, absolutely --
   12       A. No.                                         12       Q. -- cabinet at your home or anything
   13       Q. Have you reviewed any of the papers         13   like that, that's not something that you do?
   14   that have been filed in court related to this      14       A. No, absolutely not.
   15   litigation, including any of the complaints        15       Q. Okay. Well, let's talk about your
   16   filed by any of the plaintiffs?                    16   employment at Mallinckrodt. I'd like first to
   17       A. No.                                         17   just get a general sense of the positions that
   18       Q. Are you aware that there's in excess        18   you've held over the years. I realize you've
   19   of a thousand complaints that have been filed by   19   been there a long time and you may be a little
   20   various governmental entities, counties,           20   fuzzy on particular dates, and that's fine.
   21   municipalities, etcetera, relating to the opioid   21   This isn't a memory contest. And we'll look at
   22   epidemic?                                          22   some documents that may pin down some dates from
   23       A. Yes.                                        23   time to time as we go through today.
   24       Q. And again without divulging any             24           But just at a general level, if you

                                                Page 19                                                      Page 21
    1   communications with counsel, how did you first      1   can tell me the positions that you've held over
    2   become aware of that?                               2   the years at Mallinckrodt.
    3      A. It's only through counsel that I am           3       A. Sure. I started in their packaging
    4   aware of that.                                      4   department as a packaging operator in 1998. I
    5      Q. Is it a subject -- the litigation, is         5   was in that department for approximately a year
    6   that a subject that you've had any conversations    6   and a half, and I transitioned into the
    7   with anyone else at Mallinckrodt, again apart       7   validations department. And I was with
    8   from communications with counsel?                   8   validations for approximately two years. And
    9      A. No.                                           9   then in April of 2001, I transitioned into the
   10      Q. Have you taken any steps to preserve         10   compliance role.
   11   any documents that might in any way relate to      11       Q. Okay. So prior to April of '01, in
   12   the subject matter of the opioid litigation?       12   the packaging and validations positions, just
   13      A. So we have a document preservation           13   tell me generally what responsibilities you had
   14   notice that's been issued, so all documents have   14   in those positions.
   15   been preserved.                                    15       A. In packaging it was working on the
   16      Q. Okay. But -- and that would apply to         16   line that puts the tablets and capsules into the
   17   documents that, for example, are on Mallinckrodt   17   bottles, running the machinery.
   18   servers or on your work computer, that sort of     18          And then in validations it was
   19   thing?                                             19   executing protocols and taking samples to
   20      A. I can only speak to my work computer.        20   validate products for FDA approval.
   21      Q. Okay. In terms of -- do you have a           21       Q. Okay. And did you receive any
   22   personal computer at home?                         22   training with respect to either of those
   23      A. Actually, no, I don't.                       23   positions?
   24      Q. You don't.                                   24       A. Yes.

   Golkow Litigation Services                                                           Page 6 (18 - 21)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 7Confidentiality
                                         to Further     of 84. PageID #: 253527
                                                                            Review
                                                Page 22                                                 Page 24
    1       Q. What was the nature of the training?         1   manufacturers on behalf of Mallinckrodt.
    2       A. So in packaging would have been              2       Q. So prior to having the distributor
    3   on-the-job training, classroom training, SOP        3   license, Mallinckrodt had a license to
    4   training.                                           4   manufacture controlled substances, correct?
    5          The same for validations.                    5       A. Yes.
    6   Validations, I had in the beginning a one-on-one    6       Q. And so it would then -- what would it
    7   trainer that would show me how to take samples      7   then do with the controlled substances after it
    8   and execute the protocols, how to write reports.    8   manufactured them?
    9       Q. And what is SOP training?                    9       A. It would send them to St. Louis for
   10       A. Reading SOPs, standard operating            10   distribution.
   11   procedures. We have a computer system that         11       Q. And did Mallinckrodt in St. Louis have
   12   assigns us SOPs based on our curriculum, and we    12   a distribution license?
   13   read those, and in some cases take -- there's a    13       A. Yes.
   14   quiz associated with those SOPs.                   14       Q. Okay. So the distributor license that
   15       Q. Okay. You said April of '01 you             15   was obtained in '01 was for the Hobart facility?
   16   transitioned to a compliance role. What was the    16       A. Yes.
   17   compliance role that you transitioned into?        17       Q. Okay. So when you took the position
   18       A. So in April of 2001, the reason I           18   of compliance investigator, to whom did you
   19   remember the date is because that's when our       19   report at that time?
   20   distribution center opened, and a newly created    20       A. Liz McPhail.
   21   position of compliance investigator -- excuse      21       Q. And what was her position?
   22   me, compliance investigator was created in which   22       A. Purchasing manager.
   23   I did the ARCOS reporting. I would investigate     23       Q. And for how long did that reporting
   24   any losses in transit with the carriers, made      24   relationship continue?
                                                Page 23                                                 Page 25
    1   sure our reports were filed on time, handled        1      A. I don't recall exactly.
    2   destruction of the pharmaceutical waste, and any    2      Q. Was it some number of years?
    3   other tasks as assigned.                            3      A. A few years.
    4      Q. Okay. And you indicated this was a            4      Q. Okay. And to whom did you report
    5   new position that was created in '01, is that       5   after you no longer reported to Ms. McPhail?
    6   correct?                                            6      A. To the materials manager.
    7      A. Yes.                                          7      Q. And who was that?
    8      Q. And it was related to the                     8      A. Tim Bach, and then later Aaron
    9   establishment of the distribution center?           9   Nikolaus.
   10      A. Yes, it was an additional license that       10      Q. And for how long did those reporting
   11   was started at the Hobart site.                    11   relationships continue?
   12      Q. And what was the nature of the               12      A. Again, a few years.
   13   additional license?                                13      Q. And after that to whom did you report?
   14      A. A distribution center. So previous to        14      A. Karen Harper.
   15   that we had only had a manufacturing DEA license   15      Q. Do you recall approximately when you
   16   and an analytical license. The addition of the     16   began reporting to Ms. Harper?
   17   distribution center in Hobart created the need     17      A. 2008 sometime.
   18   to have a DEA distributor license and a DEA        18      Q. And do you recall what her position
   19   exporter license.                                  19   was at that time?
   20      Q. And so the DEA distributor license,          20      A. Senior manager of controlled
   21   what did that permit Mallinckrodt to do that it    21   substances compliance.
   22   hadn't done previously?                            22      Q. And for how long did your reporting
   23      A. To distribute either Mallinckrodt-made       23   relationship with Ms. Harper continue?
   24   products or products that were made by other       24      A. I'm still reporting to Karen Harper.

   Golkow Litigation Services                                                        Page 7 (22 - 25)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 8Confidentiality
                                         to Further     of 84. PageID #: 253528
                                                                            Review
                                                Page 26                                                 Page 28
    1      Q. Okay. The position compliance                 1   tell me at the beginning how you did it, and
    2   investigator which you indicated was a new          2   then how that process changed over the years.
    3   position when you took it in '01, did you           3        A. So at the beginning it was a --
    4   receive a written job description or a list of      4   basically a -- we call it DDS, dangerous drug
    5   responsibilities?                                   5   system, would compile all of the data for the
    6      A. I don't remember.                             6   receipts, and the shipments, and download it
    7      Q. How did you come to have that                 7   into ARCOS format, which is -- I don't know,
    8   position? Did you apply for it?                     8   it's a specific format, and then we would
    9      A. Yes. There was a posting internally           9   download it onto disk and mail that disk to DEA
   10   which I applied and was interviewed and awarded    10   quarterly. Over time we started reporting
   11   the position.                                      11   monthly at the request of DEA. And then in time
   12      Q. Do you recall by whom you were               12   DEA had enhanced their systems to be able to
   13   interviewed?                                       13   report online.
   14      A. Liz McPhail was one of them. I don't         14           So now we have two computer systems
   15   remember who the others were.                      15   that we merged together, our manufacturing and
   16      Q. And did you have an understanding at         16   our distribution center inventory systems, we
   17   the time as to what in your background qualified   17   merged those together into a file that converts
   18   you for that position?                             18   to ARCOS format, and we upload it via a portal
   19      A. I guess just being an operator and           19   on a monthly basis.
   20   familiar with our processes and our products.      20        Q. Okay. When did it -- did the reports
   21      Q. And you listed a few items that you          21   convert from quarterly to monthly, if you
   22   had responsibility for, for example, ARCOS         22   remember?
   23   reporting. What was ARCOS reporting?               23        A. I don't remember exactly when.
   24      A. ARCOS reporting is -- at that time we        24        Q. Is there anyone else involved in the
                                                Page 27                                                 Page 29
    1   were reporting quarterly all of our                 1   process of compiling the data and transmitting
    2   distributions to our next downstream direct         2   the ARCOS reports?
    3   customer.                                           3       A. For which DEA license?
    4      Q. And those reports went to whom?               4       Q. Well, are you involved in the ARCOS
    5      A. DEA.                                          5   reporting for other than the Hobart distribution
    6      Q. Okay. And so was it your -- you had           6   license?
    7   responsibility for completing those reports, is     7       A. Now I am. Back at the beginning of my
    8   that right?                                         8   role I was not. Now, as manager, there's
    9      A. For the distributor license.                  9   another person that works under me, and she does
   10      Q. And do you continue to have that             10   the manufacturing DEA ARCOS, and I do the
   11   responsibility today?                              11   distributor ARCOS.
   12      A. Yes.                                         12       Q. Okay.
   13      Q. Tell me what the -- just in general          13       A. And we're backup for each other.
   14   what the ARCOS report reports to the DEA?          14       Q. Okay. And when did that come to be
   15      A. So ARCOS is Automation Reports               15   that you had someone working under you that you
   16   Consolidated Ordering System, and it is all of     16   just described?
   17   our receipts, so any product that we bring in we   17       A. In April of 2017.
   18   record and any product we ship out we record,      18       Q. So prior to the time that you had this
   19   and so it's acquisitions and dispositions.         19   person working under you on the manufacturing
   20      Q. And how do you go about gathering the        20   license, was there anyone else involved in
   21   data that you include in that report?              21   compiling or transmitting the ARCOS reports that
   22      A. For what time period? Because it's           22   you had responsibility for?
   23   changed.                                           23       A. No.
   24      Q. Okay. Fair enough. Maybe you can             24       Q. Was there any process in place to

   Golkow Litigation Services                                                        Page 8 (26 - 29)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1984-19
                               SubjectFiled: 07/24/19 9Confidentiality
                                         to Further     of 84. PageID #: 253529
                                                                            Review
                                                Page 30                                                 Page 32
    1   review the ARCOS reports that you prepared for      1       A. Both, you know, that the reports were
    2   accuracy or completeness?                           2   filed on time.
    3           MR. O'CONNOR: Object to form.               3       Q. Okay. And other than timeliness, any
    4       A. I'm not sure I understand. It's a            4   other aspect of the reporting that was subject
    5   computer download.                                  5   of any goals or reviews?
    6   BY MR. GOTTO:                                       6       A. Not that I can recall.
    7       Q. Okay. So let's go back to when it was        7       Q. Do you have an understanding of the
    8   a physical report that you were preparing and       8   purpose of the -- from the DEA's standpoint, do
    9   sending to the DEA. There was an actual paper       9   you have an understanding of the purpose for the
   10   report at some point, correct?                     10   ARCOS reports?
   11       A. No, it was a file that we just put          11          MR. O'CONNOR: Objection to form.
   12   onto a disk. But ARCOS requires it in a            12       A. At a very high level.
   13   specific format, and it's not human readable.      13   BY MR. GOTTO:
   14   It's a number of fields all pressed together.      14       Q. And what's that understanding?
   15       Q. Okay. So you would input the data           15       A. Is that it reports all of the
   16   into that format, is that how it would be          16   acquisitions and distributions. My ARCOS report
   17   prepared?                                          17   tells DEA everything we've acquired and
   18       A. It would -- we have a computer program      18   everything we've distributed. And then if
   19   that downloads it into that format.                19   there's error reports, DEA will send us -- after
   20       Q. And so your personal involvement in         20   we file the report, DEA sends us an error
   21   the preparation of the reports, what does it       21   report, and if there's errors in the ARCOS data,
   22   consist of?                                        22   then we fix those errors on the next quarterly
   23       A. Executing those -- a series of steps        23   report, or now monthly report.
   24   that allows the computer to pull down the sales    24       Q. And does that happen regularly, that
                                                Page 31                                                 Page 33
    1   data and convert it to ARCOS format, and then if    1   there are errors?
    2   there's any manual transactions or errors or        2       A. Not regularly, but on occasion.
    3   returns, I would enter those into the computer      3       Q. And what's the nature of the errors
    4   system which would download into that ARCOS         4   typically?
    5   format.                                             5       A. If there's a keypunch of a wrong digit
    6       Q. Okay. So, and is that a description          6   and a wrong character that the system has
    7   that's still current?                               7   downloaded, or if a DEA number has been -- was
    8       A. Yes.                                         8   missed.
    9       Q. Okay.                                        9       Q. Okay. And the nature of the
   10       A. And it's the same for both DEA              10   information that you submit in the ARCOS report,
   11   licenses.                                          11   you indicated it's -- what you acquired and what
   12       Q. Okay. So is there any process in            12   you distributed, at what level of detail is that
   13   place at Mallinckrodt, or has there been at any    13   information? Is it by, for example, API, or how
   14   point, to review any of the steps that you take    14   is it categorized?
   15   that you just described for accuracy, errors,      15           MR. O'CONNOR: Object to form.
   16   completeness, etcetera?                            16       A. For which license?
   17          MR. O'CONNOR: Object to form.               17   BY MR. GOTTO:
   18       A. Not that I'm aware of.                      18       Q. The distributor license.
   19   BY MR. GOTTO:                                      19       A. So it's by finished goods, SKU, so the
   20       Q. Okay. Is the ARCOS reporting function       20   individual number of bottles, packaged unit, and
   21   something that is a subject of any annual goals    21   so the number of bottles received and number of
   22   that you set or reviews that you receive?          22   bottles shipped, if there was any returns from a
   23       A. It was earlier in my career.                23   customer for any reason, or if there's been any
   24       Q. Okay. Goals or reviews or both?             24   waste, scrap.

   Golkow Litigation Services                                                         Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 84. PageID #: 253530
                                                                             Review
                                                 Page 34                                                 Page 36
     1       Q. Okay. And the bottles received in the        1   there was a -- if there was an issue or problem
     2   case of the Hobart facility, from whom would        2   with the manufacturing license ARCOS reporting
     3   they be received?                                   3   at Hobart you would sometimes get involved in
     4       A. They could be received from the Hobart       4   that. Do you recall any particular issues or
     5   manufacturing facility, or from an external         5   problems that arose from time to time?
     6   manufacturer.                                       6         MR. O'CONNOR: Objection to form.
     7       Q. Okay. And so that manufacturer,              7       A. Nothing particular. If there was --
     8   whether it's Mallinckrodt Hobart or another         8   an error on the report came back and Carrie
     9   manufacturer, they would be reporting on a          9   couldn't figure out what it was, I would help
    10   separate ARCOS report their receipt and then       10   her.
    11   sale of those manufactured goods, correct?         11   BY MR. GOTTO:
    12       A. Yes. Correct.                               12       Q. In any of the -- you indicated early
    13       Q. And that's not a process you're             13   on that there have been a number of
    14   involved in in the Hobart facility, correct, or    14   DEA-sponsored seminars or other training
    15   at least until April, 2001 -- 2017, you were not   15   sessions that you've attended. Has ARCOS
    16   involved in that process?                          16   reporting been a subject of any of those
    17          MR. O'CONNOR: Object to form.               17   sessions?
    18       A. No, I misunderstand.                        18       A. Yes.
    19   BY MR. GOTTO:                                      19       Q. And what's been the substance of that,
    20       Q. The process I'm referring to is             20   that you can recall?
    21   whatever ARCOS report related to Hobart's          21       A. It was DEA training on the transaction
    22   manufacturing activities, that report is not       22   codes and the format. That's where they
    23   something that at least until April of 2017 you    23   introduced us to the new ARCOS portal for us to
    24   had any involvement in, is that correct?           24   be able to upload and what direction they were
                                                 Page 35                                                 Page 37
     1       A. I was aware of it. I would help if           1   moving in and, you know, what transaction codes
     2   there was a problem. But I was not the primary      2   to use for what specific business activity.
     3   person responsible for reporting.                   3       Q. Okay. One of the other subject
     4       Q. Okay. Do you know who was the primary        4   matters you indicated you had responsibility for
     5   person responsible for reporting?                   5   is losses in transit. What did you mean by that
     6       A. Prior to 2005 was Sabrina Fountain,          6   phrase?
     7   After 2005 was Carrie Johnson.                      7       A. So if the carrier -- if there was
     8       Q. Okay. And currently the person who           8   damage or a loss while the product was in
     9   does that reporting reports to you, is that         9   transportation to the customer.
    10   correct?                                           10       Q. Okay. And is that something that's
    11       A. Yes.                                        11   the subject of a regular report, or is it
    12       Q. And who is that?                            12   something that's just reported on as it occurs?
    13       A. Carrie Johnson.                             13       A. Reported on as it occurs.
    14       Q. So since April of 2017, are you             14       Q. And how do you -- how would you become
    15   involved in actually working on the preparation    15   aware of the circumstances that would then give
    16   of the manufacturing license ARCOS report for      16   rise to such a report?
    17   the Hobart facility?                               17       A. We're either notified by the carrier
    18       A. No.                                         18   that they have a box that was damaged in
    19       Q. Do you, in your capacity supervising        19   transit, or a customer may contact our customer
    20   Ms. Johnson, do you review anything -- any of      20   service department and say they received a box
    21   the work that she does relative to that ARCOS      21   that was damaged in transit.
    22   reporting?                                         22       Q. Okay. And so once you receive word of
    23       A. No.                                         23   such an event, what do you do to act on that?
    24       Q. You indicated that prior to 2017, if        24       A. If there's just damage only, then we

   Golkow Litigation Services                                                        Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 84. PageID #: 253531
                                                                             Review
                                                 Page 38                                                 Page 40
     1   would notify the carrier, give them the tracking    1   the DEA?
     2   information, make them aware of the damage.         2       A. It's their loss/theft report. It
     3   Corporate tracks them on a scorecard. I don't       3   gives the details around the shipment and the
     4   know the details to that.                           4   product and quantity that is unaccountable.
     5           And if there was contents missing,          5       Q. And is there such a report prepared
     6   then we would work with the carrier to find out     6   any time any amount of controlled substances is
     7   what happened to those contents and if they can     7   lost in transit and not otherwise accounted for?
     8   be recovered.                                       8       A. I don't understand the question.
     9      Q. And is that something you personally          9       Q. Well, so the 106 report, let me ask it
    10   are involved in, working with the carrier when     10   a different way, is that prepared on an
    11   there's missing contents?                          11   event-by-event basis that there was a particular
    12      A. Yes.                                         12   loss in transit that where a product cannot be
    13      Q. And so how do you go about determining       13   accounted for ultimately and, therefore, that
    14   whether those contents can be recovered?           14   gives rise to a particular 106 report that goes
    15      A. We will contact our security contacts        15   to the DEA?
    16   with the carrier, initiate an investigation,       16       A. Yes.
    17   they will start looking for the product in their   17       Q. And would that be -- is there any
    18   facilities and everywhere that package             18   minimum amount of missing product that if you
    19   transitioned. And it's typically the box has       19   fall below the minimum you don't have to do the
    20   busted open while handling on their automated      20   106 report, anything like that?
    21   machinery and a case has become separated, in      21       A. Mallinckrodt's policy is to report any
    22   which it goes to overgoods, and then overgoods     22   controlled substances not accounted for.
    23   notifies me that they have Mallinckrodt product.   23       Q. Okay. Even if it was one bottle?
    24   We bring it back to the distribution center and    24       A. Yes.
                                                 Page 39                                                 Page 41
     1   send it for destruction.                            1      Q. Or one pill?
     2       Q. And overgoods is what?                       2      A. Yes.
     3       A. Overgoods is the department in which         3      Q. Can you give me a sense for the
     4   our specific carrier -- any loose box that's        4   frequency, and if this changed over time how it
     5   found anywhere within their system and they         5   changed over time, the frequency of filing 106
     6   can't determine where it was coming from or         6   reports with the DEA that you worked on?
     7   where it was going to because it's not in its       7      A. There's not a frequency. It's if you
     8   original shipping container with the labels goes    8   have a loss that can't be accounted for, you
     9   to overgoods, and then they inventory it, and       9   report it.
    10   we'll have dedicated trace agents to be able to    10      Q. Sure. I understand.
    11   try to locate who was either the shipper or the    11          In a typical, say, month period, do
    12   recipient of that product.                         12   you have an estimate of how many 106 reports on
    13       Q. Okay. So if the -- do losses in             13   average you would have filed?
    14   transit ever result in a report that goes to the   14      A. In what time frame?
    15   DEA?                                               15      Q. Well, again, if it changed over
    16       A. Yes.                                        16   time -- really the entire time that you've been
    17       Q. Under what circumstances?                   17   responsible, but if it's changed over time, you
    18       A. If the material is not located in           18   know, how that's changed.
    19   overgoods we will file a DEA 106 report, notify    19          MR. O'CONNOR: Objection to form.
    20   them immediately.                                  20      A. We had more frequent losses in transit
    21       Q. Okay. And is that something that            21   when we were using one particular carrier
    22   you're responsible for preparing?                  22   service, so I don't remember exactly. I know
    23       A. Yes.                                        23   that there was more, which is the reason we
    24       Q. And what does the 106 report report to      24   changed the carrier service and upgraded to an

   Golkow Litigation Services                                                        Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 84. PageID #: 253532
                                                                             Review
                                                 Page 42                                                 Page 44
     1   express service in which our packages got more      1   106, and then you subsequently find out from
     2   prioritized handling and pre-alerts so that each    2   FedEx that they're able to locate the product,
     3   station knew when a Mallinckrodt package was        3   do you then update the DEA on that, or --
     4   coming through so that they could watch it and      4        A. Yes. We file an amended DEA 106 and
     5   make sure it was under CCTV coverage, and our       5   send the DEA a cover letter stating that the
     6   106s dropped dramatically. Currently I file         6   material has been recovered and brought back to
     7   maybe, rough estimates, I don't have my records     7   the distribution center and destroyed.
     8   in front of me, four to five a year.                8        Q. Okay. So your estimate, I realize
     9   BY MR. GOTTO:                                       9   it's a rough estimate, of four to five 106
    10       Q. So the carrier that you changed from,       10   reports a year for the last several years, are
    11   who was the carrier that you had more loss         11   those 106 reports as to which ultimately the
    12   experience with?                                   12   product was never actually recovered? Is that
    13       A. It was FedEx Ground service, which          13   fair?
    14   back in that -- in the early time was formerly     14        A. I don't know without looking at the
    15   known as RPS, Roadway Packaging Services. And      15   records.
    16   they weren't handling our product appropriately    16        Q. Okay. That estimate of roughly four
    17   and we were experiencing a lot of damages, so      17   to five a year, would that go back to as far
    18   our corporate transportation team transitioned     18   back as whenever it was that you made the
    19   to FedEx Express services.                         19   transition away from FedEx Ground?
    20       Q. Okay. Do you recall when that --            20        A. I'd have to look at the records. I
    21   about when that transition occurred?               21   know what currently, they're approximately four
    22       A. I don't recall exactly.                     22   to five years -- or four to five a year. I
    23       Q. Was it, say, before 2012?                   23   don't recall specifically what they are prior,
    24       A. Yes.                                        24   for past years.
                                                 Page 43                                                 Page 45
     1       Q. Before 2010?                                 1       Q. Okay. So, for example, let's say that
     2       A. It was mid 2000s. Could have been '5,        2   2010 to 2014 time frame, do you have any sense
     3   '6, '7, '8.                                         3   of how -- of the average number of 106 reports
     4       Q. So probably before 2010?                     4   that were filed in that time frame?
     5       A. Yes.                                         5       A. No, I don't.
     6       Q. Okay. And were the problems primarily        6       Q. Okay. During the period of when you
     7   damage, or were they losses that ultimately         7   were using FedEx Ground, do you have a sense for
     8   couldn't be accounted for?                          8   approximately how many, on average, how many
     9            MR. O'CONNOR: Object to form.              9   106s on average were filed annually?
    10       A. They were predominantly damages.            10       A. Not an exact number. It was
    11   BY MR. GOTTO:                                      11   significantly higher than what we currently
    12       Q. Okay. And so am I understanding             12   have.
    13   correctly if there's damage but the product is     13       Q. Was it twice as many?
    14   all accounted for, that doesn't result in a 106    14       A. I don't remember exactly.
    15   report, correct?                                   15       Q. Okay. I'd like to understand, and I
    16       A. It depends on whether it was recovered      16   realize since 2001 we're dealing with a long
    17   quickly, because we have to report within          17   time period here and some of this is going to
    18   24 hours. So if we could report -- if we could     18   necessarily be, you know, a little fuzzy perhaps
    19   recover within FedEx within 24 hours and we knew   19   as to specific dates and that sort of thing, but
    20   they had the product, it was in as overgoods,      20   I'd like to understand how your job
    21   then we would not file. If we couldn't locate      21   responsibilities changed over the years, if they
    22   the product within 24 hours, we would file.        22   have changed. So if you can just -- let's start
    23       Q. Okay. And what would happen if you          23   with sort of a general description of how those
    24   couldn't locate within 24 hours so you filed the   24   responsibilities have changed over the years.

   Golkow Litigation Services                                                        Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 84. PageID #: 253533
                                                                             Review
                                                 Page 46                                                 Page 48
     1      A. So I have received promotions                 1   substance, and those get -- they're documented,
     2   throughout the years into different levels          2   weighed, documented on our destruction reports.
     3   within the compliance group. I started out with     3   We enter -- our team enters that into our
     4   just basic clerical, the ARCOS reporting, data      4   computer system, which then currently sends all
     5   entry of waste transactions, discrepancy            5   of the waste to a waste distributor for
     6   reporting with the carriers. Then my                6   destruction by incineration.
     7   responsibilities increased in which I took on       7       Q. And you indicated your team still
     8   facilitating and organizing the destruction of      8   does -- is still responsible for that. Who on
     9   the waste, not just doing the data entry. Took      9   your team currently has that responsibility?
    10   on more responsibility in terms of just            10       A. Carrie Johnson has the data entry
    11   workload, still doing the clerical but then        11   portion.
    12   doing -- more involved with walk-throughs          12       Q. Okay. Next item you indicated was
    13   through the facility, learning more about CFR      13   discrepancy reporting. What's that?
    14   and the regulations, attended the training         14       A. So that's what we were talking about
    15   seminars, learned about quota, and then I was a    15   earlier with the carriers -- excuse me, with the
    16   compliance analyst for a length of time, and       16   carriers that if there's any discrepancies in
    17   then promoted into senior controlled substance     17   what we ship versus what the customer ordered,
    18   compliance coordinator, facilitated DEA audits,    18   or if the customer ordered a wrong product or we
    19   was the DEA contact, was on the CSOS working       19   shipped a wrong product in error, any difference
    20   team when DEA was instituting CSOS to our          20   than what was intended to be ordered.
    21   electronic 222 forms, and then was promoted into   21       Q. Okay. And so some of those
    22   the role of manager in April of 2017.              22   discrepancies are the result of damage in
    23      Q. Great. Thank you. Let's go through           23   transit, the sort of thing you discussed --
    24   some of those items.                               24   described a little earlier today. It sounds
                                                 Page 47                                                 Page 49
     1          I think we've -- the ARCOS reporting         1   like sometimes there's a misfilling of an order,
     2   responsibility, I think you've already              2   though. What happens in those situations?
     3   described, is a continuing one that you still       3          MR. O'CONNOR: Objection to form.
     4   have for the distribution license at Hobart,        4      A. Because of our cycle count program in
     5   correct?                                            5   the processes in the distribution center, we
     6       A. Yes.                                         6   have not had in the last ten years a shipping
     7       Q. Apart from the testimony you've              7   error where we meant to ship sugar-free and we
     8   already given us this morning, is there any         8   shipped cherry or something, because of the bar
     9   other aspect of ARCOS reporting that's been your    9   coding system.
    10   responsibility?                                    10          Prior to that there could have been an
    11       A. Currently?                                  11   instance where the wrong product was shipped,
    12       Q. Or at any time.                             12   and then the customer would say, hey, we've
    13       A. Well, currently the manufacturing is        13   received the wrong product, we'd make
    14   done by a person who reports to me, so I oversee   14   arrangements to issue them a 222 form, we would
    15   that. But nothing else in regards to ARCOS.        15   document what happened, that it was our mistake,
    16       Q. Okay. And waste data entry, which           16   how we fix it, and then would make sure that the
    17   you'd indicated was an early on responsibility,    17   customer had all of the documentation they
    18   is that something you still have responsibility    18   needed to document what happened, that they
    19   for?                                               19   received the wrong item, it was returned back to
    20       A. My team, but not myself.                    20   Mallinckrodt, we received the incorrect item, we
    21       Q. And what does that waste data entry         21   sent it for destruction.
    22   consist of?                                        22   BY MR. GOTTO:
    23       A. So we track every single tablet,            23      Q. Okay. And you also indicated
    24   powder, capsule of waste that's a controlled       24   sometimes the customer may have ordered the

   Golkow Litigation Services                                                        Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 84. PageID #: 253534
                                                                             Review
                                                 Page 50                                                 Page 52
     1   wrong item.                                         1   were walk-throughs. What did you mean by that?
     2       A. Frequently we have situations where a        2      A. So we go up on the manufacturing floor
     3   customer will enter the wrong item in their         3   and just walk through the facility daily to make
     4   order entry screen. They want buprenorphine         4   sure that materials are being stored in
     5   8.2-milligram and they ordered buprenorphine        5   compliance with the regulations, there's nothing
     6   2.5-milligram and they get it and it's the wrong    6   being left out, there's no residual powders
     7   product and they have to send it back to us.        7   anywhere they shouldn't be, everything is
     8   And that's frequent we have customer ordering       8   sealed. Just being there for questions for the
     9   errors.                                             9   floor, if somebody has a question, how do they
    10       Q. Okay. And in that situation, is there       10   handle something.
    11   any sort of report that gets generated when that   11      Q. Okay. And so when you say we do that
    12   happens, or --                                     12   daily, who is "we" in that setting?
    13       A. The --                                      13      A. I do it daily. When I'm not there, a
    14       Q. -- how is it handled?                       14   member of my team will do it.
    15       A. I apologize.                                15      Q. So describe for me, if you would, the
    16          The discrepancy report would document       16   Hobart facility, just the physical setup
    17   what transpired, and then we would document        17   relative to your office. For example, since you
    18   appropriately what actions we took to rectify.     18   walk through it daily, about how large is the
    19       Q. Okay. And that discrepancy reporting,       19   facility?
    20   is that something that you're personally           20      A. I'm not -- I don't know square footage
    21   involved in?                                       21   or any of that kind of thing. It's a big
    22       A. Yes.                                        22   facility, but I don't know the square footage.
    23       Q. Another item you mentioned was              23      Q. Is it multi-story?
    24   destruction of waste. Is that the process you      24      A. Yes, there are multiple floors.
                                                 Page 51                                                 Page 53
     1   have described a few moments ago where you          1      Q. Okay. So the walk-through that you do
     2   shipped the waste to a reverse distributor for      2   every day, how long does it take you?
     3   destruction?                                        3      A. 45 minutes to an hour.
     4       A. Yes.                                         4      Q. Okay. Are there particular things you
     5       Q. And is that -- shipment of that waste,       5   look for when you're doing the walk-through?
     6   is that documented with the DEA somehow?            6      A. Just to make sure everything is stored
     7       A. It's -- if they're C1 and 2s, they are       7   appropriately and within compliance.
     8   documented by a 222 form; 3, 4s and 5s, a           8      Q. And one of the -- actually right after
     9   transfer of controlled substance form, and it is    9   the walk-throughs you indicated learning more
    10   ARCOS reported as well.                            10   about the CFRs and regulations, and part of your
    11       Q. Okay. So the -- either the 222 form         11   walk-through, I take it, is to satisfy yourself
    12   or the transfer form that you mentioned, are       12   that the facility is in compliance with
    13   those things that you have responsibility for?     13   applicable regulations, correct?
    14       A. Yes.                                        14      A. To ensure we're always in compliance,
    15       Q. Is there a regular process for the          15   yes.
    16   destruction of waste, or is it handled on an       16      Q. And so describe for me the process
    17   as-needed basis?                                   17   you've gone through over the years to learn
    18       A. Monthly we schedule a pickup by the         18   about and stay current on the applicable
    19   reverse distributor to take care of all of the     19   regulations.
    20   waste generated from the previous month because    20      A. So I've read CFR a number of times. I
    21   it has to be stored in cages and vaults, so if     21   refer to it often if there's questions. If we
    22   we don't have it removed monthly, we tend to run   22   were unsure of an interpretation of CFR, we may
    23   into space problems.                               23   have reached out for DEA to their field office
    24       Q. Okay. Another thing you mentioned           24   for interpretation or asked them while they were

   Golkow Litigation Services                                                        Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 84. PageID #: 253535
                                                                             Review
                                                 Page 54                                                 Page 56
     1   on-site for an audit, so I've learned from DEA      1       Q. Which are those?
     2   what their expectations are, what they want. I      2       A. Suspicious order monitoring, state
     3   attended the DEA training seminars that are         3   licensing, exports. DEA has an initiative with
     4   sponsored by DEA in which they go over their        4   streamlining the Customs documentation through a
     5   expectations or break down CFR into more detail.    5   database with exports.
     6          We do practice exercises on quota at         6       Q. So let me be sure -- I just want to be
     7   those training seminars, they talk about imports    7   sure I've covered all the various sort of formal
     8   and exports, how to fill out the forms, and how     8   DEA-related training conferences and seminars
     9   to do the calculations in the way that they want    9   that you've gone to.
    10   them so that they can process them more            10          You indicated about a dozen or so of
    11   efficiently.                                       11   the DEA-sponsored programs, although there
    12       Q. Okay. Is that a -- do you still go to       12   hasn't been one in the last at least couple of
    13   the seminars that DEA sponsors?                    13   years, correct?
    14       A. When they have them. They haven't           14       A. Correct.
    15   been having them as more -- as frequently as       15       Q. And the Buzzeo, those are one a year?
    16   they did. They used to have them every other       16       A. Annual, yeah.
    17   year, and it's been a couple of years since        17       Q. Okay. Are there other training
    18   they've had them.                                  18   programs of that type that you've attended?
    19       Q. Okay. So during the time since 2001         19       A. NADDI, but not -- NADDI, they have DEA
    20   when you became involved in compliance, about      20   speakers sometimes, but it's more about what's
    21   how many DEA-sponsored trainings have you been     21   going on in the industry.
    22   to?                                                22       Q. And do you attend the NADDI
    23       A. More than a dozen.                          23   conferences regularly?
    24       Q. And are these multi-day programs?           24       A. I have occasionally.
                                                 Page 55                                                 Page 57
     1       A. Usually they're two days.                    1      Q. About how many times?
     2       Q. And you also indicated you attended          2      A. Half dozen roughly.
     3   the Buzzeo training, correct?                       3      Q. How recently can you recall going to
     4       A. Yes.                                         4   one?
     5       Q. How often have you done that?                5      A. Last year. I went to a NADDI
     6       A. Just about every year.                       6   conference last year.
     7       Q. Up to the current?                           7      Q. Are they annual?
     8       A. Yes.                                         8      A. They are.
     9       Q. What's the subject matter that's             9      Q. Okay. Apart from NADDI, Buzzeo, and
    10   typically covered at the Buzzeo conferences?       10   the DEA-sponsored, any other ones you can think
    11       A. They usually have a DEA speaker that's      11   of?
    12   talking about NPRMs and what's on their agenda     12      A. Years ago I attended the
    13   and what they're working on. They'll have          13   Pharmaceutical Security Coalition, PSC, many
    14   subject matter experts on state licensing, and     14   years ago, and it was only once. It was more
    15   different laws that individual states are          15   geared towards physical security.
    16   enacting in regards to controlled substances.      16      Q. In one of your answers a moment ago
    17   They'll have roundtable discussions on industry    17   you made reference to NPRM?
    18   topics. It's usually a two-and-a-half-day          18      A. Notice of proposed rulemaking.
    19   conference.                                        19      Q. Okay. Thank you.
    20       Q. Okay. Are there particular, for             20          Do you recall any particular proposed
    21   example the roundtable discussions, particular     21   rules that were covered in any of the
    22   ones that you make a point of participating in     22   conferences you attended?
    23   at these conferences?                              23      A. Recently there is one for paper.
    24       A. Yes.                                        24   They're trying to eliminate the carbon 222

   Golkow Litigation Services                                                        Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 84. PageID #: 253536
                                                                             Review
                                                 Page 58                                                 Page 60
     1   forms, so there's been a Notice of Proposed         1   I would assist and review for a second set of
     2   Rulemaking for one-page 222 forms. And there        2   eyes, and then Karen Harper ultimately approved
     3   was a recent one, but off the top of my head        3   the letter for submission. Carrie at that time
     4   it's escaping me.                                   4   prior to 2017 reported directly to Karen Harper.
     5       Q. Okay.                                        5       Q. Okay. And so the actual submission,
     6       A. Quota, there's a recent NPRM regarding       6   has that always been Ms. Harper's
     7   quota.                                              7   responsibility?
     8       Q. You've mentioned quota a couple of           8       A. To review -- I need clarification of
     9   times. What's been your responsibility over the     9   actual submission, entering into the database
    10   years with respect to quota?                       10   or --
    11        A. Initially I had very little to do with     11       Q. Yeah. Well, let me back up.
    12   quota. In more recent years I've been involved     12          You said -- you made reference to your
    13   with compiling and reviewing the quota letters     13   involvement being a second set of eyes. Was
    14   for increases throughout the year. The initial     14   there any time when you had more involvement
    15   quota requests are prepared by my team, and I      15   than simply being a second set of eyes?
    16   review.                                            16       A. Currently I do.
    17       Q. When you say "quota," what do you --        17       Q. Okay. And so when did you take on
    18   just so the record is clear what we're talking     18   that additional responsibility?
    19   about here, what do you mean by quota?             19       A. When Carrie Johnson started reporting
    20       A. Quota is the DEA allocation system          20   to me.
    21   to -- for the manufacturing of controlled          21       Q. In 2017?
    22   substances.                                        22       A. Yes.
    23       Q. And would your involvement be with          23       Q. Okay. So prior to 2017 when
    24   respect to the manufacturing activities at the     24   Ms. Johnson started to report to you, in the
                                                 Page 59                                                 Page 61
     1   Hobart facility?                                    1   second set of eyes role that you mentioned, what
     2       A. Yes, quota only applies to the               2   did your activities consist of with respect to
     3   manufacturing license. It doesn't apply to the      3   quota?
     4   distributor license.                                4       A. Remote -- reviewing it for grammatical
     5       Q. And is it specific to facility by            5   content in terms of if I had heard through my
     6   facility?                                           6   role maybe we had taken on a new contract or
     7       A. Yes.                                         7   been awarded business and Carrie hadn't included
     8       Q. Okay. And so to the extent there's a         8   that in a request, I would remind her about that
     9   quota for Mallinckrodt St. Louis facility,          9   or let her know about that so it could be
    10   that's not something you have involvement with,    10   inclusive in the request advising DEA of all the
    11   is that correct?                                   11   information that we had available to us.
    12       A. Correct.                                    12       Q. Okay. And you indicated that
    13       Q. Okay. Do you know who has the               13   initially you had very little responsibility
    14   corresponding role, the role that corresponds to   14   for -- with quota, and that changed over time.
    15   your role at Hobart with respect to the            15   Did you have more responsibility when you began
    16   St. Louis quota for manufacturing?                 16   reporting to Ms. Harper?
    17       A. That would be my counterpart, Dave          17           MR. O'CONNOR: Objection to form.
    18   Hunter.                                            18       A. I don't understand the question.
    19       Q. Okay. And the quota that -- focusing        19   BY MR. GOTTO:
    20   on the Hobart-related quota that you do have       20       Q. I'm just trying to understand when you
    21   responsibility for, when did you first have        21   started to have this additional responsibility,
    22   responsibility for quota?                          22   the second eyes review of the quota
    23       A. So it was predominantly overseen by         23   applications.
    24   Karen Harper, it was compiled by Carrie Johnson,   24       A. So that would have been -- I got more

   Golkow Litigation Services                                                        Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 84. PageID #: 253537
                                                                             Review
                                                 Page 62                                                 Page 64
     1   involved in roughly '14, '15, 2014, 2015.           1   then if that initial grant is not enough to
     2   Carrie and I both reported to Karen. Carrie had     2   support, get you through the full calendar year,
     3   her set of responsibilities. I had my set of        3   you can ask for more quota throughout the year.
     4   responsibilities. But in roughly '14 or '15, I      4      Q. Okay. And so that initial grant is
     5   was cross-training more and taking on more          5   granted with respect to an upcoming calendar
     6   responsibilities to advance to manager, so in       6   year?
     7   that learning I needed to learn more about          7      A. Yes, it's applied for on April 12th of
     8   quota, so then I started getting more involved      8   the preceding year, so we take -- for example,
     9   in quota.                                           9   this April 1st coming up we will take our supply
    10       Q. Okay. So what did you do to learn           10   plan for 2020 of what's needed in the market and
    11   more about quota?                                  11   convert that into API, so how much API we need,
    12       A. More thorough on the letters,               12   and then that will be applied for with DEA by
    13   understanding them, learned more about the         13   April 1st for 2020.
    14   market and the dynamics that go on in the supply   14      Q. Okay. And then the DEA acts on that
    15   chain, and the quota section training on the --    15   application at some point prior to the upcoming
    16   from the DEA seminars.                             16   January 1, provides the quota allocation for the
    17       Q. And so the DEA seminars on quota            17   upcoming calendar year, correct?
    18   training, what are the topics they cover in that   18      A. Yes.
    19   context?                                           19      Q. And so the quota allocation -- when
    20       A. Research versus manufacturing, where        20   you say API, I mean, that's active
    21   does the quota belong, when do you start needing   21   pharmaceutical ingredient, correct?
    22   quota. Karen mentored me because she had a lot     22      A. Yes.
    23   of experience with quota.                          23      Q. And so is the quota for -- that the
    24       Q. So when you say "research versus            24   DEA grants for the upcoming year, is that on an
                                                 Page 63                                                 Page 65
     1   manufacturing," what did you mean by that?          1   API by API basis?
     2      A. So there's researcher license and             2      A. Yes.
     3   there's manufacturing licenses, and quota is not    3      Q. And is it --
     4   required on a research license but it is            4      A. By molecule.
     5   required on a manufacturing license, so what        5      Q. By molecule.
     6   project development work can be executed under a    6          Okay. So it isn't with respect to a
     7   research license not requiring quota, and what      7   particular dosage, for example, is that right?
     8   project development work needs to be executed on    8      A. I don't understand what you mean.
     9   a manufacturing license that does require quota.    9      Q. So, for example, would you have a
    10      Q. Okay. And is that also what you meant        10   certain allocation of oxycodone for the calendar
    11   when you said when you start needing quota, is     11   year as compared to an allocation of
    12   that this research versus manufacturing            12   20-milligram tablets, 30-milligram tablets,
    13   distinction?                                       13   etcetera?
    14      A. No, when we start needing quota is           14      A. Yes, your application is submitted by
    15   when the current quota is not sufficient for our   15   dosage form.
    16   demand plan and we need to ask for more quota,     16      Q. Okay. So for each API, the API is
    17   reviewing the market demand, the -- what's         17   then broken down to -- in different dosages?
    18   needed, and how much we have will last us.         18      A. Yes.
    19      Q. Describe for me generally how the            19      Q. And that's how, ultimately the DEA
    20   quota process works from your perspective. The     20   when they grant the quota, that's how it's
    21   DEA provides a quota allocation for the Hobart     21   granted?
    22   manufacturing facility from time to time,          22      A. I don't know what formula DEA uses to
    23   correct?                                           23   grant it. We fill our application, and we tell
    24      A. Yes. We have an initial grant, and           24   DEA what we want and what we're going to make

   Golkow Litigation Services                                                        Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 84. PageID #: 253538
                                                                             Review
                                                 Page 66                                                 Page 68
     1   with it. Very, very seldom do we get a              1   the quota that was granted?
     2   100 percent grant.                                  2      A. No.
     3       Q. Okay. But whatever grant you get, it         3          MR. GOTTO: Okay. Why don't we take a
     4   is expressed in terms of by API by dosage?          4   short break. We've been going for over an hour.
     5       A. When we are given the grant we are           5          THE VIDEOGRAPHER: The time is
     6   given just the total API, so we apply for it        6   10:13 a.m., and we're off the record.
     7   specifying the dosage, but when the grant comes     7          (Whereupon, a recess was taken.)
     8   there's no dosage specified, and if they haven't    8          THE VIDEOGRAPHER: The time is
     9   given us 100 percent we don't know what they're     9   10:31 a.m., and we're on the record.
    10   expecting us to make with it.                      10   BY MR. GOTTO:
    11       Q. Okay. So let's just use oxycodone for       11      Q. Ms. Spaulding, before we broke we
    12   an example, that's an API, correct, oxycodone?     12   were -- you were testifying about the quota
    13       A. Yes.                                        13   process and some aspects of it. And if I
    14       Q. Okay. And so when you submit the            14   understand correctly, from time to time there
    15   application, you would have that broken down in    15   can be applications for an update to the quota
    16   various dosages?                                   16   during the calendar year, is that correct?
    17       A. Yes.                                        17      A. An increase, yes, we can request an
    18       Q. And a certain number of tablets in          18   increase at any time.
    19   each dosage, correct?                              19      Q. And is that a process that you're
    20       A. Yes.                                        20   involved in?
    21       Q. And you could add up how many               21      A. What time frame?
    22   molecules are in all those tablets and then come   22      Q. Well, have you been involved in it at
    23   up with a gross amount of oxycodone API that's     23   any time frame since you've been at
    24   covered by your application, correct?              24   Mallinckrodt?
                                                 Page 67                                                 Page 69
     1       A. That's what the application amount was       1      A. Yes.
     2   for, what all those dosage units compile total.     2      Q. Okay. And what's been your
     3       Q. Okay. But then when the DEA actually         3   involvement in that process?
     4   grants the quota, it's simply an amount of that     4      A. As we discussed earlier, began as a
     5   API?                                                5   second set of eyes, then took on additional
     6       A. Yes.                                         6   responsibilities, and now currently I oversee
     7       Q. Okay. And so -- and that grant, as           7   the person who compiles them, and I review them
     8   you indicated, may -- or frequently is less than    8   before submission.
     9   the gross amount that was applied for, correct?     9      Q. Okay. In your experience, is it --
    10       A. Correct.                                    10   what's the frequency with which there are --
    11       Q. And so when that happens, do you have       11   Mallinckrodt with respect to the Hobart facility
    12   an understanding once you have that quota grant    12   has made application for increase in quota?
    13   and, let's say, it's less than the gross amount    13      A. Depends on the molecule. Some
    14   that was applied for, what that -- what the        14   molecules we get enough for our demand, and some
    15   Hobart facility is permitted to then manufacture   15   molecules we have to ask. Depends on the market
    16   in terms of different dosages under that quota     16   and disruptions. If another manufacturer is out
    17   grant?                                             17   of supply, the distributors could be attempting
    18       A. So the business will decide based on        18   to get for us, so we're going to consume our
    19   the demand plan and the market demand what we'll   19   quota faster than anticipated. There's many
    20   make with the quota that we've been granted.       20   different factors.
    21       Q. Okay. And so is there any need to go        21      Q. Okay. Is it -- has it ever been your
    22   back to the DEA for any further update on the      22   experience since you've been at Mallinckrodt
    23   quota or clarification once you make the           23   that with respect to -- well, strike that.
    24   determination of what to manufacture in light of   24          When you have worked on an application

   Golkow Litigation Services                                                        Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 84. PageID #: 253539
                                                                             Review
                                                 Page 70                                                 Page 72
     1   for a quota increase, what are the steps that go    1       A. Currently?
     2   into that process?                                  2       Q. Sure, start with currently.
     3       A. We first take a look at what we've           3       A. It's in the neighborhood of six to
     4   sold versus what we need to make for the rest of    4   eight weeks.
     5   the year. We subtract out what we've been           5       Q. Okay. Has that changed over the
     6   granted, and DEA has a formula that involves        6   years?
     7   what you have on your end inventory, what you       7       A. Yes. Several years ago it was in
     8   were granted, minus what you've sold in your        8   excess of 12 to 16 weeks, which is very
     9   forecast, and we will run those formulas to see     9   difficult on the manufacturers because of lead
    10   if we have justification to have an increase for   10   times when we have to wait so long to get a
    11   that calendar year. If a justification, meaning    11   quota grant, or to even know if we're going to
    12   this formula, shows that we have a shortfall and   12   get quota, to be able to plan our pipeline and
    13   that based on our sales we are entitled to more    13   our manufacturing, so when there was greater
    14   quota, then we will submit a request.              14   review within DEA and it could take four to six
    15       Q. Okay. And I think you testified             15   -- 14 to 16 weeks. Currently we're experiencing
    16   before the break that it is sometimes the case     16   about six to eight weeks.
    17   that the quota that's granted for a calendar       17       Q. And approximately what was the time
    18   year is less than what was applied for, correct?   18   frame when the longer time period applied?
    19       A. Yes, and many times it's less.              19       A. I don't remember the years, but it was
    20       Q. Okay. And so if the quota -- let's          20   when Joe Rannazzisi was head of DEA and was
    21   say the quota was granted for less than what was   21   reviewing and signing all quota requests.
    22   applied for, and sales of that particular API      22       Q. Okay. So it was your understanding
    23   are consistent with what the forecast had been,    23   there was a period of time when the actual head
    24   so as the year is unfolding, consistent with       24   of the DEA personally reviewed and signed off on
                                                 Page 71                                                 Page 73
     1   what your application originally showed, you'd      1   each quota request?
     2   be running short, correct, if the quota was less    2      A. Yes.
     3   than what you applied for, correct?                 3      Q. And do you know currently what the --
     4       A. Correct.                                     4   who at the DEA reviews and signs off on quota
     5       Q. And so in that situation, would you          5   requests?
     6   apply for increased quota?                          6      A. No, I don't.
     7       A. Yes.                                         7          MR. GOTTO: Can we go off the record
     8       Q. Okay. So it could sometimes be the           8   one second?
     9   case that the application for increased quota       9          THE VIDEOGRAPHER: The time is
    10   could show sales consistent with what had          10   10:37 a.m., and we're off the record.
    11   previously been forecast, but the shortage         11          (Pause.)
    12   arising from the fact that the quota that was      12          THE VIDEOGRAPHER: The time is
    13   granted was less than had been applied for?        13   10:38 a.m., and we're on the record.
    14       A. Yes.                                        14   BY MR. GOTTO:
    15          MR. O'CONNOR: Object to form.               15      Q. So, Ms. Spaulding, when -- currently
    16   BY MR. GOTTO:                                      16   when there's a request for a quota increase, is
    17       Q. And then sometimes it may be the case       17   that typically made as to one specific API?
    18   that sales were actually greater than what had     18      A. Each quota request is by molecule.
    19   been forecast for one reason or another, and a     19      Q. Okay. And is there, in your
    20   shortage from the quota results, correct?          20   experience, is there a process of any sort of
    21       A. Yes.                                        21   interaction with the DEA when the quota request
    22       Q. Okay. In your experience, what's the        22   is made? Is there back and forth with the DEA,
    23   time frame approximately for the DEA to act on a   23   or do you simply wait for them to act on it and
    24   request for increased quota?                       24   see what they do?

   Golkow Litigation Services                                                        Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 84. PageID #: 253540
                                                                             Review
                                                 Page 74                                                 Page 76
     1          MR. O'CONNOR: Object to form.                1   then Karen would be -- would review and approve.
     2       A. Sometimes, sometimes, most commonly we       2       Q. Okay. So the initial, when you say
     3   just have to wait until we receive a letter.        3   "the initial," you mean the calendar year
     4   But if DEA wants additional information, like       4   requests that you described was due April 1st of
     5   who we're selling to or detailed sales              5   each year?
     6   information, they'll e-mail us and ask for          6       A. Yes.
     7   whatever additional information they want for       7       Q. And so what's the process that you go
     8   use in reviewing our request.                       8   through to compile that annual request?
     9   BY MR. GOTTO:                                       9       A. So my team will generate all of the
    10       Q. Okay. And is it your experience that        10   forecast data for the next year, because that's
    11   generally do they ask for more information, or     11   all we have at that time for a future year's
    12   is that kind of an exceptional circumstance when   12   forecast, and number of bottles to be sold, and
    13   they do that?                                      13   then convert that back to amount of API, and
    14       A. It's an exception to the rule.              14   account for processing waste, samples, and then
    15       Q. With respect to the Hobart                  15   determine a number to meet the demand plan.
    16   manufacturing quota, who is it at Mallinckrodt     16       Q. Okay. And when you say your team, who
    17   that's had primary responsibility for submitting   17   is participating in that process?
    18   the applications and any applications for          18       A. Carrie is the primary person.
    19   increased quota?                                   19       Q. And the time period during which
    20       A. Primary responsibility is Carrie            20   you've had that responsibility for the annual
    21   Johnson. She makes the application in the          21   quota request, what's that time period?
    22   database, and drafts the letters of which myself   22       A. When Carrie started reporting to me in
    23   and Karen review prior to submitting.              23   April of 2017.
    24       Q. Okay. And who is it at Mallinckrodt         24       Q. Okay. Prior to that time, who was
                                                 Page 75                                                 Page 77
     1   that has the authority to determine the amount      1   performing the corresponding duties with respect
     2   of quota that will be requested from time to        2   to the annual requests?
     3   time?                                               3       A. Karen.
     4       A. I'm not sure I understand. Who is            4       Q. And did you assist in that other than
     5   signing the letters?                                5   the second pair of eyes role that you described?
     6       Q. Well, that would be -- one question          6       A. I was copied on e-mails and was
     7   would be who signs the letters, sure.               7   informed, but I didn't approve.
     8       A. Carrie Johnson is the applicator,            8       Q. Okay. The sales -- I'm sorry. The
     9   because we have log-ins with DEA, so as she's       9   forecast data that supports the quota request,
    10   the person filling in the data using her log-in    10   how is that compiled?
    11   to DEA's database, she is the person that signs    11       A. It's provided to us by our corporate
    12   the letters.                                       12   planning team.
    13       Q. Okay. Does she have the authority to        13       Q. Okay. And I think you've already
    14   make the decision as to the amount of quota that   14   testified that it's often the case that the
    15   will be requested of the DEA either in an annual   15   quota that's actually granted by the DEA is less
    16   request or request for increase?                   16   than what's applied for, is that fair?
    17       A. No, they're all reviewed, and either        17       A. Yes.
    18   Karen or myself would approve them.                18       Q. So would there -- would it be possible
    19       Q. Okay. Do you have an authority to           19   to factor that in when you make the application,
    20   approved without Ms. Harper's authorization?       20   right, apply for more than you think you might
    21       A. For routine requests such as the            21   need on the expectation that the DEA is going to
    22   initial, which there's no extraordinary            22   grant less than you asked for?
    23   circumstances, yes. If there's anything            23          MR. O'CONNOR: Objection to form.
    24   unusual, extraordinary, any outlying factors,      24       A. It's an estimate. It's not hard

   Golkow Litigation Services                                                        Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 84. PageID #: 253541
                                                                             Review
                                                 Page 78                                                 Page 80
     1   numbers of what we're going to produce because      1   say frequently. Depends on the molecule.
     2   it's a projection.                                  2   BY MR. GOTTO:
     3   BY MR. GOTTO:                                       3       Q. And apart from this year-end
     4       Q. So is there any negative consequence         4   straddling you described where they allow you to
     5   of if you were to apply for -- if you were to       5   have a certain amount to keep your production
     6   receive quota that exceeded what you ultimately     6   straddling the year-end, is there any carryover
     7   turn out to need during that year, is there any     7   from year to year of unused quota from one year
     8   negative consequences to that?                      8   to the next?
     9           MR. O'CONNOR: Objection to form.            9       A. No, absolutely not. It has to be
    10       A. I don't think I understand what you're      10   consumed by 12/31. The API has to be at your
    11   asking.                                            11   facility. If it's not at your facility on
    12   BY MR. GOTTO:                                      12   12/31, it's use it or lose it.
    13       Q. Okay. Well, you make your quota             13       Q. Going back to your -- earlier today
    14   application for the year, and if you receive       14   you gave me a description of how your
    15   quota that's less than what you actually need,     15   responsibilities evolved over the years, and
    16   obviously there's a potential negative             16   we've been talking about the quota component of
    17   consequence there that you can't fill the orders   17   that. You indicated that at some point you
    18   that you get?                                      18   became a compliance analyst, correct?
    19       A. Right.                                      19       A. Yes, but it was a title. It wasn't --
    20       Q. And you have to update that and try to      20   I wasn't really an analyst. That was under the
    21   get an increase during the year, right? That's     21   Tyco days, and they only had certain job
    22   one scenario. Sounds like that's not an            22   descriptions, so I was the only one in the
    23   uncommon scenario, right?                          23   company who did what I did. They didn't really
    24       A. It's not. If we have excess quota at        24   have a job title for controlled substances
                                                 Page 79                                                 Page 81
     1   the end of the year, we review as part of our       1   compliance associate or coordinator, so I was
     2   annual process in September and October if we       2   assigned a job title of analyst because that's
     3   are going to have excess quota, and we'll           3   where I fit within their career band.
     4   relinquish to DEA and let them know that the        4       Q. Okay. So that was pre-'07, then, if
     5   market has changed, or we had a project we          5   that was during the Tyco time?
     6   didn't need the quota for, or any number of         6       A. Yeah, roughly. I don't remember
     7   things that we're going to have excess quota.       7   exactly, but...
     8          Now, quota factors in a year-end             8       Q. And then after Mallinckrodt spun off
     9   inventory because of timelines. If you don't        9   from Tyco, what -- did you keep the compliance
    10   get your next calendar year quota on January 1,    10   analyst title at that point?
    11   you're going to be out of supply for two months    11       A. Under Covidien I believe I was.
    12   if you have a product that takes eight weeks to    12       Q. And I've seen some documents where I
    13   make, so they allow you to have a year-ending      13   think you signed as a compliance investigator.
    14   inventory so that you have API to start            14   Did you have that title at some point?
    15   producing to allow for continuous supply. So       15       A. That was the initial role in 2001. I
    16   we'll find out how much we need for a              16   was hired as a compliance investigator. Again,
    17   year-ending inventory and what we need to meet     17   it was a title. I would investigate losses in
    18   our plan, and if we have excess we'll relinquish   18   transit, but I had many responsibilities.
    19   it to DEA.                                         19       Q. Okay. And then you indicated at some
    20       Q. And does that happen frequently that        20   point you became the senior controlled substance
    21   you have excess quota as you're approaching the    21   compliance coordinator?
    22   year end?                                          22       A. Yes.
    23          MR. O'CONNOR: Objection to form.            23       Q. When was that?
    24       A. It happens occasionally. I wouldn't         24       A. I don't remember exactly when.

   Golkow Litigation Services                                                        Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 84. PageID #: 253542
                                                                             Review
                                                 Page 82                                                 Page 84
     1       Q. Do you have an approximate?                  1   so I was the person pulling the records.
     2       A. Before I was manager.                        2   Elizabeth McPhail would have been the front room
     3       Q. Okay.                                        3   person. And then after I started reporting to
     4       A. Sorry, I don't.                              4   the materials manager, I became the front room
     5       Q. And when did you become manager?             5   person because Elizabeth McPhail was pulled out
     6       A. That, I remember, was April of 2017.         6   of the DEA role and I became the lead.
     7       Q. Okay. But in terms of title, it was          7       Q. Was there a reason for that change?
     8   compliance analyst and then compliance              8       A. Not that I can remember specifically.
     9   coordinator and then ultimately manager, is that    9       Q. Do you remember approximate time frame
    10   fair?                                              10   when that occurred?
    11       A. Yes.                                        11       A. Not exactly, no.
    12       Q. Okay. Now, you indicated one of the         12       Q. So in terms of responding to questions
    13   things you had responsibility for are DEA          13   that the DEA would pose during these audits,
    14   audits?                                            14   what sorts of questions can you recall the DEA
    15       A. Yes.                                        15   posing to you?
    16       Q. Tell me what the DEA audit process is       16       A. Pretty standard audit questions, who
    17   that you had responsibility with respect to.       17   do you use for your carrier, what is your
    18       A. So when DEA came on-site to conduct an      18   business hours of operation, how many employees
    19   inspection, there's point of contacts that         19   do you have, your power of attorneys, who can
    20   interact with the DEA, so there was -- it was      20   sign 222 forms. They have a binder of 66
    21   typically myself and the security manager at the   21   questions that are all specific to that license
    22   time were the two main points of contact with      22   that they're auditing.
    23   the DEA that facilitated the audit, so we would    23       Q. Okay. And were they typically things
    24   be in the front room with the DEA as they were     24   that you would be able to answer off the top of
                                                 Page 83                                                 Page 85
     1   doing their inspection, and they'd ask us for       1   your head, or normally are they things that you
     2   records, and we would go to our teams and get       2   needed to go back and research?
     3   the records and bring them back. So we were         3       A. Most of the time I could answer them.
     4   considered the audit leads.                         4   I knew the processes, the plant inside and out
     5       Q. Okay. And who were the persons who           5   and could answer most of their questions. If I
     6   were in the role of security manager from time      6   couldn't, I didn't guess or speculate. I'd tell
     7   to time?                                            7   them I'd get the answer and get back to them.
     8       A. Rich Nikolaus prior to 2015, I               8       Q. And the DEA audit, is it a regularly
     9   believe, and currently Edward Egan.                 9   scheduled event with a regular frequency, or was
    10       Q. Any other roles with respect to the         10   it just whenever they happen to tell you they're
    11   DEA audits apart from this process you described   11   going to do it?
    12   of retrieving records that were requested by       12       A. They're typical actually unannounced,
    13   DEA?                                               13   so it's whenever DEA shows up at our door. We
    14       A. So I answered all of their questions        14   need to be ever constantly ready for the DEA
    15   in regards to our processes in the plant, how we   15   audit at any time, which we are.
    16   handle -- facilitated the reconciliation,          16       Q. Is it ordinarily done -- even though
    17   provided them with reports. Anytime that DEA       17   it may be unannounced, is it approximately an
    18   came on-site, I was the point of contact.          18   annual event, or is it done more frequently than
    19   Whether it was for an inspection or to approve a   19   that?
    20   cage or a vault or to do any type of anything on   20       A. The past audits have no rhyme or
    21   the site, I was the point of contact.              21   reason to any type of frequency.
    22       Q. Okay. Does this go back to 2001 that        22       Q. Does the DEA after their audit provide
    23   you were the point of contact for DEA visits?      23   you with any sort of report or their feedback as
    24       A. 2001 I was what we call the back room,      24   to the results of the audit?

   Golkow Litigation Services                                                        Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 84. PageID #: 253543
                                                                             Review
                                                 Page 86                                                 Page 88
     1       A. There's never a DEA report. If they          1       A. Yes.
     2   have concerns, they will discuss them with you      2       Q. So in what aspects of state licensing
     3   at the time of the audit. They may direct us --     3   did you have responsibility for from time to
     4   they may ask us a process, and I explain it, and    4   time at Mallinckrodt?
     5   they go, yeah, we're not comfortable with that,     5       A. I don't have any responsibility for
     6   we want you to do it this way. And so we always     6   state licensing. I'm aware of it. I'd go to
     7   do whatever DEA directs us because they have        7   the trainings so that we're aware of any states
     8   jurisdiction over us.                               8   that require us to report losses, or some states
     9       Q. Can you recall specific examples of          9   have additional reporting requirements, so we
    10   any sort of negative feedback you got from the     10   would attend the training to make sure we're
    11   DEA as to a process or other matter that came up   11   aware of any individual state requirements --
    12   in the course of their audit?                      12       Q. Okay.
    13          MR. O'CONNOR: Objection to form.            13       A. -- that may impact the site.
    14       A. A negative, I'd say no. They, you           14       Q. When you say "we," who else from
    15   know, may, well, we don't really like that, or     15   Mallinckrodt attends those types of trainings?
    16   we think you should do it this way, or it will     16       A. It depends. So Karen Harper, my
    17   make it -- you know, if you give us a report in    17   manager/director will attend, and Dave Hunter
    18   this format it makes it easier for us to           18   and myself will swap out. So we all can't leave
    19   reconcile.                                         19   all at the same time, there's got to be somebody
    20          Negative, I don't -- I don't know what      20   at home, so we alternate and we'll take turns at
    21   would be considered negative. Any feedback they    21   conferences. That's why, for example, when I
    22   gave us was always constructive.                   22   said the IQVIA conferences, you know, a half
    23       Q. Sure. Maybe negative is a bad word.         23   dozen because we alternate years of who attends.
    24          For example, you said they might from       24       Q. And how about, you indicated exports
                                                 Page 87                                                 Page 89
     1   time to time say, well, we don't really like        1   was another topic that you attend trainings on
     2   that, do it this way. Can you think of specific     2   from time to time. What aspect of exports do
     3   examples where that sort of comment came back to    3   you have responsibility for?
     4   you?                                                4       A. That I do have responsibility for
     5       A. We would stage material in our               5   applying for the 161 application to export our
     6   manufacturing hallway if it was getting ready to    6   products, so I get the import permit from our
     7   go into production within a day, and they said,     7   customer service department who liaisons with
     8   well, we don't really like that, we'll let you      8   our international customers, and then I file for
     9   stage it for up to a shift, so then we              9   the export permit. When the expert permit is
    10   immediately changed all our processes that said    10   received, I notify distribution and customer
    11   we couldn't stage material for any longer than a   11   service that the order can be released, we have
    12   shift.                                             12   the permits.
    13       Q. Anything else of that nature you can        13       Q. And you indicated the suspicious order
    14   recall?                                            14   monitoring was one of the topics that you
    15       A. We wanted to store material from our        15   attended trainings on. What aspects of
    16   manufacturing license in our distributor vault,    16   suspicious order monitoring do you have
    17   and they said, no, they wanted us to write for a   17   responsibility for?
    18   waiver. We couldn't -- it was -- it's in the       18       A. Currently that is done by my group. I
    19   regulations that we could do it, but they asked    19   have a data analyst auditor that reports to me,
    20   us to get a waiver on file, so we wrote for a      20   and she is the primary contact for part of our
    21   waiver on file.                                    21   suspicious order monitoring program and our
    22       Q. You mentioned one of the topics that        22   anti-diversion program. She does the daily
    23   you have attended trainings on is state            23   orders review.
    24   licensing?                                         24       Q. And who is that?

   Golkow Litigation Services                                                        Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 84. PageID #: 253544
                                                                             Review
                                                 Page 90                                                 Page 92
     1      A. Rachelle Rogers currently.                    1   the role, what do you mean by that?
     2      Q. And what is the aspect of the SOM             2       A. So when the distribution center was in
     3   program that your team has responsibility for?      3   St. Louis, they had a program in place, and when
     4      A. So we review the orders that are held         4   it moved to Hobart in 2001 that program
     5   for review that meet the algorithm criteria, we     5   transferred over to Hobart.
     6   do Google searches, we do chargeback reviews, we    6       Q. Okay. So there was an algorithm in
     7   respond to the DEA for shipping history             7   place from 2001 at Hobart for SOM?
     8   verifications, we're in the process of              8       A. To the best of my knowledge, yes.
     9   transitioning the customer checklists to Hobart,    9       Q. Do you recall what that algorithm
    10   off the top of my head.                            10   consisted of in any regard going back to 2001?
    11      Q. That customer checklist transitioning,       11       A. I know it had something to do with
    12   what -- it's being transitioned from where?        12   sales history, but I don't remember the exact
    13      A. It's currently residing with the --          13   formula.
    14   our customer data integrity group, and we're       14       Q. Did you have an understanding of how
    15   going to be reviewing them in Hobart as opposed    15   the algorithm changed over time?
    16   to out at corporate.                               16       A. Not really, not until I was involved
    17      Q. And for how long has your team had           17   in it in 2012.
    18   these responsibilities with respect to SOM?        18       Q. So since 2012, has the algorithm
    19      A. Since April of 2017.                         19   changed?
    20      Q. So before that time, what                    20       A. Yes.
    21   responsibilities did you have with respect to      21       Q. And have you had an understanding of
    22   SOM?                                               22   how it has changed since then?
    23      A. I was a backup reviewer to the auditor       23       A. Yes.
    24   analyst who was located in St. Louis, and I was    24       Q. And what -- tell me what you can
                                                 Page 91                                                 Page 93
     1   a member of the SOM team.                           1   recall as to how it's changed since 2012.
     2      Q. As a backup reviewer, what was your           2       A. Since 2012, we were initially looking
     3   role there?                                         3   at 18-month history based on the bill to, and
     4      A. So if the primary reviewer was on             4   now we're looking at the 18-month history based
     5   vacation or out of the office, then I would         5   on the ship to.
     6   conduct -- excuse me, I would conduct the daily     6       Q. And so tell me what the difference is
     7   reviews.                                            7   between bill to and ship to.
     8      Q. And what do those reviews consist of?         8       A. So bill to is -- a parent company is
     9      A. Orders that have gone -- orders that          9   where the bills go to, but they may have
    10   have met the algorithm hit and have gone on        10   distribution centers all throughout the United
    11   hold, to review and determine if they're           11   States, and that's the ship to. So we bill to
    12   appropriate to release.                            12   one location but we physically ship to another
    13      Q. And when did you first have that             13   location.
    14   backup responsibility?                             14       Q. Okay. Any other changes in the
    15      A. Roughly 2012.                                15   algorithm since 2012 that you're aware of?
    16      Q. And you've made reference a couple           16       A. Not that I personally am aware of.
    17   times to the algorithm hit. When was the           17   But it was overseen by corporate, so I don't
    18   algorithm implemented, do you recall?              18   know if they may have been making changes to it
    19      A. There's always been an algorithm in          19   or not.
    20   place since I went into the role. We've            20       Q. Do you have any understanding as to
    21   constantly enhanced the algorithm. But the         21   the reason for the change from bill to to ship
    22   exact formula of it, I don't remember the          22   to?
    23   specifics.                                         23       A. Just to always make it better and
    24      Q. And when you say since you went into         24   thought it would be an improvement.

   Golkow Litigation Services                                                        Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 84. PageID #: 253545
                                                                             Review
                                                 Page 94                                                 Page 96
     1      Q. You indicated that you've been a              1   drug take-back boxes in our local communities
     2   member of the SOM team. For how long have you       2   for the community to take back the unwanted
     3   been a member of the SOM team?                      3   medicines. It's a comprehensive program. We
     4      A. Well, I started doing the backup              4   have disposal pouches that our government
     5   reviews in 2012, but I don't think I was part of    5   regulatory affairs department has provided to
     6   the team until '14 or '15, right around there.      6   pharmacies and customers for people to dispose
     7      Q. So is the -- was the change to the            7   of unwanted opioids.
     8   algorithm that you described something that the     8       Q. To your knowledge, is there someone at
     9   SOM team had involvement on?                        9   Mallinckrodt that has responsibility for the
    10      A. Yes.                                         10   overall comprehensive anti-diversion program?
    11      Q. Were you involved in discussions of          11       A. We all have components of it. It's
    12   that change?                                       12   made up of different departments. I guess the
    13      A. Yes.                                         13   overarching would be legal, corporate legal.
    14      Q. And what can you recall of those             14       Q. And when you use the word "diversion,"
    15   discussions?                                       15   what do you mean by that?
    16      A. Just that we thought it would be             16       A. Something taken out of the lifecycle
    17   better to see the individual distributors versus   17   in the hands of where it doesn't belong.
    18   the parent company to see the amounts going to     18       Q. When you say "lifecycle," what do you
    19   individual distributors for analysis purposes.     19   mean?
    20      Q. And do you recall why it was thought         20       A. So we use the term analogy inside of
    21   that that would be better?                         21   the plant where if it's not in the lifecycle, so
    22      A. Initially we thought that looking at         22   if it's not in the process of dispensing,
    23   the parent company as a whole would be better,     23   blending, compression or packaging, it's out of
    24   because then if a distributor was shuffling        24   the lifecycle.
                                                 Page 95                                                 Page 97
     1   between their distributions we wouldn't see it      1      Q. So that lifecycle that you've
     2   if we were looking at individual distributor,       2   described, dispensing, blending, compression or
     3   but by going -- looking at each distributor,        3   packaging, are those all things that occur in
     4   then we could see what we were directly shipping    4   the plant?
     5   to each location.                                   5      A. Yes.
     6       Q. You indicated that your team currently       6      Q. Okay. So is diversion something that
     7   has at least some responsibility for the            7   occurs in the manufacturing process, as you use
     8   anti-diversion program?                             8   the term?
     9       A. Yes.                                         9      A. There's potential. We have to
    10       Q. And what are the responsibilities           10   maintain effective controls to detect diversion.
    11   related to the anti-diversion program?             11      Q. And what controls are in place in
    12       A. So we answer any DEA or law                 12   terms of diversion in the manufacturing process?
    13   enforcement requests for shipping history          13      A. There's many different controls,
    14   information through our global security            14   security systems, physical securities,
    15   director. We receive -- I may receive a request    15   tamper-evident bags, seals, two-person
    16   from a law enforcement agency for placebo          16   verifications. Every department has individual
    17   tablets for them to use in investigations, and I   17   procedures based on their exposure and
    18   will facilitate that through the global security   18   processing step.
    19   vice president. Anything that we can do to help    19      Q. Okay. And then is there diversion
    20   battle diversion if we're asked upon it. We        20   that can occur after the product leaves the
    21   keep up-to-date with trends so that we have        21   manufacturing facility?
    22   knowledge and aware of what's being abused so      22      A. Out of our hands?
    23   that we can pay particular attention to any        23      Q. Yes.
    24   specific molecule, drugs of concern. We sponsor    24      A. I would say yes, there's a lot of

   Golkow Litigation Services                                                        Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 84. PageID #: 253546
                                                                             Review
                                                 Page 98                                                Page 100
     1   opportunity for that.                               1   2012.
     2       Q. Okay. And some of the anti-diversion         2   BY MR. GOTTO:
     3   steps that you described, for example placebo       3       Q. Do you recall any time at Mallinckrodt
     4   tablets, to law enforcement, that would be          4   receiving any -- well, during the period that
     5   related to diversion that's occurring after the     5   you reported to Ms. Harper, was there any --
     6   product leaves your manufacturing facility,         6   ever a time when Ms. Harper communicated to you
     7   right?                                              7   that -- a belief that diversion was a serious
     8       A. Yes.                                         8   problem?
     9       Q. And so diversion in that sense after         9          MR. O'CONNOR: Objection to form.
    10   it's left the manufacturing facility, when you     10       A. She may have. I don't remember any
    11   use the term diversion in that context, what       11   specifically.
    12   does it mean to you?                               12   BY MR. GOTTO:
    13       A. Not where it belongs.                       13       Q. Okay. Do you recall anyone else at
    14       Q. And you're aware that the                   14   Mallinckrodt at any point communicating to you a
    15   litigation -- I realize you haven't read any of    15   belief that diversion was a serious problem?
    16   the operative complaints, but you're aware that    16          MR. O'CONNOR: Objection to form.
    17   the litigation in large part pertains to various   17       A. I remember potentially Bill Ratliff,
    18   opioids that have, to use your term, wound up      18   who was the security director at the time,
    19   not where they belong, correct?                    19   raising the concern.
    20       A. Yes.                                        20   BY MR. GOTTO:
    21       Q. And you're aware that that's become a       21       Q. Okay. In what context can you recall
    22   serious problem over the last period of time,      22   that?
    23   correct?                                           23       A. Not specifics.
    24           MR. O'CONNOR: Objection to form.           24       Q. Do you recall the approximate time
                                                 Page 99                                                Page 101
     1       A. Yes.                                         1   frame?
     2   BY MR. GOTTO:                                       2      A. No. There was a lot going on.
     3       Q. When do you recall first being aware         3      Q. You indicated that Mallinckrodt has a
     4   that the diversion of opioids was a serious         4   comprehensive program to try to address
     5   problem?                                            5   diversion, correct?
     6          MR. O'CONNOR: Objection to form.             6      A. Yes.
     7       A. I don't remember exactly when I --           7      Q. And so let's just talk about some of
     8   when it started occurring to me.                    8   the components of that. One of them you
     9   BY MR. GOTTO:                                       9   indicated was providing placebo tablets to law
    10       Q. Okay. When you -- in 2001 when you          10   enforcement, correct?
    11   first had responsibility in compliance, did you    11      A. Yes.
    12   view diversion of opioids at that point as a       12      Q. And do you recall when that began?
    13   serious problem?                                   13      A. Approximately 2016.
    14          MR. O'CONNOR: Same objection.               14      Q. And you indicated that one of the
    15       A. In 2001?                                    15   things that's done with respect to diversion is
    16   BY MR. GOTTO:                                      16   to keep up-to-date on what the drugs of concern
    17       Q. Uh-huh.                                     17   are, correct?
    18       A. No, I wasn't aware of it at that time.      18      A. Yes.
    19       Q. How about in 2012 when you indicated        19      Q. And I take it in that sense you mean
    20   you became a member of the SOM team, at that       20   concern to law enforcement?
    21   point did you view diversion as a serious          21      A. Yes, and to DEA. DEA uses the
    22   problem?                                           22   terminology drugs of concern.
    23          MR. O'CONNOR: Objection.                    23      Q. Okay. And do you do anything
    24       A. I don't recall if I did or not in           24   personally to stay up-to-date on what the drugs

   Golkow Litigation Services                                                      Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 84. PageID #: 253547
                                                                             Review
                                                Page 102                                                Page 104
     1   of concern are?                                     1   were concerned about Codeine because that would
     2       A. I read the DEA's web page frequently.        2   remain a 3, and they were concerned that that
     3   The auditor analyst in our team does social         3   would start replacing the hydrocodone. Most
     4   media reviews. We benchmark amongst our team        4   recent conference a couple years ago, they said
     5   members between Webster group, St. Louis, and       5   hydromorphine 8-milligram was starting to be
     6   Hobart. If somebody sees an article that's of       6   abused.
     7   concern, they'll share that article so that we      7       Q. And so the drugs that you can recall
     8   can keep up-to-date with what's going on.           8   being identified as drugs of concern, were they
     9       Q. Okay. And this process of being              9   all drugs that Mallinckrodt manufactured?
    10   up-to-date on drugs of concern, when did that      10       A. Yes.
    11   begin, at least as far as your own involvement     11       Q. And were they all drugs that
    12   in it?                                             12   Mallinckrodt had a significant market share at
    13       A. With the DEA conferences, that's where      13   least of generics?
    14   we would hear that terminology, and they'd say     14          MR. O'CONNOR: Objection to form.
    15   they're paying particular attention to             15       A. I don't know, have any details on
    16   hydrocodone because it's a drug of concern.        16   market share.
    17   That was a comment when the quota reviews were     17   BY MR. GOTTO:
    18   taking an extended amount of time, industry was    18       Q. Okay. Were you aware from time to
    19   asking DEA why it's taking so long, and they       19   time that Mallinckrodt was a leading
    20   said they were paying particular attention to      20   manufacturer of many of the opioid drugs of
    21   drugs of concern.                                  21   concern that were identified from time to time?
    22       Q. And when you're aware of a drug being       22          MR. O'CONNOR: Objection to form.
    23   identified as a drug of concern from time to       23       A. No specific details. I had heard, you
    24   time, what steps would that trigger at             24   know, our site director refer to us as being one
                                                Page 103                                                Page 105
     1   Mallinckrodt with respect to that particular        1   of the top manufacturers, but I didn't have
     2   drug?                                               2   firsthand knowledge of that.
     3       A. Nothing different. We would still do         3   BY MR. GOTTO:
     4   all of our same processes that we always have       4       Q. You've heard reference to an opioid
     5   done, it's just we were more responsive to a        5   epidemic in this country, correct?
     6   molecule that may be more susceptible to            6       A. Yes.
     7   diversion.                                          7       Q. When do you first recall being aware
     8       Q. So more sensitive to it, but how does        8   that there was an opioid epidemic?
     9   that sensitivity manifest itself in any             9          MR. O'CONNOR: Objection to form.
    10   particular action?                                 10       A. I don't remember the exact time frame.
    11       A. We may escalate quicker if we see a         11   BY MR. GOTTO:
    12   problem, or if I get a call from a law             12       Q. Is it something that you can recall
    13   enforcement and they've expressed that they had    13   receiving any information from others at
    14   a drug bust and it was of oxycodone, I would       14   Mallinckrodt about?
    15   make sure that our security director and global    15       A. No.
    16   VP were aware of it so that they could reach out   16       Q. You'd agree that certain prescription
    17   and assist to the best of our ability.             17   opioids manufactured by Mallinckrodt have been
    18       Q. So what drugs can you recall being          18   diverted over the years, wouldn't you?
    19   identified as drugs of concern? You've already     19          MR. O'CONNOR: Objection to form.
    20   mentioned hydrocodone. What other ones can you     20       A. Yes.
    21   recall?                                            21   BY MR. GOTTO:
    22       A. Hydrocodone, oxycodone. When DEA            22       Q. And you would agree that certain
    23   rescheduled hydrocodone from a C3 to a C2, they    23   opioids manufactured by Mallinckrodt have
    24   had said at one of their conferences that they     24   contributed to the opioid epidemic, wouldn't

   Golkow Litigation Services                                                    Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 84. PageID #: 253548
                                                                             Review
                                                Page 106                                                       Page 108
     1   you?                                                1       A. No, just the early 2000s. I wouldn't
     2          MR. O'CONNOR: Objection to form.             2   want to guess. I can't remember exactly.
     3       A. I don't know that.                           3       Q. All right. What would you do when
     4   BY MR. GOTTO:                                       4   there was an algorithm hit that -- you indicated
     5       Q. You indicated that one of the -- one         5   you would review it through customer service.
     6   of your responsibilities has been to learn about    6   What were the specific steps you would take?
     7   applicable regulations that apply to the Hobart     7           MR. O'CONNOR: Objection to form.
     8   facility's manufacturing and distribution           8       A. So if the order was -- on the list was
     9   licenses, correct?                                  9   a clinic, and it was a higher than -- order than
    10       A. Yes.                                        10   they had been ordering historically, I would
    11       Q. And do those include requirements to        11   contact customer service, because they had the
    12   design and maintain a suspicious order             12   contacts with the customer, and say can you find
    13   monitoring program?                                13   out why this customer has ordered X number of
    14       A. Yes.                                        14   bottles. And very commonly they would come back
    15       Q. And so when did you first become            15   and they would say, well, the customer is moving
    16   familiar with those regulatory requirements?       16   and they ordered a double order to get them
    17       A. So I knew that there was a system in        17   through until they get to their new location and
    18   place that was being reviewed out at corporate     18   their new 222 forms, or they were part of a
    19   in the early 2000s, and then I recall the          19   chain and one of their other sister clinics
    20   letters to industry as calling it out              20   closed so they were taking on those patients.
    21   specifically.                                      21   And then I would write on the list of why, and
    22       Q. The letters from Mr. Rannazzisi?            22   I'd file it.
    23       A. Yes, from DEA.                              23       Q. When you use the term "algorithm hit,"
    24       Q. Did you receive those letters when          24   are you familiar with the term "peculiar order"?

                                                Page 107                                                     Page 109
     1   they went out?                                      1       A. I've heard of that before.
     2       A. We received two of them. There was a         2       Q. Okay. Was that a term that was part
     3   third one that we didn't receive, like corporate    3   of the Mallinckrodt SOM process at some point?
     4   had it from some avenue.                            4       A. Yes.
     5       Q. Okay. So you were aware of corporate         5       Q. And so was an algorithm hit, as you've
     6   review in the early 2000s. In terms of your --      6   used that term, the same thing as an order that
     7   any personal involvement you had or                 7   was identified as a peculiar order?
     8   responsibility that pertained to Mallinckrodt's     8       A. Could be, yes.
     9   regulatory obligation to design and maintain an     9       Q. And so if an algorithm hit order was
    10   effective SOM program, when did you first have     10   provided to you, or you became aware of it for
    11   any personal responsibility in that regard?        11   SOM purposes, and you went through customer
    12       A. So a transition between Hobart and          12   service and got an explanation and you noted
    13   corporate a few times. There was a period, I       13   what that explanation was, what would happen
    14   don't remember the exact years, early 2000s, of    14   after that with respect to that particular
    15   which I would review the orders that were          15   order?
    16   algorithm hits, and if need be get additional      16       A. It would be released.
    17   information through customer service. And then     17       Q. It would be filled?
    18   there was a point in time where it had             18       A. No. I apologize. So at that time
    19   transitioned back to corporate and was being       19   these were excessive order reports, so it had
    20   reviewed at the corporate level.                   20   already been shipped, and I was reviewing the
    21       Q. So when you -- during the period of         21   orders after they had been shipped.
    22   time when you had responsibility to review the     22       Q. Okay. So what would happen? Would
    23   orders that were algorithm hits, any               23   anything happen after that, once you got the
    24   approximation what that time period is?            24   response back from customer service and you

   Golkow Litigation Services                                                       Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 84. PageID #: 253549
                                                                             Review
                                                      Page 110                                                 Page 112
     1   noted whatever the response was that you                   1      A. Okay.
     2   received? Would anything further happen with               2      Q. Do you recognize that e-mail?
     3   that order?                                                3      A. No.
     4       A. Those reports were sent to DEA. With                4      Q. Did you annually establish goals that
     5   that order, no, nothing further would happen               5   you would -- you and Ms. Harper establish what
     6   with that order.                                           6   your goals would be for the upcoming year?
     7       Q. Okay. But the -- there was a report                 7      A. Yes.
     8   sent to the DEA?                                           8      Q. Any reason to think that this e-mail
     9       A. Mm-hmm.                                             9   does not accurately describe what your goals are
    10       Q. And what was the nature of that                    10   for 2010?
    11   report? Was it a regular monthly report, or was           11      A. No.
    12   it a particular report with respect to each               12      Q. Okay. And among those goals, you'll
    13   order?                                                    13   see it indicates "Continue implementation and
    14          MR. O'CONNOR: Objection to form.                   14   ongoing upgrades of the Suspicious Order
    15       A. I don't remember if it was monthly or              15   Monitoring Program by second quarter fiscal year
    16   quarterly, but it was a PDF that was sent to DEA          16   '10"?
    17   and what DEA classified and categorized as                17      A. Yes.
    18   excessive order reports.                                  18      Q. And the fiscal here at Mallinckrodt
    19   BY MR. GOTTO:                                             19   ends when?
    20       Q. Okay. And was -- were you the person               20      A. At this time our fiscal year was
    21   who submitted those reports to DEA?                       21   October 1 through September 30 -- 30.
    22       A. Yes, at that time.                                 22      Q. Okay. So the fiscal year 2010 would
    23       Q. And again, do you have a time frame in             23   be the year ending September 30, 2010?
    24   mind when this was the applicable procedure?              24      A. Yes.
                                                        Page 111                                               Page 113
     1       A. No. I remember doing it early in my                 1       Q. And so the second quarter of that year
     2   career, and then it was transferred out to                 2   would have been ending on March 31, 2010, is
     3   St. Louis, out to corporate, and I -- that's why           3   that right?
     4   I say early 2000s. It was the early part of my             4       A. Yes.
     5   career, but I don't remember the exact time.               5       Q. Do you recall what the implementation
     6       Q. Okay. So --                                         6   and ongoing upgrades tasks were that you -- that
     7       A. May I be excused?                                   7   your goal included for fiscal year 2010?
     8       Q. Yes.                                                8       A. No.
     9          MR. GOTTO: Let's go off the record.                 9       Q. Fair to say that at this point you
    10          THE VIDEOGRAPHER: The time is                      10   would have had an understanding of at least some
    11   11:26 a.m., and we're off the record.                     11   aspects of the SOM program at this time,
    12          (Whereupon, a recess was taken.)                   12   correct?
    13          THE VIDEOGRAPHER: The time is                      13       A. Some aspects, yes.
    14   11:40 a.m., and we're on the record.                      14       Q. Had you had responsibility for
    15          (Whereupon, Mallinckrodt-Spaulding-1               15   implementation for upgrade of any aspect of the
    16          was marked for identification.)                    16   SOM program for fiscal year 2009?
    17   BY MR. GOTTO:                                             17       A. I don't remember.
    18       Q. Ms. Spaulding, we've handed you a                  18       Q. And do you have any recollection of
    19   document that we marked as Exhibit 1 bearing              19   upgrades that you were involved in considering
    20   Bates MNK-T1_0000278740, appears to be an e-mail          20   in fiscal year 2010?
    21   from Karen Harper to you dated 11/11/09                   21       A. No, not any specifics.
    22   concerning your goal.                                     22       Q. Do you have any recollection as to any
    23          Would you please take a moment to look             23   aspects of the SOM program that Ms. Harper
    24   at that e-mail?                                           24   indicated to you required upgrading in this time

   Golkow Litigation Services                                                           Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 84. PageID #: 253550
                                                                             Review
                                               Page 114                                               Page 116
     1   frame?                                             1   '10 Assessment.
     2          MR. O'CONNOR: Objection to form.            2          Would you take a look at that document
     3      A. Can you restate that, please?                3   and tell me if you recognize it?
     4   BY MR. GOTTO:                                      4          (Witness reviewing document.)
     5      Q. Yes.                                         5      A. This is my year-end review for fiscal
     6          Do you have any recollection of             6   year '10.
     7   Ms. Harper in this time frame indicating to you    7      Q. Okay. Did you receive a similar
     8   that there were any particular aspects of the      8   review each year?
     9   SOM program that required upgrading?               9      A. There's a review done each year, it's
    10      A. I don't remember the specifics, no.         10   not -- it's a different software program, but
    11      Q. Do you have a general understanding of      11   yes, there's a review done each year.
    12   what required upgrading?                          12      Q. Okay. If you would turn to the page
    13      A. No.                                         13   that's numbered 5, it ends in Bates 708. And
    14      Q. Do you recall if there was a written        14   the Performance Factor or Target Competency is
    15   SOM program at this point?                        15   "DEA Reports."
    16      A. What do you mean by "written"?              16          Do you see that?
    17      Q. Well, was there a SOM program that was      17      A. Yes.
    18   memorialized in any sort of document?             18      Q. Okay. And in the Expected Results
    19      A. Oh, an SOP?                                 19   paragraph, the last sentence says "Continue
    20      Q. Well, or any sort of document.              20   implementation and ongoing upgrades of the
    21      A. Not at this time. I don't remember          21   Suspicious Order Monitoring Program by second
    22   what was in place at this time.                   22   quarter fiscal year '10."
    23      Q. Okay. You don't recall one way or the       23          That's what we had seen in the prior
    24   other whether there was a written program or      24   document, correct, your goals for fiscal year
                                               Page 115                                               Page 117
     1   not?                                               1   '10?
     2       A. I don't.                                    2      A. Yes.
     3       Q. Do you recall working with anyone in        3      Q. Now, that was -- was that upgrade
     4   fiscal year '10 on the implementation and          4   accomplished in fiscal year '10?
     5   upgrading of the SOM?                              5      A. I don't remember what the upgrade was
     6       A. In fiscal year '10. I know there was        6   to know whether it was completed that year or
     7   a review of the program done. I don't know what    7   not.
     8   year it was.                                       8      Q. So in your "End-of-Year
     9       Q. Okay. Who can you recall being              9   Accomplishments (Employee)" paragraph, the last
    10   involved in that review?                          10   sentence indicates "Continuing to assist and
    11       A. Karen Harper.                              11   implement upgrades on the SOM when identified
    12       Q. Anyone else?                               12   along with generation of a quarterly report to
    13       A. There would have been other                13   DEA."
    14   stakeholders of the business, but I don't         14          Do you see that?
    15   remember the specific people.                     15      A. No. I'm sorry. Which one? Under
    16       Q. And you don't recall what the time         16   that same one?
    17   frame was of that review?                         17      Q. Sure. Yes, "End-of-year
    18       A. No.                                        18   Results/Accomplishments (Employee)," the
    19          (Whereupon, Mallinckrodt-Spaulding-2       19   paragraph that begins "All controlled substance
    20          was marked for identification.)            20   reports."
    21   BY MR. GOTTO:                                     21      A. Okay. My -- that was my feedback.
    22       Q. We've handed you what we've marked as      22   Okay. I'm sorry.
    23   Exhibit 2, a multi-page document beginning at     23      Q. It's the last sentence of that
    24   MNK-T1_0000490704, appears to be a Fiscal Year    24   paragraph.

   Golkow Litigation Services                                                   Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 84. PageID #: 253551
                                                                             Review
                                                Page 118                                                Page 120
     1       A. Yes.                                         1   submitted to DEA.
     2       Q. Okay. And then if you look at the            2      Q. And so was that a report you were
     3   following paragraph "End-of-Year                    3   submitting in fiscal year 2010?
     4   Results/Accomplishments (Manager)," would that      4      A. I don't remember. "When identified
     5   have been Ms. Harper preparing that?                5   along with generation of quarterly report."
     6       A. Yes. So the employee was my -- my            6      Q. Well, you make reference under your
     7   review of my work throughout the year, and then     7   accomplishments to generation of a quarterly
     8   the next one was Karen's, yes.                      8   report to DEA, correct?
     9       Q. Okay. And under the manager                  9      A. Yes.
    10   paragraph, the last sentence reads "Eileen         10      Q. And that quarterly report would be the
    11   volunteered for extra responsibility within the    11   algorithm hit or peculiar order hit report that
    12   Suspicious Order Monitoring Program in fiscal      12   you testified to earlier today, correct?
    13   year '10, enhancements to the system and           13      A. Yes.
    14   expansion of Eileen's role will be accomplished    14      Q. Do you know if any orders were
    15   in fiscal year '11."                               15   identified as suspicious orders in fiscal year
    16          Do you see that?                            16   2010 by Mallinckrodt?
    17       A. Yes.                                        17      A. No, I don't know.
    18       Q. And so does that indicate that the --       18      Q. Can you recall at any time during your
    19   whatever the upgrades were that were the subject   19   time at Mallinckrodt an order being reported to
    20   of your goal for fiscal year '10 were not          20   the DEA by Mallinckrodt as a suspicious order?
    21   actually implemented in fiscal year '10,           21      A. Yes.
    22   correct?                                           22      Q. When can you recall that?
    23          MR. O'CONNOR: Objection to form.            23      A. I don't know when it was for. I don't
    24       A. I don't know that.                          24   know when it was reported.
                                                Page 119                                                Page 121
     1   BY MR. GOTTO:                                       1      Q. Do you recall any details about the
     2       Q. Okay. Well, there's nothing either in        2   order?
     3   your -- the employee end-of-year                    3      A. Yes, it was for fentanyl that was
     4   results/accomplishments or the manager              4   going to a veterinary clinic or a veterinarian.
     5   end-of-year accomplishments that indicates that     5      Q. Okay. And was this a single incident?
     6   those upgrades were completed in 2010, correct?     6      A. That I was aware of. I don't -- there
     7       A. Correct.                                     7   was others that were part of the program, and
     8       Q. And the manager comments indicate that       8   monitoring, they may have reported.
     9   there will be enhancements and expansion of your    9      Q. Okay. As far as your own personal
    10   role accomplished in fiscal year '11 -- 2011,      10   knowledge, you're only aware of the one, right?
    11   correct?                                           11      A. Yes.
    12       A. Yes.                                        12      Q. And in terms of have you heard of
    13       Q. Do you recall what those enhancements       13   others at Mallinckrodt -- other than things
    14   to the system or expansion of your role were in    14   you've had personal involvement with, have you
    15   2011?                                              15   heard of other orders that Mallinckrodt reported
    16       A. No.                                         16   to DEA as suspicious orders?
    17       Q. Under the paragraph -- the employee         17      A. I don't recall.
    18   feedback paragraph, at the very end there's        18      Q. Okay.
    19   reference to quarterly report to the DEA.          19         (Whereupon, Mallinckrodt-Spaulding-3
    20          Do you see that?                            20         was marked for identification.)
    21       A. Yes.                                        21   BY MR. GOTTO:
    22       Q. What was that quarterly report?             22      Q. We've marked as Exhibit 3 a two-page
    23       A. So that was the algorithm hits for          23   document bearing a Bates MNK-T1_000702654.
    24   each month combined by quarter and then            24   Would you take a moment to look at those

   Golkow Litigation Services                                                    Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 84. PageID #: 253552
                                                                             Review
                                                Page 122                                                Page 124
     1   e-mails, please?                                    1   just show up? How did it come to be?
     2           (Witness reviewing document.)               2       A. It was scheduled.
     3      A. Okay.                                         3       Q. And how did you know what procedures
     4      Q. Do you recognize those e-mails?               4   to follow in conducting that audit?
     5      A. No.                                           5       A. So what our process was, or -- so we
     6      Q. Okay. These refer to a midyear                6   -- just through conducting audits, learning from
     7   assessment done in April of 2011, correct?          7   DEA what were drugs of concern, we went and
     8      A. Yes.                                          8   reviewed their SOM program.
     9      Q. Was that a normal process at                  9       Q. Okay. Well, let me back up.
    10   Mallinckrodt, that you would receive a midyear     10           Had you conducted other audits of
    11   assessment of your performance?                    11   distributors prior to this one?
    12      A. Yes.                                         12       A. No.
    13      Q. Okay. The e-mail from Ms. Harper on          13       Q. Okay. And had you participated in any
    14   April 7th of 2011 indicates that you took the      14   audits of distributors prior to this one?
    15   lead in auditing Cedardale distributor after the   15       A. I hadn't participated in on-site
    16   program identified that customer as distributing   16   audits, no.
    17   excessive amounts of oxycodone into the State of   17       Q. Okay. So how did you know what to do
    18   Florida, correct?                                  18   as part of the audit if you hadn't done one
    19      A. Yes.                                         19   before or participated in an on-site audit?
    20      Q. And that you proofread and edited the        20       A. So we had -- we've had collaboration
    21   three revised SOPs related to SOM, correct?        21   calls with distributors that I had been on, and
    22      A. Yes.                                         22   had heard the questions that the compliance
    23      Q. Do you recall the Cedardale audit            23   manager and the security director from corporate
    24   that's referred to?                                24   had been asking. We had a checklist that we
                                                Page 123                                                Page 125
     1      A. Yes.                                          1   used to prompt questions. We knew what our own
     2      Q. What can you recall about that audit?         2   program was at the time. We had gone to
     3      A. The security manager and myself went          3   trainings and had -- from DEA and who had said
     4   to Cedardale in New Jersey to perform an on-site    4   from the pulpit that, for example, thresholds
     5   audit of their -- it's more a collaboration         5   are not acceptable as a stand-alone SOM program,
     6   visit just to review their SOM program.             6   that's not an indicator of a good program if
     7      Q. And what triggered that audit?                7   it's only based on threshold quantities.
     8      A. A report that Karen had in which she          8       Q. What does that mean, threshold
     9   saw a high amount of oxycodone, or the team saw     9   quantities?
    10   a high amount of oxycodone going into the State    10       A. So a certain limit, they can order up
    11   of Florida.                                        11   to X amount, and then after that amount, say,
    12      Q. Okay. And who was the security               12   per month, the first and the next month they
    13   manager who performed that audit with you?         13   could order that amount again.
    14      A. Rich Nikolaus.                               14       Q. Okay. Were there particular concerns
    15      Q. And I take it that was an on-site            15   regarding Cedardale that you wanted to be sure
    16   audit of Cedardale's facility?                     16   you addressed as part of this audit?
    17      A. Yes.                                         17       A. Well, as a result of whatever the team
    18      Q. Had you been to that facility                18   had discovered, we were wanting to confirm if
    19   previously?                                        19   they did, in fact, have large amount of
    20      A. No.                                          20   oxycodone going into Florida.
    21      Q. Had you had any interaction with the         21       Q. Okay. And so what steps did you take
    22   people at Cedardale prior to your audit?           22   to try to confirm that?
    23      A. No.                                          23       A. We just spoke to them. It was all
    24      Q. Was the audit scheduled, or did you          24   reliable -- relied on them describing. We

   Golkow Litigation Services                                                    Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 84. PageID #: 253553
                                                                             Review
                                                        Page 126                                              Page 128
     1   didn't review their records or their policies.             1   non-controls, their amount of cash versus
     2   We'd ask them if they had policies in place, but           2   non-cash, their demographics around the area to
     3   we didn't approve or condone or authorize an SOM           3   know whether the quantities that they're
     4   program.                                                   4   shipping to the pharmacy are justified or not.
     5      Q. Okay. Did you -- did they have a                     5      Q. In the audit you did of Cedardale, did
     6   written SOM program that you reviewed?                     6   you take any steps to identify who any specific
     7      A. Not that I can recall.                               7   customers of Cedardale were?
     8      Q. But they described to you what their                 8      A. I don't remember if we had specific
     9   SOM program was?                                           9   names or not.
    10      A. Yes.                                                10      Q. I take it that the focus of the audit
    11      Q. And what can you recall the                         11   was this question of whether Cedardale was
    12   description?                                              12   distributing excessive oxycodone to Florida,
    13      A. That it was primarily based on these                13   correct?
    14   threshold quantities which DEA had said from the          14      A. Yes, because we're concerned about our
    15   pulpit was not sufficient enough.                         15   direct customers, and we were trying to make
    16      Q. Okay. And so when you can recall DEA                16   sure they had a robust program in place.
    17   saying that the threshold quantity approach was           17      Q. Okay. At this time -- well, let me
    18   not sufficient, did they give any indication of           18   ask you, do you recall when the Cedardale audit
    19   what additional components an SOM program should          19   was conducted?
    20   contain beyond threshold quantities?                      20      A. Early 2011.
    21      A. No. There's been very lack of                       21      Q. Okay. At that time did you have any
    22   guidance from DEA around suspicious order                 22   information with respect to the identity of any
    23   monitoring and what is good and what is not               23   of Cedardale's customers?
    24   good. They would tell us things to be aware of            24      A. I don't remember if I did or didn't.
                                                      Page 127                                                Page 129
     1   such as red flags, but they wouldn't tell us               1       Q. Do you recall at any point seeing any
     2   what makes a good program or what doesn't make a           2   reports of analysis of chargeback data that
     3   good program, only to be aware of.                         3   contained information with respect to the
     4      Q. Okay. So when you conducted the audit                4   ultimate -- with respect to the customers of
     5   at Cedardale, their SOM program as they                    5   Mallinckrodt's customers in 2010 or 2011?
     6   described it to you simply consisted of this               6       A. I remember that there was three
     7   kind of threshold quantity limit that DEA had              7   customers that we as an SOM team decided that
     8   specifically said was inadequate, is that fair?            8   needed to be audited. I don't remember the
     9      A. Yes.                                                 9   specifics behind it.
    10          MR. O'CONNOR: Objection to form.                   10       Q. Okay. Do you remember who those three
    11      A. Yes.                                                11   customers were?
    12   BY MR. GOTTO:                                             12       A. Masters and KeySource in Cedardale.
    13      Q. Okay. And did you tell them that,                   13       Q. Do you recall seeing a report at any
    14   that your understanding from DEA was that that            14   time in 2010 that identified customers who
    15   was not an adequate?                                      15   ordered controlled substances from multiple
    16      A. We did coach them in that they should               16   Mallinckrodt distributors?
    17   have more around their program than just a                17       A. No.
    18   threshold quantity amount, and that they should           18       Q. Do you recall being aware of the
    19   be looking at their pharmacies holistically in            19   existence of such a report?
    20   doing on-site inspections. It was a                       20       A. Yes. I think there was something that
    21   recommendation.                                           21   prompted the team to review those three
    22      Q. When you say "looking at a pharmacy                 22   customers.
    23   holistically," what do you mean by that?                  23       Q. And do you know if that report
    24      A. Their amount of controls versus                     24   regarding customers that ordered from multiple

   Golkow Litigation Services                                                           Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 84. PageID #: 253554
                                                                             Review
                                                Page 130                                                      Page 132
     1   Mallinckrodt distributors, do you know if that      1   3, not 2, 3 indicates that you proofread and
     2   was generated through an analysis of chargeback     2   edited the three revised SOPs related to SOM.
     3   data?                                               3   And again, this is April, 2011. Do you recall
     4      A. I don't. Don't remember.                      4   those three revised SOPs?
     5      Q. Do you know who Kate Mellencamp was,          5       A. Not which specific SOPs they are.
     6   or Kate Neely? I think it was the same person.      6       Q. Do you recall the subject matter of
     7      A. Yeah, I remember the name. I don't            7   what was addressed in any of those -- by any of
     8   remember the role.                                  8   those revised SOPs?
     9      Q. Okay. How about Ginger Collier?               9       A. Well, we have three SOPs that apply to
    10      A. Yes, Ginger I remember.                      10   suspicious order monitoring. I'm not sure that
    11      Q. And who was she?                             11   those are the three SOPs that we're talking
    12      A. She was in marketing.                        12   about.
    13      Q. Do you recall if Ms. Collier or              13       Q. So the SOPs that apply to SOM, what
    14   Ms. Mellencamp had any role in developing this     14   are the subject matters that they cover?
    15   report on multiple orders from multiple            15       A. One, how to do the review of the
    16   distributors?                                      16   algorithm hits. And I don't remember exactly
    17          MR. O'CONNOR: Objection to form.            17   what the other two are, not definitely.
    18      A. I don't remember specifically                18       Q. And when did these SOPs come into
    19   anything.                                          19   existence, as far as you know?
    20   BY MR. GOTTO:                                      20       A. They were drafted by the SOM team and
    21      Q. Okay. And so when you conducted the          21   reviewed, so whenever that team took it back
    22   audit at Cedardale, were you aware of whether      22   from Hobart and was reviewing the program. I
    23   any of Cedardale's customers had been identified   23   don't remember. It was before 2011, obviously,
    24   as parties who ordered from multiple               24   but I don't remember when.
                                                Page 131                                                        Page 133
     1   Mallinckrodt distributors?                          1      Q. Okay.
     2      A. I don't remember anything about               2         (Whereupon, Mallinckrodt-Spaulding-4
     3   knowing their pharmacies, knowing who they were     3         was marked for identification.)
     4   supplying.                                          4   BY MR. GOTTO:
     5      Q. What was the -- what can you recall           5      Q. We've marked as Exhibit 4 a multi-page
     6   about the results of the Cedardale audit?           6   document beginning at Bates MNK-T1_0007730928.
     7      A. I remember that we were not                   7   Appears to be an e-mail thread from 2013 between
     8   comfortable that they had a robust enough           8   you and Ms. Harper. Would you take a moment to
     9   program in place.                                   9   look at that, and tell me if you recognize it.
    10      Q. Okay. And as a result, was Cedardale         10         (Witness reviewing document.)
    11   cut off from -- as a Mallinckrodt distributor?     11      Q. Feel free to look at whatever you
    12      A. I recall that they were -- we stopped        12   want, my only question is on the first page of
    13   shipping to them. I don't recall if it was         13   that document.
    14   before the audit or not, or a result of the        14      A. Okay.
    15   audit.                                             15         (Witness reviewing document.)
    16      Q. And do you know if Mallinckrodt ever         16      Q. Do you recognize that document?
    17   resumed shipping to Cedardale after that?          17      A. No, not exactly.
    18      A. I believe we did with some                   18      Q. Okay. On the first page, the e-mail
    19   restrictions.                                      19   from you to Ms. Harper, October of 2013, any
    20      Q. Do you know what the restrictions            20   reason to doubt that you sent this e-mail?
    21   were?                                              21      A. No.
    22      A. C3 through 5 only. We didn't resume          22      Q. Okay. Under "Suspicious Order
    23   shipping C2s.                                      23   Monitoring" in the middle of the page, do you
    24      Q. Exhibit 2 also indicates -- I'm sorry,       24   see that?

   Golkow Litigation Services                                                       Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 84. PageID #: 253555
                                                                             Review
                                                Page 134                                                     Page 136
     1       A. Yes.                                         1   sentence?
     2       Q. "Description. Support Legal                  2      A. We had a very intensive DEA inspection
     3   Department Regulatory Compliance in the arena of    3   that year.
     4   interaction with the Drug Enforcement               4      Q. Okay. And what aspects of the
     5   Administration by managing and coordinating         5   inspection were particularly intensive, as you
     6   enhancements with the SOM program."                 6   can recall?
     7          Do you see that?                             7      A. Just there was many investigators
     8       A. Yes.                                         8   there for six weeks.
     9       Q. Do you recall the enhancements to the        9      Q. Did that investigation extend to any
    10   SOM program that you managed or coordinated in     10   aspects of the SOM program?
    11   this time frame?                                   11      A. Yes.
    12       A. No, we were always constantly trying        12      Q. In what regard can you recall them
    13   to change it, make it better, so I don't           13   interacting with you with respect to SOM?
    14   remember what in specific.                         14      A. They were asking us about our SOM
    15       Q. Okay. The next paragraph says "Ensure       15   program in which we, as did any other audit,
    16   all orders placed on SOM hold are reviewed         16   would explain the program at that time.
    17   thoroughly and accurately to ensure SOM DEA        17      Q. Do you recall if DEA identified to you
    18   Compliance."                                       18   any shortcomings or criticisms of the SOM
    19          In this time frame in 2013, who was         19   program?
    20   involved in the review of orders that were         20      A. Not that I remember.
    21   placed on SOM hold?                                21          (Whereupon, Mallinckrodt-Spaulding-5
    22       A. Jen Buist, but I don't know when she        22          was marked for identification.)
    23   came on board.                                     23   BY MR. GOTTO:
    24       Q. And what department did she work in?        24      Q. We've marked as Exhibit 5 a two-page
                                                Page 135                                                       Page 137
     1       A. She was under government compliance at       1   document beginning at Bates MNK-T1_0000274080,
     2   that time.                                          2   an e-mail dated -- well, series of e-mails dated
     3       Q. So was she the person who would review       3   May of 2008. Would you take a moment to look at
     4   an order that was placed on hold to determine       4   those e-mails, please?
     5   whether the order would be released?                5          (Witness reviewing document.)
     6       A. Yes.                                         6       Q. Do you recognize those e-mails?
     7       Q. And so in terms of your ensuring that        7       A. No.
     8   orders were thoroughly and accurately reviewed,     8       Q. Okay. The May 12th e-mail from
     9   did you interact with her?                          9   Ms. Harper indicates that she's gathered a group
    10       A. She -- if she was unsure of an order        10   consisting of a few persons that she identifies
    11   and wanted to know some supporting data, she       11   to review the suspicious order monitoring
    12   would reach out to me. But I was the backup at     12   program with the goal of making it more robust
    13   this time. So it's referring to any order that     13   in light of DEA activity, and she asks if you
    14   I reviewed.                                        14   would be willing to review a draft procedure and
    15       Q. Okay. But she had the ability to            15   serve on the team as a Hobart advisor.
    16   review and release an order without consulting     16          Do you see that?
    17   with you, is that correct?                         17       A. Yes.
    18       A. Yes.                                        18       Q. And do you recall her making that
    19       Q. The next paragraph under "Employee          19   request to you in 2008?
    20   Evaluation" says "Fiscal year '13 has been a       20       A. Based on -- only based on this e-mail.
    21   challenging year for the Hobart site from the      21   I don't recall it.
    22   Controlled Substances Compliance aspect."          22       Q. All right. And then you respond
    23          What can you recall that made fiscal        23   "Absolutely - currently at DEA conference,"
    24   year '13 a challenging year as you state in that   24   correct?

   Golkow Litigation Services                                                      Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 84. PageID #: 253556
                                                                             Review
                                                Page 138                                                Page 140
     1       A. Yes.                                         1   that the SOM program that was in place at
     2       Q. And no reason to doubt that you sent         2   Mallinckrodt complied with DEA requirements?
     3   that e-mail, correct?                               3       A. Based on the knowledge we had at that
     4       A. No.                                          4   time, yes.
     5       Q. Okay. In Ms. Harper's e-mail under           5       Q. Did there come a time when you had an
     6   the dashed lines there are -- as an aside, she      6   understanding that the SOM program in place at
     7   mentions in a conference she attended "among the    7   Mallinckrodt did not comply with DEA
     8   agenda items was Suspicious Order Monitoring."      8   requirements?
     9          Do you see that?                             9       A. No.
    10       A. Yes.                                        10          (Whereupon, Mallinckrodt-Spaulding-6
    11       Q. And "Other suggestions included," she       11          was marked for identification.)
    12   states, "On-site visits for all controlled         12   BY MR. GOTTO:
    13   substance customers; Close scrutiny of small,      13       Q. Exhibit 6 is a lengthy document
    14   independent pharmacies; Close scrutiny of pain     14   beginning at Bates MNK-T1_0005187729. It's an
    15   management clinics."                               15   e-mail attaching a PowerPoint presentation, the
    16          Are any of those three steps anything       16   first page of which contains your name.
    17   that you can recall being implemented at           17          It's a lengthy document, I can direct
    18   Mallinckrodt in this time frame in 2008?           18   you to a few pages that I have some questions
    19       A. In 2008, no.                                19   for you on rather than have you review the
    20       Q. Do you recall when any of those steps       20   entire document. But certainly feel free to
    21   were implemented at Mallinckrodt?                  21   look at any part of it that you need to to
    22       A. We started on-site visits of                22   answer any of my questions.
    23   controlled substance customers in 2010, '11 with   23          Do you recall what the purpose of this
    24   the KeySource, Masters, and Cedardale that we      24   document was?
                                                Page 139                                                Page 141
     1   spoke of.                                           1       A. Yes.
     2       Q. Okay. In Ms. Harper's e-mail to you,         2       Q. What was it?
     3   she identifies a goal of making the SOM program     3       A. It's what we used for training new
     4   more robust. Do you recall what the SOM program     4   employees when they started.
     5   consisted of in May of 2008?                        5       Q. Okay. And just for the record, the
     6       A. Not exactly, no.                             6   cover e-mail is dated January of 2011, correct?
     7       Q. Do you have a general recollection?          7       A. Yes.
     8       A. Generally it was just the algorithm.         8       Q. And did you prepare the portion of the
     9       Q. And do you recall what the components        9   presentation that's the slides that are behind
    10   of the algorithm were at this point?               10   your name?
    11       A. Only one of them. That was based on         11       A. It was a combination of Karen Harper
    12   their previous order history.                      12   and myself.
    13       Q. Would that be the sort of threshold         13       Q. Okay. If you turn to the page --
    14   metric that you understood the DEA said was        14   unfortunately these are not numbered. Let me
    15   inadequate?                                        15   just count pages for you, 1, 2, 3, 4, 5, 6, 7,
    16          MR. O'CONNOR: Objection to form.            16   the eighth page in, there's "Statistics on
    17       A. No. So a threshold is when you say,         17   National Drug Abuse Trends."
    18   okay, they can only order up to 5,000 dosage       18          Do you see that?
    19   units a month. This was based on what they         19       A. "DEA Regulatory Authority" up on the
    20   historically had been ordering to know that --     20   top?
    21   whether they were continuing to order in           21       Q. Well, it's immediately behind the
    22   historical patterns.                               22   slide that says "Security & Controlled Substance
    23   BY MR. GOTTO:                                      23   Compliance."
    24       Q. So was it your understanding in 2008        24       A. Oh, yes. Okay.

   Golkow Litigation Services                                                    Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 84. PageID #: 253557
                                                                             Review
                                                Page 142                                                     Page 144
     1       Q. So there's "Statistics on National           1   against a registrant and their registration
     2   Drug Abuse Trends," and the following slide is      2   regardless of who you are.
     3   "Abuse Trends." Why was it important to give        3       Q. All right. You can put that aside.
     4   this information to new hires in their training?    4          (Whereupon, Mallinckrodt-Spaulding-7
     5       A. Because we wanted them to understand         5          was marked for identification.)
     6   why we have these security policies and             6   BY MR. GOTTO:
     7   procedures around our processes, and why two        7       Q. We've marked as Exhibit 7 a multi-page
     8   people have to be present at all times.             8   document beginning at Bates MNK-T1_0000448773.
     9       Q. Okay. And so the page -- the slide, I        9   It's entitled "oxycodone Extended Release Risk
    10   think, the next one after the one you're on,       10   Map Action Plan." Let's take a look at that
    11   there you go, "Abuse Trends," identifies certain   11   document, and tell me if you recognize it.
    12   statistical items such as "estimated 48 million    12       A. No.
    13   people have used prescription drugs for            13       Q. You don't recall ever seeing this
    14   non-medical reasons in their lifetimes." These     14   before?
    15   abuse trends were something that Mallinckrodt      15       A. No, I don't remember it.
    16   tracked at the time, correct?                      16       Q. Are you familiar with the -- with
    17       A. No. This is information that we             17   Mallinckrodt having a risk map action plan with
    18   gleaned off of either DEA's website or NIDDA's     18   respect to various products?
    19   website.                                           19       A. I'm aware that some products require
    20       Q. Okay. The following slide, "DEA             20   risk map programs.
    21   reiterates responsibilities." Do you see that      21       Q. Okay. And do you know which products
    22   one?                                               22   require those programs?
    23       A. Yes.                                        23       A. Oxycodone ER was one of them. There's
    24       Q. And on this slide you make reference        24   several others, but I don't know them

                                                Page 143                                                    Page 145
     1   to certain statements made by DEA in                1   specifically.
     2   correspondence to Mallinckrodt, correct?            2       Q. And do you know why oxycodone requires
     3      A. Yes.                                          3   a risk map action plan?
     4      Q. Are these items of correspondence             4       A. No, that's an FDA requirement.
     5   the -- two of the items you referred to earlier     5       Q. Do you know if Mallinckrodt had any
     6   today in your testimony, letters from DEA?          6   other -- Mallinckrodt manufactured any other
     7      A. The one letter is. I don't recall the         7   opioid other than oxycodone that required a risk
     8   one that was specific for Mark Coverly.             8   map action plan?
     9      Q. Okay. The one on the right from               9       A. Yes, there were others, but I don't
    10   Mr. Rannazzisi?                                    10   remember specifically which products.
    11      A. Yes.                                         11       Q. Did you have any involvement in the
    12      Q. The following slide "Recent DEA              12   preparation of the Oxycodone ER risk map action
    13   Actions Involving Distributors" which talks        13   plan?
    14   about actions involving AmerisourceBergen,         14       A. I don't remember it, so I'm not sure.
    15   Cardinal, and McKesson, why was it important to    15       Q. Okay. If you turn to Page 3 of the
    16   provide that information to new hires?             16   document ending in Bates 775, under "Supply
    17      A. Because we wanted them to understand         17   Chain & Security," you see your name appears on
    18   the importance of having a DEA license.            18   several of the entries.
    19      Q. And then the following several slides        19          Do you see that?
    20   involve specific examples, Masters                 20       A. Yes.
    21   Pharmaceutical, Rite Aid Issues, CVS Fines. Why    21       Q. So one entry, "Provide notification to
    22   was it important to provide that information to    22   DEA of any confirmed diversion," and you're one
    23   new hires?                                         23   of the persons responsible there, correct?
    24      A. To show them that DEA can take action        24       A. Yes.

   Golkow Litigation Services                                                      Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 84. PageID #: 253558
                                                                             Review
                                                Page 146                                                Page 148
     1      Q. Do you ever recall that occurring,            1      Q. Okay. Do you interact with
     2   that you provided notification to DEA of any        2   Mr. Gillies?
     3   confirmed diversion?                                3      A. Yes.
     4      A. No, that would have been a 106 form.          4      Q. In what capacities?
     5      Q. And do you recall ever providing a 106        5      A. I escalate to him any law enforcement
     6   form to DEA confirming diversion on oxycodone?      6   inquiries for either law information or the
     7      A. Oxycodone, or Oxycodone ER?                   7   placebos as we talked about earlier, and if he
     8      Q. Oxycodone ER, I'm sorry.                      8   contacts me for information, I provide it.
     9      A. No, not without looking at my records.        9      Q. Have you ever had any -- has
    10      Q. Next item is "Notify Covidien                10   Mr. Gillies ever expressed any dissatisfaction
    11   management...of suspected diversion."              11   with your work product?
    12          Do you see that?                            12      A. Not that I can recall.
    13      A. Yes.                                         13      Q. Have you had any difficulties in
    14      Q. Do you recall ever doing that                14   interacting with Mr. Gillies over the years?
    15   notification of Covidien management of suspected   15      A. No.
    16   diversion of Oxycodone ER?                         16          MR. GOTTO: Let's go off the record.
    17      A. No, I don't remember.                        17          THE VIDEOGRAPHER: The time is
    18      Q. On the next page, Page 4, the -- one,        18   12:32 p.m., and we're off the record.
    19   two, three -- fourth item down, "Photographs of    19          (Whereupon, a luncheon recess was
    20   drivers authorized to handle controlled            20          taken.)
    21   substances are maintained on file at the           21
    22   distribution center." Is that something that       22
    23   was done at Hobart?                                23
    24      A. Yes.                                         24

                                                Page 147                                                Page 149
     1       Q. Three items down from there, "Audit          1         AFTERNOON SESSION
     2   carrier records annually." Your name is listed.     2
     3   Is that something that you participated in?         3          THE VIDEOGRAPHER: The time is
     4       A. At that time, yes.                           4   1:15 p.m., and we're on the record.
     5       Q. Do you recall an individual named John       5   BY MR. GOTTO:
     6   Gillies?                                            6       Q. Welcome back, Ms. Spaulding.
     7       A. Yes.                                         7       A. Thank you.
     8       Q. What was his role?                           8       Q. Before our lunch break you had
     9       A. He was not here at the time. This            9   testified about the one suspicious order you
    10   was -- Bill Ratliff was the security director.     10   could recall, which I think was a fentanyl order
    11   John Gillies is the vice president of global       11   that went to a vet clinic, is that correct?
    12   security.                                          12       A. Yes.
    13       Q. Currently?                                  13       Q. Okay. You'd agree with me that if a
    14       A. Yes. John Gillies was Bill Ratliff's        14   vet clinic purchased opioids and then resold
    15   successor.                                         15   them to a human pain clinic or a human
    16       Q. Okay. So to the extent Mr. Ratliff is       16   physician, that would be a potentially
    17   identified as having responsibilities on this      17   suspicious order, wouldn't it?
    18   risk map action plan, currently those would be     18          MR. O'CONNOR: Objection to form.
    19   Mr. Gillies responsibilities?                      19       A. I wouldn't know if a vet clinic sold
    20          MR. O'CONNOR: Objection to form.            20   it to anybody else. We would only have the
    21   BY MR. GOTTO:                                      21   direct sales. And a vet clinic wouldn't apply
    22       Q. As far as you know.                         22   with chargebacks.
    23       A. Yes. We don't have this product             23   BY MR. GOTTO:
    24   anymore.                                           24       Q. So you're not aware of any situations

   Golkow Litigation Services                                                    Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 84. PageID #: 253559
                                                                             Review
                                                Page 150                                                Page 152
     1   in which Mallinckrodt opioids were purchased by     1   marketplace as MS Contin is extremely abused and
     2   a veterinary supply company and then resold to      2   they want to know when we are going to start
     3   medical clinics or dispensing physicians?           3   producing from this facility."
     4      A. Not that I'm aware of.                        4         Do you recall DEA making that inquiry
     5      Q. And do you know if Mallinckrodt's             5   of you?
     6   records would include that information if it        6       A. No.
     7   had, in fact, occurred?                             7       Q. Okay. Do you recall being aware in
     8      A. I don't know what our records -- that         8   2005 that MS Contin was extremely abused?
     9   our records would include that.                     9       A. Only based on this e-mail.
    10      Q. In any event, you've never heard of          10       Q. Do you recall being aware in 2005 that
    11   that happening?                                    11   Oxycodone ER would also have the potential to be
    12      A. Correct.                                     12   abused?
    13          (Whereupon, Mallinckrodt-Spaulding-8        13       A. Only based on this e-mail.
    14          was marked for identification.)             14       Q. And Mallinckrodt began manufacturing
    15   BY MR. GOTTO:                                      15   Oxycodone IR shortly after this, isn't that
    16      Q. Just one last question on that one           16   correct?
    17   before you turn to that document.                  17       A. We were manufacturing -- which
    18          If you were aware of that happening,        18   strength of IR?
    19   that a veterinary supply company purchasing from   19       Q. Well, in any strength.
    20   Mallinckrodt had resold to a medical clinic or     20       A. So we had been manufacturing oxycodone
    21   dispensing physician, would you have               21   5-milligram prior to this. I don't remember
    22   investigated that as a potentially suspicious      22   when we started manufacturing oxycodone
    23   order?                                             23   15-milligram or 30-milligram IR.
    24      A. Yes, we would have raised that to the        24       Q. Okay. And Oxycodone IR also has the
                                                Page 151                                                Page 153
     1   suspicious order monitoring team for evaluation.    1   potential for abuse, correct?
     2      Q. Okay. I've just handed you what we've         2       A. Yes.
     3   marked as Exhibit 8, which is a single-page         3       Q. And were you aware of that back in
     4   document bearing Bates MNK-T1_0006443249, an        4   2005?
     5   e-mail thread from 2005. Take a look at that        5       A. I don't remember when I was aware of
     6   for a moment, if you would, and tell me if you      6   it.
     7   recognize it.                                       7       Q. Okay. All right. You can set that
     8      A. Okay.                                         8   aside.
     9      Q. Do you recall those e-mails?                  9          (Whereupon, Mallinckrodt-Spaulding-9
    10      A. No.                                          10          was marked for identification.)
    11      Q. Okay. Do you know who Mike Spears            11   BY MR. GOTTO:
    12   was?                                               12       Q. We've marked as Exhibit 9 a two-page
    13      A. Yes.                                         13   e-mail thread beginning at Bates
    14      Q. Who was he?                                  14   MNK-T1_0000492214. Take a look at those
    15      A. Director of what we call PPT, product        15   e-mails, if you would, and tell me if you
    16   process technology.                                16   recognize them.
    17      Q. And how about Laura Ashline?                 17          (Witness reviewing document.)
    18      A. She's a project manager.                     18       A. Yes.
    19      Q. Okay. And Jim Walter?                        19       Q. And do you recognize these as e-mails
    20      A. He was the site director.                    20   from April of 2007 involving you and Ms. Harper
    21      Q. Okay. Your e-mail to Mr. Spears and          21   as well as some others concerning a suspension
    22   Ms. Ashline says "At the request of the DEA they   22   of AmerisourceBergen by FDA -- by DEA?
    23   would like to know the timeline for release of     23       A. Yes.
    24   Oxycodone ER products (all strengths) into the     24       Q. Do you recall that circumstance

   Golkow Litigation Services                                                    Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 84. PageID #: 253560
                                                                             Review
                                                Page 154                                                Page 156
     1   occurring?                                          1       A. Yes.
     2      A. Yes.                                          2       Q. And did you ever hear anyone express
     3      Q. And AmerisourceBergen was a large             3   that attitude?
     4   customer of Mallinckrodt, correct?                  4       A. There was internal pushback both ways,
     5      A. Yes.                                          5   so they would push back on us and we would push
     6      Q. And they, according to this press             6   back as well.
     7   report, they were temporarily suspended as a        7       Q. And when you say "they" in that
     8   result of shipping to certain pharmacies in         8   setting, who is the they?
     9   Florida, correct?                                   9       A. Management, stakeholders in the
    10      A. Based on this release, yes.                  10   business.
    11      Q. And this is dated in 2007. Were there        11       Q. And pushback on whom?
    12   any steps taken in 2007 in light of this           12       A. The compliance team.
    13   suspension of AmerisourceBergen to evaluate        13       Q. And what would the form of the
    14   whether any AmerisourceBergen orders from          14   pushback be?
    15   Mallinckrodt were suspicious?                      15       A. If we wanted to purchase physical --
    16      A. I don't remember if there was any            16   additional equipment for physical security to
    17   specific steps.                                    17   make us -- to enhance, but at all times it
    18      Q. Was there an audit conducted of              18   was -- we were always in compliance. It was
    19   AmerisourceBergen?                                 19   always to make us better or to be able to look
    20          MR. O'CONNOR: Objection to form.            20   at things differently. At no time were we not
    21      A. Not that I was directly involved in.         21   compliant. If we were, we -- the business would
    22   BY MR. GOTTO:                                      22   have given us anything we needed to be
    23      Q. Were you aware of an audit being             23   compliant.
    24   conducted of AmerisourceBergen at any time in      24       Q. So one form of pushback that you're
                                                Page 155                                                Page 157
     1   the 2007 time frame?                                1   recalling is where you may have made a request
     2       A. No, not that I can recall.                   2   for some sort of enhancement to security and
     3       Q. Or in 2008?                                  3   that request was rejected?
     4       A. No.                                          4          MR. O'CONNOR: Objection to form.
     5       Q. Or 2009?                                     5       A. Was challenged.
     6       A. No.                                          6   BY MR. GOTTO:
     7       Q. Or 2010?                                     7       Q. Do you remember any specific request
     8       A. No.                                          8   in that regard?
     9       Q. Now, in your e-mail, the second one on       9       A. Nothing specific.
    10   the first page of the exhibit, you note that       10       Q. So the attitude that Ms. Harper is
    11   AmerisourceBergen had already been reinstated by   11   referring to is one that "we are 'such big
    12   the DEA. How did you know that?                    12   players' that DEA would never suspend our
    13       A. I don't remember how I knew back at         13   license." If you were in compliance with DEA
    14   that time.                                         14   regulation and you were requesting an
    15       Q. And Ms. Harper in her April 27th            15   enhancement, how would that trigger a response
    16   e-mail says "sometimes we are met with internal    16   in the nature of "we are 'such big players' that
    17   pushback and the attitude that we are 'such big    17   DEA would never suspend our license"?
    18   players' that DEA would never suspend our          18          MR. O'CONNOR: Objection to form.
    19   license."                                          19       A. I don't know what example that Karen
    20          Do you see that?                            20   is referring to in this -- in her comment.
    21       A. Yes.                                        21   BY MR. GOTTO:
    22       Q. Do you recall Ms. Harper expressing         22       Q. You don't recall any discussions with
    23   that sentiment to you, that sometimes that that    23   her on that point in this time frame?
    24   attitude was expressed at Mallinckrodt?            24       A. No.

   Golkow Litigation Services                                                    Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 84. PageID #: 253561
                                                                             Review
                                                    Page 158                                                  Page 160
     1       Q. Did Ms. Harper ever express to you any              1      Q. In your e-mail on June 24th, you
     2   frustration with the slow pace of enhancing the            2   indicate "Patti is sharing with her group as
     3   SOM program?                                               3   well."
     4          MR. O'CONNOR: Objection to form.                    4          Who is Patti?
     5       A. Not that I can recall.                              5      A. Patti Woznick was the purchasing
     6   BY MR. GOTTO:                                              6   manager.
     7       Q. It took quite a while from when you                 7      Q. Okay. And what was her group?
     8   began working on enhancing the program until               8      A. The purchasing department, and the
     9   there actually was an enhanced program in place,           9   ARCOS coordinator at the time was reporting to
    10   wasn't it?                                                10   Patti.
    11          MR. O'CONNOR: Objection to form.                   11      Q. Okay. And Ms. Harper was forwarding
    12       A. I don't know what that time frame is.              12   you some press reports regarding oxycodone and
    13   I don't know what a while is.                             13   OxyContin, correct?
    14   BY MR. GOTTO:                                             14      A. Yes.
    15       Q. More than three years?                             15      Q. And what would be the reason for Patti
    16       A. I don't know, because they were                    16   sharing that information with her group?
    17   working on it from the corporate aspect.                  17      A. Because she had a member of compliance
    18       Q. In terms of when you were first aware              18   on her team.
    19   of there being work on enhancing the SOM program          19      Q. Fair to say that by mid 2008 you were
    20   until the time when the enhanced program was              20   aware of the potential for diversion and abuse
    21   actually implemented, that was more than three            21   of oxycodone, correct?
    22   years, wasn't it?                                         22      A. Yes. Yes.
    23          MR. O'CONNOR: Objection to form.                   23      Q. And fair to say it was a matter of
    24       A. I don't remember. We were constantly               24   concern for Ms. Harper at that time?
                                                        Page 159                                              Page 161
     1   working on it. There was always a program in               1          MR. O'CONNOR: Objection to form.
     2   place, we were just always tweaking it, making             2       A. I can't speculate on what Karen felt
     3   it better.                                                 3   or knew.
     4   BY MR. GOTTO:                                              4   BY MR. GOTTO:
     5       Q. Were you personally frustrated with                 5       Q. You don't recall her expressing to you
     6   the pace at which the enhancement of the SOM               6   at that time any concerns about the potential
     7   program was taking place?                                  7   for diversion or abuse of oxycodone?
     8       A. No, not that I can recall.                          8          MR. O'CONNOR: Objection to form.
     9       Q. And you don't recall Ms. Harper                     9       A. Not at this time.
    10   expressing any frustration in that regard?                10   BY MR. GOTTO:
    11       A. No, not to me.                                     11       Q. When can you recall her first
    12          (Whereupon, Mallinckrodt-Spaulding-10              12   expressing any such concerns to you?
    13          was marked for identification.)                    13          MR. O'CONNOR: Objection to form.
    14   BY MR. GOTTO:                                             14       A. I don't remember exact dates or
    15       Q. We've marked as Exhibit 10 a                       15   timelines.
    16   multi-page e-mail thread beginning at Bates               16   BY MR. GOTTO:
    17   MNK-T1_0001792949. Please take a moment to look           17       Q. You understood in 2008, didn't you,
    18   at those e-mails, and tell me if you recognize            18   that as a DEA registrant Mallinckrodt had an
    19   them.                                                     19   obligation to design and implement a suspicious
    20          (Witness reviewing document.)                      20   order monitoring program, correct?
    21       Q. I just have questions for you on the               21       A. Yes.
    22   first page.                                               22       Q. And you understood that a purpose of
    23          (Witness reviewing document.)                      23   that program was to function as an
    24       A. Okay.                                              24   anti-diversion mechanism, correct?

   Golkow Litigation Services                                                           Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 84. PageID #: 253562
                                                                             Review
                                                Page 162                                                      Page 164
     1          MR. O'CONNOR: Objection to form.             1   something that somebody else saw on the SOM team
     2       A. I understood it to be a regulation in        2   or it was broader.
     3   the CFR.                                            3       Q. Was the subject of conducting inquiry
     4   BY MR. GOTTO:                                       4   into your customers' customers something that
     5       Q. Did you understand one of the purposes       5   was covered in any of the DEA-sponsored
     6   for suspicious order monitoring to deter            6   educational programs that you attended?
     7   diversion?                                          7       A. I vaguely remember one of the DEA
     8       A. Yes.                                         8   conferences talking about know your customer's
     9       Q. And you understood in 2008 that as a         9   customer, but I don't know when that was.
    10   DEA registrant Mallinckrodt also had the           10       Q. Do you recall if at that time
    11   obligation to take steps to protect against        11   Mallinckrodt was taking steps to know its
    12   diversion of the controlled substances that it     12   customer's customer?
    13   manufactured?                                      13       A. No, because I don't remember what the
    14          MR. O'CONNOR: Objection to form.            14   correlation time was.
    15       A. We had to maintain effective controls       15       Q. How about the Buzzeo conferences, do
    16   to detect diversion within the manufacturing       16   you recall that topic, knowing your customer's
    17   site.                                              17   customer, being covered at any of those
    18   BY MR. GOTTO:                                      18   conferences?
    19       Q. Did you have an understanding as to         19       A. No.
    20   whether Mallinckrodt had any duties with respect   20       Q. Do you recall that in 2008 there was
    21   to controlling against diversion with respect to   21   an initiative at Mallinckrodt to enhance the SOM
    22   its products after they left the manufacturing     22   program?
    23   site?                                              23       A. Yes.
    24       A. No.                                         24       Q. And do you recall what triggered that?

                                                Page 163                                                    Page 165
     1      Q. Did you not have an understanding, or         1       A. No.
     2   did you understand that it did not have any such    2       Q. How did you learn about that
     3   obligation?                                         3   initiative?
     4      A. So my understanding was that we had an        4       A. The initiative of --
     5   obligation to maintain effective controls from      5       Q. Enhancing the SOM program.
     6   us to the customer, to our direct customer.         6       A. Through Karen Harper.
     7   Back in 2008 we didn't know about downstream        7       Q. And was one of the reasons for that
     8   customers, or have the inclination that we          8   initiative increased DEA scrutiny with respect
     9   needed to be looking at downstream customers.       9   to Mallinckrodt's distributors?
    10      Q. Okay. And when you say "downstream           10       A. I don't know that firsthand.
    11   customers," you mean your customers' customers,    11       Q. Was one of the reasons any of the
    12   correct?                                           12   letters from Mr. Rannazzisi that you mentioned
    13      A. Yes.                                         13   earlier today?
    14      Q. And when did you first -- when can you       14       A. It could be.
    15   recall first beginning to conduct any inquiry      15       Q. But you don't recall?
    16   into Mallinckrodt's customers' customers?          16       A. I don't recall exactly, no.
    17          MR. O'CONNOR: Objection to form.            17       Q. Do you recall in 2008 being aware that
    18      A. That would have been when we started         18   diversion of prescription opioids was being
    19   looking at chargebacks.                            19   identified publicly as a significant health
    20   BY MR. GOTTO:                                      20   issue?
    21      Q. And do you recall when that was?             21           MR. O'CONNOR: Objection to form.
    22      A. I don't.                                     22       A. I'm aware of it. I don't remember
    23      Q. Do you recall what triggered that?           23   when I became aware of it.
    24      A. I don't. I don't know if it was              24           (Whereupon, Mallinckrodt-Spaulding-11

   Golkow Litigation Services                                                      Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 84. PageID #: 253563
                                                                             Review
                                                        Page 166                                               Page 168
     1          was marked for identification.)                     1   about halfway through there's a sentence that
     2   BY MR. GOTTO:                                              2   says "The regulation clearly indicates that it
     3       Q. We've marked as Exhibit 11 a two-page               3   is the sole responsibility of the registrant to
     4   DEA letter beginning at Bates MNK-T1_0000270069.           4   design and operate such a system."
     5   Take a look at that, and tell me if you                    5           Do you see that in that system to
     6   recognize that as one of the letters from                  6   disclose suspicious orders?
     7   Mr. Rannazzisi that you testified about earlier            7       A. Yes.
     8   today.                                                     8       Q. You were aware of that before you
     9       A. Yes.                                                9   received the letter, correct?
    10       Q. Do you recall seeing this letter in                10       A. Yes.
    11   late 2007 or early 2008?                                  11       Q. In the following paragraph, the second
    12       A. I recall seeing it. I would assume it              12   sentence says "Filing a monthly report of
    13   was when this letter was sent. I don't remember           13   completed transactions does not meet the
    14   exactly.                                                  14   regulatory requirement to report suspicious
    15       Q. And do you recall who provided it to               15   orders."
    16   you?                                                      16           Were you aware of that before you
    17       A. So based on the stamp, this came into              17   received this letter?
    18   our regulatory affairs department, and they               18           MR. O'CONNOR: Objection to form.
    19   probably shared it with me.                               19       A. I'm not following where you are in the
    20       Q. Okay. Do you recall when you first                 20   letter.
    21   saw this letter if this provided any information          21   BY MR. GOTTO:
    22   with respect to DEA regulation of which you were          22       Q. I'm sorry. The third paragraph,
    23   not aware until you read the letter?                      23   second sentence, "Filing a monthly report."
    24          MR. O'CONNOR: Objection to form.                   24       A. Okay.
                                                      Page 167                                                 Page 169
     1       A. I remember that the letter called out               1       Q. Were you aware of what that sentence
     2   that they didn't want excessive order reports              2   said before you received this letter?
     3   anymore. They only wanted orders that were                 3          MR. O'CONNOR: Same objection.
     4   suspicious.                                                4       A. I don't remember.
     5   BY MR. GOTTO:                                              5   BY MR. GOTTO:
     6       Q. Okay. And excessive order reports                   6       Q. Two sentences later in that paragraph
     7   were something that you had provided previously,           7   it says "Registrants must conduct an independent
     8   correct?                                                   8   analysis of suspicious orders prior to
     9       A. Yes.                                                9   completing a sale to determine whether the
    10       Q. And did you stop doing that after                  10   controlled substances are likely to be diverted
    11   receiving this letter?                                    11   from legitimate channels."
    12       A. I stopped doing it. I don't know that              12          Do you see that?
    13   it was a result of receiving this letter or               13       A. Yes.
    14   when.                                                     14       Q. Were you aware of that before
    15       Q. The second paragraph of the letter in              15   receiving this letter?
    16   the second line notes that manufacturers and              16       A. I don't remember.
    17   distributors must maintain effective controls             17       Q. But in any event, you were aware of it
    18   against diversion.                                        18   after you read this letter, correct?
    19          Do you see that?                                   19       A. Yes.
    20       A. Yes.                                               20       Q. Was it your understanding in late
    21       Q. You were aware of that before you                  21   2007, early 2008 that Mallinckrodt's procedures
    22   received this letter, correct?                            22   complied with that requirement, namely to
    23       A. Yes.                                               23   conduct an independent analysis of suspicious
    24       Q. A little later in that paragraph,                  24   orders before completing a sale to determine

   Golkow Litigation Services                                                           Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 84. PageID #: 253564
                                                                             Review
                                                Page 170                                                       Page 172
     1   whether the controlled substances were likely to    1   Mallinckrodt's SOM program -- well, do you know
     2   be diverted from legitimate channels?               2   if at the time of this letter the description
     3          MR. O'CONNOR: Objection.                     3   that I just read from this letter would apply to
     4      A. Yes.                                          4   Mallinckrodt's SOM program as it was followed in
     5   BY MR. GOTTO:                                       5   this time frame?
     6      Q. What did that independent analysis            6           MR. O'CONNOR: Objection to form.
     7   consist of in this time frame?                      7       A. I don't know what the algorithm in
     8      A. I don't remember exactly. It was              8   place was at the time of this letter.
     9   being done at corporate.                            9   BY MR. GOTTO:
    10      Q. It's not something you were involved         10       Q. Okay. You can set that aside.
    11   in at this time?                                   11           (Whereupon, Mallinckrodt-Spaulding-12
    12      A. I don't think so. I don't remember.          12           was marked for identification.)
    13      Q. Do you know who at corporate was             13   BY MR. GOTTO:
    14   involved in that?                                  14       Q. We've marked as Exhibit 11 a one-page
    15      A. Customer service managers.                   15   document MNK-T1_0000496062, Suspicious Order
    16      Q. The next paragraph says "The                 16   Monitoring Team Charter.
    17   regulation specifically states that suspicious     17           MR. O'CONNOR: Counsel, I think it's
    18   orders include orders of an unusual size, orders   18   12.
    19   deviating substantially from a normal pattern,     19           MR. GOTTO: I'm sorry. Is it 12?
    20   and orders of unusual frequency."                  20           MS. REYES: It is 12.
    21          Do you see that?                            21           MR. GOTTO: Sorry. I apologize.
    22      A. Yes.                                         22   Exhibit 12.
    23      Q. Were you aware of that before you            23           MR. O'CONNOR: No problem.
    24   received this letter?                              24   BY MR. GOTTO:

                                                Page 171                                                     Page 173
     1       A. Yes.                                         1       Q. Updated 4/7/11. Take a look at that
     2       Q. On the second page, the first                2   document, if you would, tell me if you recognize
     3   paragraph on that page says "Registrants that       3   it.
     4   rely on rigid formulas to" determine "whether an    4          (Witness reviewing document.)
     5   order is suspicious may be failing to detect        5       A. Okay.
     6   suspicious orders."                                 6       Q. Do you recognize that document?
     7           Do you see that?                            7       A. No, I don't remember it.
     8       A. Yes.                                         8       Q. Appears to be a team charter for the
     9       Q. Were you aware of that before                9   SOM team. You're listed on -- as a member of
    10   receiving this letter?                             10   the steering committee.
    11       A. I don't remember.                           11          Do you see that?
    12       Q. The following sentence says "For            12       A. Yes.
    13   example, a system that identifies orders as        13       Q. And is that consistent with your
    14   suspicious only if the total amount of the         14   recollection that you were a member of the SOM
    15   controlled substance ordered during one month      15   steering committee at least as of April 7 of
    16   exceeds the amount ordered the previous month by   16   2011?
    17   a certain percentage or more is insufficient."     17       A. Yes.
    18           Do you see that?                           18       Q. Do you recall when you became a member
    19       A. Yes.                                        19   of the steering committee?
    20       Q. Were you aware before receiving this        20       A. No.
    21   letter that a system of the type described in      21       Q. When you were a member, do you
    22   that sentence is insufficient?                     22   recall -- are you still a member of the steering
    23       A. I don't remember.                           23   committee?
    24       Q. Do you know if at this time                 24       A. Yes.

   Golkow Litigation Services                                                       Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 84. PageID #: 253565
                                                                             Review
                                               Page 174                                                Page 176
     1      Q. And does the steering committee meet         1       Q. Okay. Do you recall why you sent this
     2   regularly?                                         2   report to Ms. Harper in 2014?
     3      A. Yes.                                         3       A. She would have had to have requested
     4      Q. How frequently?                              4   it is the only reason I would have sent it.
     5      A. Monthly.                                     5       Q. Now, in your cover e-mail you mention
     6      Q. Has that been the case at least since        6   a suspicious order monitoring of some type from
     7   April of 2011?                                     7   2001. Was there a written suspicious order
     8      A. Yes.                                         8   monitoring program in place before 2008?
     9      Q. Does it maintain minutes of meetings?        9           MR. O'CONNOR: Object to form.
    10      A. Not that I'm aware of.                      10       A. I don't know that it was written, that
    11      Q. Any other formal documentation of its       11   there was a written policy on it.
    12   actions or deliberations?                         12   BY MR. GOTTO:
    13      A. No.                                         13       Q. Okay. So you don't recall seeing a
    14          (Whereupon, Mallinckrodt-Spaulding-13      14   written policy prior to 2008?
    15          was marked for identification.)            15       A. No.
    16   BY MR. GOTTO:                                     16       Q. How did you come to know what the
    17      Q. We've marked as Exhibit 13 a two-page       17   program was if it wasn't written?
    18   document starting MNK-T1_0007026341. Please       18       A. Because Elizabeth McPhail at the time
    19   take a look at those pages, and tell me if you    19   would have trained me on what to look for in the
    20   recognize them.                                   20   orders.
    21          (Witness reviewing document.)              21       Q. And what do you recall her training
    22      A. Yes.                                        22   you on in that regard?
    23      Q. And what are they?                          23       A. To look at the orders that come out,
    24      A. So this is actually -- I know the           24   and if they were of concern to research them
                                               Page 175                                                Page 177
     1   header says suspicious orders, but these are       1   further.
     2   what we call as peculiar or unusual orders, so     2       Q. And did she train you as to what
     3   they're hits to the algorithm.                     3   characteristics of an order might raise concern?
     4       Q. Okay. Your cover e-mail, which is           4       A. No, because we really didn't have a
     5   dated in April of 2014 to Ms. Harper, says "I      5   whole lot of information of what was unusual.
     6   can recall having a suspicious order monitoring    6       Q. And so, for example, the orders
     7   system in place of some type with the start of     7   identified as peculiar in the attachment to
     8   distribution activities from Hobart 2001,          8   Exhibit 13, do you recall how you identified
     9   however the attached is the earliest SOM report    9   those orders as peculiar?
    10   that I have in my e-mail system." And the         10       A. So the system would have ran these
    11   attachment is from December of 2003, correct?     11   orders against whatever algorithm was in place
    12       A. Yes.                                       12   at that time, and then these orders, these
    13       Q. And this identifies four transactions.     13   orders went on hold. So the report is saying
    14   And I take it from your earlier answer these      14   their previous year-to-date average is 643, and
    15   were identified as peculiar, correct?             15   this order was for 1,380.
    16       A. Yes.                                       16       Q. Okay. So these orders were identified
    17       Q. And is it the case that none of these      17   by application of the algorithm that you
    18   were ultimately determined to be suspicious?      18   understand was in place at the time?
    19       A. Correct.                                   19       A. Yes.
    20       Q. And I think you've testified earlier       20       Q. But you don't know what the components
    21   the only order that you can recall being          21   of that algorithm were, correct?
    22   identified as suspicious was the fentanyl order   22       A. All I know, it was based on previous
    23   to the vet clinic, correct?                       23   history. I don't know the specifics.
    24       A. The only one I know of, yes.               24       Q. Okay. You can set that aside.

   Golkow Litigation Services                                                   Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 84. PageID #: 253566
                                                                             Review
                                                       Page 178                                               Page 180
     1          (Whereupon, Mallinckrodt-Spaulding-14              1   order, is that what you're saying in this
     2          was marked for identification.)                    2   sentence?
     3   BY MR. GOTTO:                                             3       A. YTD is year-to-date, so the formula at
     4       Q. We've marked as Exhibit 14 a                       4   that time was taking the last year's
     5   single-page document, MNK-T1_0004282621. It's a           5   year-to-date average, and this order was double
     6   2007 e-mail from you to Sarah Heideman.                   6   their last year year-to-date average.
     7          First of all, who was Sarah Heideman?              7       Q. And so would this -- is this e-mail an
     8       A. I don't remember.                                  8   example of your looking at an order that had
     9       Q. Okay.                                              9   been identified as peculiar to determine whether
    10       A. I don't know.                                     10   it was suspicious?
    11       Q. In the body of your e-mail -- first of            11       A. At this time, yes.
    12   all, no reason to doubt you sent this e-mail,            12       Q. And you did that by providing this
    13   correct?                                                 13   information to Ms. Heideman and asking her for
    14       A. No.                                               14   some feedback on it?
    15       Q. The body of your e-mail, you say "DEA             15       A. Yes.
    16   requires us to report any 'suspicious orders'.           16       Q. And do you recall if you ultimately
    17   IS programmed a report that takes last year's            17   concluded whether this order was suspicious or
    18   average YTD and comes up with a formula and              18   not?
    19   anything outside of that formula shows on this           19       A. It wasn't reported to DEA, that I'm
    20   report."                                                 20   aware of.
    21          Is that the algorithm that you're                 21       Q. Okay.
    22   referring to?                                            22          (Whereupon, Mallinckrodt-Spaulding-15
    23       A. Yes.                                              23          was marked for identification.)
    24       Q. And you have -- you ask Ms. Heideman              24   BY MR. GOTTO:
                                                     Page 179                                                 Page 181
     1   to take a look and let you know what she thinks.          1       Q. We've marked as Exhibit 15 a two-page
     2          But you don't recall who Ms. Heideman              2   document beginning at MNK-T1_0000274399, an
     3   was or why you sent her this e-mail?                      3   e-mail exchange involving you and Ms. Harper,
     4       A. Based on the context of this e-mail,               4   "Re: Controlled Substance Suspicious Order
     5   it leads me to believe Sarah Heideman was the             5   Monitoring Team Update." Take a look at those
     6   project -- or the account manager for Walmart,            6   e-mails, and tell me if you recognize them.
     7   because I'm asking her specifically about                 7          (Witness reviewing document.)
     8   Walmart orders.                                           8       A. Okay.
     9       Q. Okay. And you note in your e-mail,                 9       Q. Okay. Do you recognize those e-mails?
    10   "It appears to me that Walmart is ordering               10       A. No, I don't remember them
    11   double what was last years' YTD amount, more             11   specifically.
    12   than the 20 percent market share increase."              12       Q. Okay. The second e-mail on the page
    13          Your reference there to market share,             13   from you to Ms. Harper dated June 17, do you see
    14   what are you referring to?                               14   that?
    15       A. So we would have received information             15       A. Yes.
    16   from the marketing group as to which customers           16       Q. Any reason to doubt you sent that
    17   have -- which have how much of the market share.         17   e-mail?
    18   So at this time I must have been advised by              18       A. No.
    19   somebody in marketing that Walmart had                   19       Q. Okay. You say to Ms. Harper, the
    20   20 percent market share.                                 20   first paragraph suggests on the customer
    21       Q. Or 20 percent market share increase?              21   checklist, "fill in what type of DEA
    22       A. Yeah. Yes.                                        22   registration so that we may be able to identify
    23       Q. Okay. So you're comparing that                    23   if a customer is ordering a suspicious amount
    24   increase to the increase in the size of their            24   against a specific registration type."

   Golkow Litigation Services                                                          Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 84. PageID #: 253567
                                                                             Review
                                                Page 182                                                       Page 184
     1          What did you mean by that?                   1      A. I don't know what he provided.
     2       A. So if a customer that's listed as a          2          (Whereupon, Mallinckrodt-Spaulding-16
     3   researcher is ordering a huge amount of product,    3          was marked for identification.)
     4   that would not be normal for a researcher           4   BY MR. GOTTO:
     5   license.                                            5      Q. We've marked as Exhibit 16 a two-page
     6       Q. Okay. And the customer checklist that        6   document beginning at Bates MNK-T1_0002940798.
     7   you're referring to here, what was that?            7   Please take a look at those and tell me if you
     8       A. To the best that I recall, there             8   can identify them.
     9   was -- the SOM corporate team was developing        9          (Witness reviewing documents.)
    10   checklists to be sent out to our customers.        10      A. Okay.
    11       Q. Was this part of the enhancement of         11      Q. Do you recognize those documents?
    12   the SOM?                                           12      A. Yes.
    13       A. Yes.                                        13      Q. What are they?
    14       Q. The last paragraph of your June 17th,       14      A. These were the quarterly reports that
    15   or the last substantive paragraph says "With the   15   I was combining and sending to DEA.
    16   new procedures, what kind of report will I send    16      Q. Okay. And these were -- what is
    17   to the DEA? I realize that we will DEA report      17   reported on the report?
    18   any order that is deemed suspicious by yours and   18      A. I'm not sure I understand your
    19   Bill's group, but what if we go a quarter          19   question.
    20   without a suspicious order?"                       20      Q. I'm sorry. How does some -- how does
    21          Do you see that?                            21   an order -- what is it about an order that
    22       A. Yes.                                        22   causes you to include it on this report?
    23       Q. So was your -- does that indicate that      23      A. So if it hits the criteria for the
    24   up until this time there was a regular quarterly   24   algorithm.

                                                Page 183                                                     Page 185
     1   report you were sending to the DEA?                 1      Q. Okay. So these would be, again,
     2      A. It was the excessive orders report.           2   peculiar orders under the Mallinckrodt
     3      Q. Okay. And so does that paragraph              3   terminology?
     4   indicate that you were not going to be providing    4      A. Yes.
     5   that report to the DEA anymore? Correct?            5      Q. Okay. And so did you report all
     6      A. Correct.                                      6   peculiar orders on a quarterly basis to the DEA
     7      Q. And so what was the answer to the             7   for some period of time?
     8   question that you posed in that paragraph?          8      A. We reported all orders that -- these
     9      A. I don't remember.                             9   are all clinic orders.
    10      Q. You can set that aside.                      10      Q. Clinic orders that had been identified
    11          Do you know who Bill Rausch was?            11   as peculiar?
    12      A. Bill Rausch --                               12      A. Yes.
    13      Q. Rausch.                                      13      Q. As compared to what other types of
    14      A. -- or Jim Rausch?                            14   orders?
    15      Q. Jim Rausch, I'm sorry.                       15      A. So the distributors have been removed.
    16      A. Jim Rausch, yes.                             16      Q. Okay. And what was the reason for
    17      Q. Who was he?                                  17   that?
    18      A. He was a customer service manager.           18      A. I don't remember specifically. I
    19      Q. Did he have any involvement at any           19   remember being told not to include the
    20   time that you can recall in the SOM process?       20   distributors into the report, but I don't
    21      A. Yes, he was the customer service             21   remember who told me not to include the
    22   manager reviewing the peculiar order report.       22   distributors.
    23      Q. Okay. And did he provide reports to          23      Q. Would it have been someone other than
    24   the DEA from time to time that you know of?        24   Ms. Harper?

   Golkow Litigation Services                                                      Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 84. PageID #: 253568
                                                                             Review
                                                Page 186                                                   Page 188
     1       A. It could have been.                          1       A. Roughly, yes.
     2       Q. Okay. And you don't remember -- you          2       Q. Okay. And do you continue -- is that
     3   weren't given a reason for that, I take it?         3   procedure still in place?
     4       A. I know that I was told not to include        4       A. Yes.
     5   them, but I can't remember by whom. It could        5       Q. Okay. So from the attachment to
     6   have been any number of people.                     6   Exhibit 16, after that report and prior to the
     7       Q. So in Exhibit 15, that was an e-mail         7   time when you in 2012 began the twice daily
     8   in 2008 in which you posed the question about       8   unusual order report to the DEA, was there any
     9   what kind of report will you be sending to the      9   other reporting to the DEA other than if a
    10   DEA going forward.                                 10   report was -- if an order was determined to be
    11          Do you see that?                            11   suspicious?
    12       A. Yes.                                        12       A. Not by me, but I don't know if DEA --
    13       Q. In 2010, judging from Exhibit 16, in        13   or if corporate was sending anything to DEA.
    14   2010 you were still providing some sort of         14       Q. Okay. But as far as reports that
    15   quarterly report to the DEA, correct?              15   you're aware of, you're not aware of any during
    16       A. Yes. Well, this was -- the last             16   that time period?
    17   report was 2008. My e-mail to Karen was 2010,      17       A. Correct. 2008 was the last of the
    18   but the last report was 2008.                      18   quarterly excessive order reports. In 2012
    19       Q. Okay. So your 2010 e-mail is                19   started the peculiar order reports.
    20   attaching a 2008 report?                           20       Q. Okay. You can set that aside.
    21       A. Yes.                                        21          (Whereupon, Mallinckrodt-Spaulding-17
    22       Q. Okay. So the attachment to Exhibit 16       22          was marked for identification.)
    23   is the final report that you sent to the DEA,      23   BY MR. GOTTO:
    24   the final quarterly report?                        24       Q. We've marked as Exhibit 17 a
                                                Page 187                                                     Page 189
     1       A. Yes.                                         1   multi-page e-mail thread, MNK-T1_0005663239 is
     2       Q. Okay. And so after the report that's         2   the beginning. Take a moment to look at those.
     3   attached to Exhibit 16, what, if any, report did    3         My questions are principally about
     4   you provide to the DEA with respect to orders       4   your March 5, 2012 e-mail that begins the
     5   that were identified as peculiar but were not       5   thread.
     6   identified as suspicious?                           6         (Witness reviewing document.)
     7       A. So what reports did we make to the DEA       7      A. Okay.
     8   that were peculiar but not suspicious?              8      Q. Do you recognize those e-mails?
     9       Q. Yes.                                         9      A. I'm sorry?
    10       A. In what time frame?                         10      Q. Do you recognize those e-mails?
    11       Q. Well, after the report that is              11      A. No.
    12   attached to Exhibit 16.                            12      Q. Okay. Turning to your March 5, 2012
    13       A. Right. We stopped this because this         13   e-mail, which is on the third page, any reason
    14   was basically the excessive order report, and      14   to doubt you sent that e-mail?
    15   the letter came out that said they didn't want     15      A. No.
    16   the excessive order report, so that's why we       16      Q. Okay. So this is an e-mail that you
    17   discontinued sending them to DEA. And then we      17   send to a number of persons regarding an order
    18   would have only reported suspicious orders.        18   from Quest Pharmaceuticals, correct?
    19       Q. Okay.                                       19      A. Yes.
    20       A. In 2012, one of the iterations in the       20      Q. And you indicate "I am unsure of the
    21   enhancements involved sending the peculiar order   21   Product Manager for Hydrocodone and the NAM for
    22   report, at this time we called it unusual order    22   Quest," correct?
    23   report, to DEA twice daily.                        23      A. Yes.
    24       Q. And that was in 2012?                       24      Q. And that's the reason you sent it to

   Golkow Litigation Services                                                      Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 84. PageID #: 253569
                                                                             Review
                                                Page 190                                                Page 192
     1   all those parties, right?                           1   information.
     2       A. Correct.                                     2       Q. Did you ever make inquiry of the
     3       Q. Okay. Was there a -- well, strike            3   customer service department to gain further
     4   that.                                               4   information with respect to orders that had been
     5           So the order from Quest had been            5   identified as peculiar?
     6   identified as a peculiar order, is that fair?       6       A. Yes.
     7       A. Unusual, yes.                                7       Q. And who did you make inquiry of in the
     8       Q. Peculiar or unusual?                         8   customer service department?
     9       A. Yeah.                                        9       A. It depends on the customer service rep
    10       Q. Meaning that it triggered the --            10   assigned to the account.
    11   whatever the algorithm was in place at the time,   11       Q. Okay. So in this example on March 5th
    12   this triggered it?                                 12   of 2012, are you making inquiry here of customer
    13       A. Yes.                                        13   service?
    14       Q. Okay. And you indicate that the             14       A. No.
    15   "items are double and in some cases triple the     15       Q. And why not?
    16   quantity previously ordered." Would your           16       A. Because customer service may not know
    17   procedure at this time in 2012 have been to        17   why their order is higher. The product manager
    18   inquire of the product manager or the NAM to get   18   or the account manager may. I would inquire to
    19   further information with respect to an order       19   customer service if I suspected that an order
    20   that triggered the algorithm?                      20   had been duplicated. There might have been an
    21       A. Yes.                                        21   order entry error. But in this case, because of
    22       Q. Okay. And here you weren't sure who         22   the order quantities, I went to the account
    23   those individuals were, correct?                   23   manager who would know what the customer was
    24       A. Correct.                                    24   ordering.
                                                Page 191                                                Page 193
     1      Q. Did you have any program in place to          1      Q. Okay. Do you know who Cathy Stewart
     2   be made aware of who the project manager --         2   was?
     3   product manager and NAMs were for particular        3      A. Yes.
     4   products or customers?                              4      Q. Who was she?
     5      A. No.                                           5      A. She was a customer service manager.
     6          MR. O'CONNOR: Objection to form.             6      Q. Did you interact with her from time to
     7      A. Because they could change. So NAM is          7   time?
     8   national account manager, and the product           8      A. Yes.
     9   manager.                                            9      Q. And she had customer service reps who
    10   BY MR. GOTTO:                                      10   reported to her, correct?
    11      Q. Okay. And so when you had a peculiar         11      A. Yes.
    12   or unusual order, was it your practice to          12      Q. And your March 5, 2012 e-mail, one of
    13   inquire of both the product manager and the        13   the persons that you address it to is Victor
    14   national account manager?                          14   Borelli, correct?
    15      A. Depends on the circumstances and the         15      A. Yes.
    16   product.                                           16      Q. And did you deal with Mr. Borelli from
    17      Q. Okay. Did you ever have any                  17   time to time?
    18   difficulty in receiving responses either from      18      A. Yes.
    19   product managers or national account managers      19      Q. Did Ms. Stewart ever express to you,
    20   with respect to inquiries that you made            20   that you can recall, that one or more of the
    21   regarding peculiar orders?                         21   customer service reps who reported to her had
    22      A. Sometimes we'd have to send them a           22   expressed the view that Mr. Borelli would tell
    23   reminder e-mail if they were travelling that the   23   them anything to get a sale?
    24   order was still on hold and we were awaiting       24         MR. O'CONNOR: Objection to form.

   Golkow Litigation Services                                                    Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 84. PageID #: 253570
                                                                             Review
                                                Page 194                                                Page 196
     1      A. Not that I remember.                          1       Q. Okay. And in Ms. Harper's October 31
     2   BY MR. GOTTO:                                       2   e-mail, she says "during the last two years, all
     3      Q. Okay. You can set that aside.                 3   Peculiar Orders...were deemed to be okay and
     4          (Whereupon, Mallinckrodt-Spaulding-18        4   none rose to the level of Peculiar."
     5          was marked for identification.)              5          Do you know if she meant there that
     6   BY MR. GOTTO:                                       6   none rose to the level of suspicious?
     7      Q. We've marked as Exhibit 18 a two-page         7          MR. O'CONNOR: Objection.
     8   e-mail thread beginning at Bates                    8       A. She did. In the earlier e-mail above
     9   MNK-T1_0000280632. Take a moment to look at         9   she clarifies that --
    10   those e-mails, if you would.                       10   BY MR. GOTTO:
    11          (Witness reviewing document.)               11       Q. Okay.
    12      A. Okay.                                        12       A. -- she meant none rose to the level of
    13      Q. And do you recall this e-mail                13   suspicious.
    14   exchange?                                          14       Q. Okay. And that's consistent with your
    15      A. Yes.                                         15   recollection you've already testified to in
    16      Q. Okay. What do you recall of that?            16   terms of orders being identified as suspicious,
    17      A. Karen was alerting me to some -- she         17   correct?
    18   had compiled a timeline and had sent me the        18       A. Yes.
    19   timeline, and then was letting me know that all    19       Q. She gross on to say "It is significant
    20   the orders had been reviewed by the customer       20   to note that neither Sunrise or Harvard
    21   service manager, and then later on in the e-mail   21   triggered the algorithms that were in place for
    22   she corrects terminology listed below.             22   direct customers because we were looking at
    23      Q. Okay. In Ms. Harper's e-mail, she --         23   overall purchase trends for each distributor,
    24   the first e-mail, October 31, "In an effort to     24   not reviewing where the distributors were
                                                Page 195                                                Page 197
     1   provide you with as much information as             1   sending our product (and our program met CFR
     2   possible, I have attached a (lengthy) chronology    2   requirements)."
     3   of events relating to Mallinckrodt Suspicious       3          And is that the phenomenon you
     4   Order Monitoring."                                  4   testified about earlier today, looking at ship
     5          Do you see that?                             5   to rather than bill to?
     6       A. Yes.                                         6          MR. O'CONNOR: Objection to form.
     7       Q. Let me hand you what we've marked as         7       A. No, that's different.
     8   Exhibit 19, and you can tell me if that's the       8   BY MR. GOTTO:
     9   attachment.                                         9       Q. Okay. In what way is this different?
    10          (Whereupon, Mallinckrodt-Spaulding-19       10       A. So Karen is referring to downstream
    11          was marked for identification.)             11   customers, so those wouldn't have triggered
    12   BY MR. GOTTO:                                      12   because we were only looking at our direct
    13       Q. Exhibit 19 is a multi-page document         13   shipments to Sunrise and to Harvard. We weren't
    14   beginning at page MNK-T1_0000477900. Can you       14   looking at where Harvard was shipping, or
    15   tell me if that's the chronology that Ms. Harper   15   Sunrise.
    16   is referring to?                                   16       Q. Okay. And she indicates in the last
    17       A. Yes.                                        17   sentence of that paragraph that the program has
    18       Q. Okay. And you're familiar with that         18   now been expanded in October of 2010 to look at
    19   chronology, right?                                 19   customers' customers, correct?
    20       A. At a high level, yes.                       20       A. Based on this e-mail, yes.
    21       Q. Okay. Did you have occasion ever to         21       Q. Okay. And was that your recollection
    22   provide this chronology to DEA?                    22   as well, that in late 2010 the SOM program was
    23       A. We met in -- we went and met with DEA.      23   expanded to include a review of Mallinckrodt's
    24   We didn't provide a document, I don't recall.      24   customers' customers?

   Golkow Litigation Services                                                    Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 84. PageID #: 253571
                                                                             Review
                                                     Page 198                                                     Page 200
     1          MR. O'CONNOR: Objection to form.                 1      Q. And what was the reason that you
     2      A. Only based on this e-mail.                        2   wanted to explain the SOM program to the DEA at
     3   BY MR. GOTTO:                                           3   this point?
     4      Q. You don't otherwise recall that?                  4      A. I don't remember specifically.
     5      A. No.                                               5      Q. Under "General Feedback from DEA
     6      Q. Can you recall at any time in                     6   Albany," it states "The direct and indirect
     7   connection with suspicious order monitoring you         7   customer data was presented to DEA. DEA was
     8   personally reviewing information regarding              8   alarmed by the data but not surprised."
     9   Mallinckrodt's customers' customers?                    9          Do you see that?
    10      A. I was involved in reviewing                      10      A. Yes.
    11   chargebacks, but I don't remember when that            11      Q. And were these your notes or
    12   started.                                               12   Mr. Nikolaus's notes?
    13      Q. And that would have given you                    13      A. They were my notes.
    14   information about Mallinckrodt's customers'            14      Q. Okay. So when you say they were
    15   customers, right?                                      15   alarmed by the data but not surprised, what do
    16      A. If they applied and participated in              16   you mean? How did they express that?
    17   chargebacks, yes.                                      17      A. I remember them looking at the data
    18      Q. Okay.                                            18   and going "wow." And then a comment by someone
    19          (Whereupon, Mallinckrodt-Spaulding-20           19   that was in attendance, I don't remember
    20          was marked for identification.)                 20   specifically who, saying they're not surprised
    21   BY MR. GOTTO:                                          21   by that.
    22      Q. We've marked as Exhibit 20 a two-page            22      Q. What was your reason for providing the
    23   document beginning at Bates MNK-T1_0002357150,         23   direct and indirect customer data to the DEA at
    24   appear to be notes from the 11/1/10 meeting at         24   this time?

                                                    Page 199                                                      Page 201
     1   the DEA Albany office.                                  1      A. Because we were incorporating
     2         Do you recognize those notes?                     2   chargebacks into our SOM program, so when
     3      A. Yes.                                              3   explaining the SOM program we showed them what
     4      Q. And it indicates that you and                     4   we were looking at direct data, and what we were
     5   Mr. Nikolaus attended the meeting, correct?             5   looking at indirect data.
     6      A. Yes.                                              6      Q. And was this the first time that you
     7      Q. And you recall the meeting, correct?              7   began to look at the direct and indirect
     8      A. Yes.                                              8   customer data?
     9      Q. Can you recall other similar meetings             9          MR. O'CONNOR: Objection to form.
    10   with the DEA Albany office?                            10   BY MR. GOTTO:
    11         MR. O'CONNOR: Objection to form.                 11      Q. In this time frame?
    12      A. Similar, meeting with them about this            12      A. I don't remember when I started. We
    13   topic or about any topic?                              13   were doing it at this time.
    14   BY MR. GOTTO:                                          14      Q. If you look at Exhibit 18, I believe
    15      Q. Well, back that up.                              15   Ms. Harper indicated in her e-mail dated
    16         Did you have regular meetings at the             16   October 31 that "the program was expanded within
    17   DEA's Albany office?                                   17   the last month to our customers' customers." So
    18      A. No.                                              18   would that indicate that this is -- that the
    19      Q. Okay. So was this meeting requested              19   meeting occurred on November 1st, right, so
    20   by the DEA?                                            20   would that indicate that at this time this was
    21      A. No, this meeting was requested by                21   when you first began looking at the indirect
    22   Mallinckrodt.                                          22   customer data?
    23      Q. And for what purpose?                            23          MR. O'CONNOR: Objection to form.
    24      A. To explain to them our SOM program.              24      A. Based on this e-mail. But I don't

   Golkow Litigation Services                                                          Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 84. PageID #: 253572
                                                                             Review
                                               Page 202                                               Page 204
     1   remember.                                          1       Q. Would that information have been
     2   BY MR. GOTTO:                                      2   pertinent to your audit at that time?
     3      Q. Okay. You can set that aside.                3       A. If Cedardale had been suspended
     4          (Whereupon, Mallinckrodt-Spaulding-21       4   shipping to pharmacies?
     5          was marked for identification.)             5       Q. If Cedardale itself had determined
     6   BY MR. GOTTO:                                      6   that it would suspend certain of its customers.
     7      Q. Exhibit 21 is a single-page e-mail           7       A. We would have documented that in our
     8   thread MNK-T1_0000270021. Take a look at that      8   audit notes.
     9   e-mail, appears to be an e-mail from you to        9       Q. That would have been of interest to
    10   Heather White, and tell me if you recognize it.   10   you?
    11          (Witness reviewing document.)              11       A. It would have been documented.
    12      A. Okay.                                       12       Q. But you don't recall being aware of
    13      Q. Do you recognize that e-mail?               13   that as you sit here today?
    14      A. Yes.                                        14       A. No.
    15      Q. And Heather White was at the DEA,           15       Q. Do you recall if you made an inquiry
    16   correct?                                          16   in that regard as part of the audit?
    17      A. Yes.                                        17       A. I'd have to look at my notes.
    18      Q. And what was your reason for providing      18       Q. Okay.
    19   the information in your November 30th e-mail to   19           (Whereupon, Mallinckrodt-Spaulding-22
    20   Ms. White?                                        20           was marked for identification.)
    21      A. Because when we spoke to her at the         21   BY MR. GOTTO:
    22   on-site meeting we advised that we were sending   22       Q. Exhibit 22 is a two-page e-mail thread
    23   out distributor letters based on the data that    23   beginning at Bates MNK-T1_0001519526. Take a
    24   we had reviewed.                                  24   moment and tell me if you recognize those
                                               Page 203                                               Page 205
     1       Q. And you talk about three distributors,      1   e-mails.
     2   Masters, KeySource, Cedardale. I think you         2           (Witness reviewing document.)
     3   indicated earlier in your testimony today that     3       A. Okay.
     4   those are three distributors that were audited     4       Q. Do you recognize those e-mails?
     5   in approximately this time frame, correct?         5       A. I don't remember them, no.
     6       A. Yes.                                        6       Q. Okay. The main e-mail, the August 6,
     7       Q. And ultimately all of those                 7   2012 e-mail from you to Heather White, "is a
     8   distributors had their DEA licenses terminated,    8   list of distributors that we have met with in
     9   didn't they?                                       9   person or by telephone to discuss SOM issues
    10           MR. O'CONNOR: Object to the form.         10   within the last twelve months."
    11       A. I don't know that they were                11           Do you recall having those personal or
    12   terminated.                                       12   telephonic meetings with the listed
    13   BY MR. GOTTO:                                     13   distributors?
    14       Q. At least suspended?                        14       A. I remember having telecons, yes.
    15       A. I know of Masters and KeySource. I         15       Q. And what would cause you to have a
    16   don't remember Cedardale.                         16   personal or telephonic meeting with a
    17       Q. Do you recall -- you testified a           17   distributor regarding SOM issues?
    18   little earlier today regarding the Cedardale      18       A. So the SOM team would decide whether
    19   audit. Do you recall if at the time of the        19   we needed to do an on-site audit or if we could
    20   Cedardale audit you had any information           20   do a telecon in which we'd review with them
    21   regarding whether Cedardale had suspended sales   21   their orders and the data, their chargeback
    22   to any of its existing customers?                 22   data.
    23       A. I don't remember having any of that        23       Q. And what is it that would cause the
    24   information at that time.                         24   team to decide that such an audit or

   Golkow Litigation Services                                                   Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 84. PageID #: 253573
                                                                             Review
                                                Page 206                                                     Page 208
     1   teleconference was required?                        1   centralized place between all three sites to
     2       A. I don't remember any specifics why we        2   document any correspondence that we had with
     3   would.                                              3   DEA, so I feel the need to clarify that even
     4       Q. Of the parties listed in this e-mail,        4   though we called them SOM contacts or inquiry,
     5   do you recall how any of these were personal        5   they were not always indicative of a suspicious
     6   meetings as compared to teleconferences?            6   order. It was part of the overall umbrella
     7       A. In 2012, no, because some of the             7   program of suspicious order monitoring.
     8   on-site audits were conducted by people in          8       Q. Okay. And so what would be an example
     9   corporate, so I don't remember specific. I          9   of something that's under that overall umbrella
    10   remember doing -- I was only involved in the       10   but was not indicative of the suspicious order?
    11   Cedardale audit on-site, and I remember being      11       A. So, for example, in this report 11-01,
    12   involved in telecons, but which ones               12   this was the ARCOS unit contacting me about two
    13   specifically, I'd have to look at notes.           13   NDC errors -- or I'm sorry, contacting Mary
    14          MR. GOTTO: Okay. Why don't we take a        14   Lewis and Webster Groves. One that was specific
    15   break.                                             15   to me was line 5, so report 11-03 was to contact
    16          THE VIDEOGRAPHER: The time is               16   DI Heather White because we had a complaint
    17   2:28 p.m., and we're off the record.               17   about Methadose 40-milligram bottle complaints.
    18          (Whereupon, a recess was taken.)            18       Q. Okay. And then one of the attachments
    19          THE VIDEOGRAPHER: The time is               19   is -- it's called a DEA Suspicious Order
    20   2:42 p.m., and we're on the record.                20   Monitoring Report?
    21          (Whereupon, Mallinckrodt-Spaulding-23       21       A. Yes.
    22          was marked for identification.)             22       Q. And what is that document?
    23   BY MR. GOTTO:                                      23       A. So this was a template that we were
    24       Q. Ms. Spaulding, we've marked as              24   using to how we would document a formal
                                                Page 207                                                       Page 209
     1   Exhibit 23 a multi-page document beginning at       1   suspicious order.
     2   Bates MNK-T1_0000289371. It's an e-mail along       2      Q. Okay. And so this is not a DEA form,
     3   with an attachment. Please take a look at that      3   right? This is something you -- or Mallinckrodt
     4   and tell me if you recognize it.                    4   created?
     5          I guess it actually has a series of          5      A. Correct. This one is -- it says up at
     6   attachments, I should say.                          6   the top is an example only.
     7          (Witness reviewing document.)                7      Q. Okay. You can set that aside.
     8       A. Okay.                                        8         (Whereupon, Mallinckrodt-Spaulding-24
     9       Q. Do you recognize those documents?            9         was marked for identification.)
    10       A. No, I don't remember them, only based       10   BY MR. GOTTO:
    11   on the e-mail.                                     11      Q. Exhibit 24 is a multi-page document
    12       Q. Okay. So your e-mail, your                  12   beginning at MNK-T1_0000282467, appears to be an
    13   October 18th e-mail to Ms. Harper, any reason to   13   e-mail you prepared attaching the notes of an
    14   doubt you sent that?                               14   HDMA conference that you attended.
    15       A. No.                                         15         Could you take a look at that and
    16       Q. And you make reference in your e-mail       16   confirm for me, if you can, that that's what the
    17   to "tried several different ways to make a         17   exhibit consists of?
    18   report that we could use across sites to be        18         (Witness reviewing document.)
    19   consistent in our practices."                      19      A. Yes.
    20          Do you see that?                            20      Q. Okay. Do you recall this conference?
    21       A. Yes.                                        21      A. Vaguely. Not in detail, but yes.
    22       Q. So can you describe for me what you         22      Q. Did you make a practice of keeping
    23   were trying to accomplish in this regard?          23   notes like these at each conference you went to
    24       A. So we were looking to make a                24   and then memorializing them?

   Golkow Litigation Services                                                      Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 84. PageID #: 253574
                                                                             Review
                                                Page 210                                                Page 212
     1       A. Not every conference, only if I was          1   or anyone else at Mallinckrodt?
     2   asked to produce a conference or a trip report.     2       A. Go over them? I sent them to her, but
     3       Q. Okay. And who would have asked you to        3   I didn't -- I don't know that I reviewed or
     4   do that?                                            4   discussed them with her.
     5       A. My manager at the time.                      5       Q. Okay. On the second page of your
     6       Q. If you turn to the next-to-last page         6   notes up at the top where it says "SOM System
     7   of the document, the one that ends in Bates         7   Recommendations - Total SOM Solution," do you
     8   473 -- I guess actually starting at the bottom      8   see that?
     9   of the third-to-last page that begins at Bates      9       A. Yes.
    10   472, there's a reference to a presentation by a    10       Q. The second item is "Determine
    11   David Durkin regarding controlled substance        11   legitimacy before shipping for each and every
    12   monitoring, 2011 update.                           12   order."
    13          Do you see that?                            13          Do you see that?
    14       A. Yes.                                        14       A. Yes.
    15       Q. And the main bullet items, the third        15       Q. Did you understand at this time that
    16   one on the following page is "Reviewed the         16   an SOM program -- that part of an effective SOM
    17   12/2007 DEA Letter to registrants."                17   program should be that before an order that was
    18          Do you see that?                            18   identified -- that was questioned in any way
    19       A. Give me one moment, please.                 19   shipped, a determination needed to be made as to
    20       Q. Sure.                                       20   whether or not it was suspicious?
    21          (Witness reviewing document.)               21          MR. O'CONNOR: Objection to form.
    22       A. I'm sorry, which bullet were you --         22       A. At this time back in 2011 did I know
    23       Q. There's -- the second main bullet on        23   that?
    24   the page that ends in 473 says "Reviewed the       24   BY MR. GOTTO:
                                                Page 211                                                Page 213
     1   12/2007 DEA Letter to registrants."                 1      Q. Yes.
     2          Do you see that?                             2      A. I don't know if I knew it at the time.
     3      A. Yes.                                          3   I mean, I understood what it says when they
     4      Q. And that's the letter from                    4   spoke of it.
     5   Mr. Rannazzisi that we looked at a little           5      Q. Okay. Do you have an understanding as
     6   earlier today, correct?                             6   to whether in this time frame in 2011
     7      A. I'm not looking at the date, but I            7   Mallinckrodt had procedures in place to assure
     8   believe so, yes.                                    8   that orders that had been identified as peculiar
     9      Q. Okay. You can set that aside.                 9   or unusual would not be shipped until it was
    10          (Whereupon, Mallinckrodt-Spaulding-25       10   determined whether or not there would be -- they
    11          was marked for identification.)             11   were suspicious?
    12   BY MR. GOTTO:                                      12          MR. O'CONNOR: Objection to form.
    13      Q. Exhibit 25 is a multi-page document          13      A. So based on our review of documents
    14   bearing Bates MNK-T1_0000283244, appears to be     14   prior in 2010, we discussed that we were
    15   an e-mail you prepared transmitting notes you      15   reviewing orders before shipping.
    16   took at a Buzzeo webinar in April of 2011. If      16   BY MR. GOTTO:
    17   you could take a look at that and confirm for me   17      Q. Do you know if there were ever
    18   that that's what those materials are.              18   occasions when an order that was identified as
    19      A. Yes.                                         19   peculiar or unusual was shipped before the
    20      Q. Okay. Do you recall this particular          20   determination was made as to whether it was
    21   webinar?                                           21   suspicious?
    22      A. Not this one, no.                            22      A. Not by me, but I wasn't doing -- I'm
    23      Q. The notes that you took here, did you        23   not aware. I wasn't doing the review.
    24   have occasion to go over these with Ms. Harper     24      Q. Do you recall in 2010 there being a

   Golkow Litigation Services                                                    Page 54 (210 - 213)
Case: 1:17-md-02804-DAP Doc #: 1984-19 Filed: 07/24/19 55 of 84. PageID #: 253575
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 84. PageID #: 253576
                                                                             Review
                                                Page 218                                                Page 220
     1   chargeback?                                         1   get Mallinckrodt product.
     2       A. Correct.                                     2      Q. And that's true, though, if you say
     3       Q. So the chargebacks, were they applied        3   we're not going to honor chargebacks, that
     4   for by the pharmacies or by the distributor?        4   pharmacy can continue to buy Mallinckrodt
     5       A. The chargeback is applied by the             5   products even through that distributor, just not
     6   distributor to Mallinckrodt on behalf of the        6   going to -- the chargeback won't be honored,
     7   pharmacy.                                           7   correct?
     8       Q. So it would have been possible for           8      A. Correct. It's a financial
     9   Mallinckrodt to inform the distributor that         9   disincentive not to sell Mallinckrodt product,
    10   sales should not be made to that pharmacy, as      10   but we can't say who they can or can't sell to.
    11   compared to stating that Mallinckrodt would not    11      Q. Was the result of any chargeback data
    12   pay chargebacks to that -- related to that         12   review ever provided to the DEA?
    13   pharmacy, correct?                                 13      A. Can you say at that again, please?
    14          MR. O'CONNOR: Objection to form.            14      Q. Yes.
    15       A. No, we can't dictate who a distributor      15          So you engaged in -- from November,
    16   sells to and who they don't sell to.               16   2010 forward you were reviewing chargeback data
    17   BY MR. GOTTO:                                      17   as part of an evaluation as to whether there
    18       Q. So if you knew that a distributor, for      18   were red flags with respect to some indirect --
    19   example, was selling to a non-registrant, you      19   with respect to indirect customers, correct?
    20   could tell the distributor, you need to stop       20      A. Yes. If we restricted a pharmacy from
    21   doing that or we can't sell to you anymore,        21   chargebacks, we notified DEA.
    22   correct?                                           22      Q. Okay. And was there any follow-up
    23       A. If we knew that they were selling to a      23   from DEA that you can recall when there was any
    24   non-DEA registrant, I believe we would alert DEA   24   such notification given?
                                                Page 219                                                Page 221
     1   to that.                                            1      A. Not that I can think of.
     2       Q. And so if you knew that a distributor        2      Q. What was the nature of the
     3   was selling to a pharmacy as to which there was     3   notification? What did you tell DEA?
     4   sufficient red flags to where Mallinckrodt          4      A. We have a letter that we would notify
     5   decided that it would no longer pay chargebacks     5   sent to DEA saying these pharmacies have been
     6   with respect to that pharmacy, Mallinckrodt         6   restricted from Mallinckrodt chargebacks because
     7   could have notified the distributor that if the     7   they exhibit indicators of diversion.
     8   distributor continued to sell to that pharmacy      8      Q. You can set that aside.
     9   Mallinckrodt wouldn't sell to the distributor       9          (Whereupon, Mallinckrodt-Spaulding-27
    10   anymore?                                           10          was marked for identification.)
    11          MR. O'CONNOR: Objection to form.            11   BY MR. GOTTO:
    12   BY MR. GOTTO:                                      12      Q. Exhibit 27 is a multi-page document
    13       Q. Right?                                      13   beginning at Bates MNK-T1_0000422189. It's an
    14       A. No, because then we could potentially       14   e-mail thread from late 2010 into January of
    15   jeopardize legitimate people from not getting      15   2011. Take a moment and tell me if you
    16   their medicines. We prohibited the chargebacks     16   recognize those e-mails.
    17   as a financial disincentive to not sell            17          (Witness reviewing document.)
    18   Mallinckrodt to a pharmacy that we considered a    18      A. Okay.
    19   risk. But we can't control the distributors and    19      Q. Do you recognize these e-mails?
    20   who they sell to. We have no influence             20      A. No.
    21   whatsoever on who the customer base of any one     21      Q. Okay. So the earliest e-mails in the
    22   distributor is. And if we had -- say you can't     22   thread are an exchange between Ms. Harper and
    23   sell to that pharmacy anymore, that pharmacy       23   Carol Svejkosky --
    24   could potentially go to another distributor and    24      A. Yeah, Svejkosky.

   Golkow Litigation Services                                                    Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 84. PageID #: 253577
                                                                             Review
                                                Page 222                                                Page 224
     1      Q. Thank you. S-V-E-J-K-O-S-K-Y, just            1       A. No, I couldn't guess what she was
     2   like it sounds.                                     2   referring to.
     3           -- in which Ms. Harper is requesting        3       Q. Okay. So if you look at the first
     4   certain state concentration and customer            4   e-mail in the thread from Thanh Churchin,
     5   sourcing data, correct?                             5   "Susan, can you check on this lot number for
     6      A. Yes.                                          6   me," giving a case number. "The lot number came
     7      Q. And is that data that ultimately you          7   from a trash pull that IRS did."
     8   came to be supplied with regularly?                 8          Do you know what "lot number" means in
     9      A. Yes.                                          9   this context?
    10      Q. Okay. And did that become part of the        10       A. Yes. It's the lot number that
    11   SOM program, reviewing that data on a monthly      11   Mallinckrodt produced for that particular batch.
    12   basis?                                             12       Q. Okay. And what would be the reason
    13      A. Yes.                                         13   for using that lot number?
    14      Q. What was the state concentration             14          MR. O'CONNOR: Objection to form.
    15   report that Ms. Harper requests?                   15   BY MR. GOTTO:
    16      A. It looks at oxycodone 50-milligram and       16       Q. What information would that give you?
    17   oxycodone 30-milligram by state instead of by      17       A. We could trace the lot number to see
    18   pharmacy.                                          18   who we sold it to, but then they would have to
    19      Q. And do you know what the reason was          19   go to who we sold it to to trace who they sold
    20   for conducting that review?                        20   it to.
    21      A. Based on at this time the enforcement        21       Q. Okay. And so turning back to
    22   action and the knowledge around Florida and        22   Ms. White's e-mail where she says "I know the
    23   other states being of concern.                     23   standard answer regarding lot numbers," was the
    24      Q. Okay. All right. You can set that            24   standard answer that you would give that
                                                Page 223                                                Page 225
     1   aside.                                              1   information if there was -- in response to a
     2          (Whereupon, Mallinckrodt-Spaulding-28        2   subpoena?
     3          was marked for identification.)              3       A. I don't know what she meant.
     4   BY MR. GOTTO:                                       4       Q. Do you recall ever informing Ms. White
     5       Q. Exhibit 28 is a two-page e-mail thread       5   or anyone else at the DEA that certain
     6   beginning at Bates MNK-T1_0000485790, e-mails       6   information they sought would be provided only
     7   from November of 2010. Take a moment and tell       7   in response to a subpoena?
     8   me if you recall these e-mails.                     8       A. We usually request a subpoena if they
     9          (Witness reviewing document.)                9   want anything in writing, so it's pretty
    10       A. Okay.                                       10   standard.
    11       Q. Do you recognize these e-mails?             11       Q. Okay. And so there would be times
    12       A. I don't remember them.                      12   when you would give them verbal information, but
    13       Q. Okay. If you look at Ms. White's            13   if they wanted that information in writing you'd
    14   e-mail at the bottom of the first page to you on   14   tell them they needed to issue a subpoena?
    15   November 18th, she says "I know the standard       15       A. Not during a -- not a shipping history
    16   answer regarding lot numbers. Can you please       16   report.
    17   tell me which distributors this was sent to and    17       Q. You would not require a subpoena for
    18   if you had any chargebacks for the product in      18   that?
    19   the Fort Lauderdale area? We can get an            19       A. No. I'm sorry. We would require -- I
    20   Administrative Subpoena if you need one."          20   would not give them that information verbally.
    21          Do you see that?                            21       Q. Okay. And what's the reason for that?
    22       A. Yes.                                        22       A. Just any information that's provided
    23       Q. So do you know what she meant by "the       23   to DEA always goes through our legal department.
    24   standard answer regarding lot numbers"?            24       Q. Well, there was certain information

   Golkow Litigation Services                                                    Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 84. PageID #: 253578
                                                                             Review
                                                     Page 226                                                 Page 228
     1   you would give DEA verbally, that if they asked           1       Q. Do you recall that e-mail?
     2   for it in writing you'd require a subpoena,               2       A. Vaguely, yes.
     3   correct?                                                  3       Q. Okay. And then you respond to him on
     4       A. The information that we would give to              4   July 6th "Would you like me to run a lot trace
     5   them verbally would be routine information that           5   report ASAP?"
     6   they would ask regarding a process or a high              6       A. Correct.
     7   level question. Anything that was documented or           7       Q. And he responds "Yes." You run the
     8   in detail like a shipping report would require a          8   report. Is the attachment to the e-mail the
     9   subpoena.                                                 9   report?
    10       Q. Okay. So your November 18th e-mail to             10       A. Yes.
    11   Karen Harper says "I can run a report on where           11       Q. And you say in your e-mail total
    12   we ship this lot number to. Does the chargeback          12   quantity of bottles. You say "Lot beam for
    13   system refer to lot numbers? If so" you can get          13   release."
    14   a report, please. I'm sorry, "If so, can you             14         What does that mean?
    15   get a report please."                                    15       A. It means when it is released from our
    16           So I take it at this time in November            16   quality control labs and able to be shipped to
    17   of 2010 you didn't know if the chargeback system         17   market.
    18   contained the lot numbers for orders, correct?           18       Q. Okay. And then "Shipped from DC."
    19       A. Correct. Because what we looked at                19         What is DC?
    20   were reports that were generated from the                20       A. Distribution center.
    21   chargeback system.                                       21       Q. Okay. On the dates, "and entire lot
    22       Q. Okay. And so the -- what information              22   is depleted. 8 customers in total, 1 in
    23   were you able to determine from reviewing a lot          23   Florida."
    24   number?                                                  24         And then the eight customers are
                                                       Page 227                                               Page 229
     1       A. Where we shipped it to.                            1   listed on the attachment, correct?
     2          (Whereupon, Mallinckrodt-Spaulding-29              2       A. Yes.
     3          was marked for identification.)                    3       Q. And so the attachment, is this typical
     4   BY MR. GOTTO:                                             4   of the information that a lot trace report would
     5       Q. Exhibit 29 is a multi-page document                5   give you?
     6   beginning at Bates MNK-T1_0000561060, appears to          6       A. It's the exact information.
     7   be an e-mail exchange between you and                     7       Q. Okay. You can set that aside.
     8   Mr. Ratliff concerning a lot trace report. Take           8          (Whereupon, Mallinckrodt-Spaulding-30
     9   a look at those e-mails, tell me if you                   9          was marked for identification.)
    10   recognize them.                                          10   BY MR. GOTTO:
    11          (Witness reviewing document.)                     11       Q. Exhibit 30 is a two-page document
    12       A. Okay.                                             12   beginning at Bates MNK-T1_0000371673, and
    13       Q. Okay. And so the first e-mail in the              13   appears to be an e-mail exchange between you and
    14   thread is from Mr. Ratliff, down at the bottom           14   Ms. Harper in June of 2010 concerning a DEA and
    15   of the first page onto the second page, from             15   local law enforcement inquiry. Tell me if you
    16   Mr. Ratliff to you and Mr. Nikolaus, where he            16   recognize those e-mails.
    17   says "Oxy, lot," and gives a number, "is being           17          (Witness reviewing document.)
    18   transported from Florida to Eastern Tennessee in         18       A. Okay.
    19   fairly significant quantities. They have                 19       Q. Do you recognize those e-mails?
    20   original bottles and are currently looking for           20       A. Yes.
    21   the source of loss in Florida. I will be                 21       Q. Okay. So in your June 17th e-mail to
    22   receiving additional information soon."                  22   Ms. Harper, in the first paragraph you say that
    23          Do you see that?                                  23   in recent months you "received several inquiries
    24       A. Yes.                                              24   from both local law enforcement and DEA...in the

   Golkow Litigation Services                                                          Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 84. PageID #: 253579
                                                                             Review
                                                Page 230                                                Page 232
     1   State of Florida and surrounding states             1      Q. You could have informed them of the
     2   regarding lot trace shipping histories."            2   information without the specific request,
     3          You go on a little later in the              3   though, right?
     4   paragraph to say "In many of these inquiries, I     4          MR. O'CONNOR: Objection to form.
     5   noticed that Sunrise Wholesalers was one of our     5      A. If they didn't request it, I didn't
     6   customers who had received the lot in question      6   know what they were looking for, and I didn't
     7   by the investigating officer. I did not always      7   assume or presume to know what they were looking
     8   divulge that information unless requested           8   for.
     9   specifically by the individual and never            9   BY MR. GOTTO:
    10   provided any information in writing as they were   10      Q. Did Ms. Harper -- we see her e-mail in
    11   advised that they would need to send a subpoena    11   response. Apart from her e-mail, did she ever
    12   to our legal department if they needed             12   communicate with you with respect to your
    13   documentation of any kind."                        13   practice of how to respond to law enforcement
    14          Do you see that?                            14   inquiries as you describe it in that first
    15       A. Yes.                                        15   paragraph?
    16       Q. So what was your reason for not             16      A. I don't understand the question.
    17   divulging that information to law enforcement      17      Q. Sure.
    18   unless specifically requested?                     18          You describe in your first paragraph
    19       A. I don't remember the specifics of this      19   of your June 17th e-mail how you handled
    20   situation back in 2010, but it's usually policy    20   inquiries from law enforcement, and this point
    21   we don't discuss that information over the         21   of not divulging information unless specifically
    22   phone.                                             22   requested. Did Ms. Harper ever respond to you
    23       Q. But if you had -- if the law                23   with respect to that practice to say either it
    24   enforcement agent had specifically requested it,   24   was the right way to handle the inquiries or to
                                                Page 231                                                Page 233
     1   you would have divulged it over the phone, is       1   suggest some other way to handle them?
     2   that right?                                         2          MR. O'CONNOR: Objection to form.
     3       A. I may have pointed them in the right         3       A. So those were conversations with our
     4   direction to help with their investigation.         4   legal department.
     5       Q. And is there any reason that you would       5          MR. O'CONNOR: And of course, I
     6   require them to specifically request the            6   instruct the witness not to answer to the extent
     7   information before you would help them with the     7   it gets into conversations with legal.
     8   investigation?                                      8   BY MR. GOTTO:
     9          MR. O'CONNOR: Object to form.                9       Q. Okay. So -- and you can just answer
    10       A. Because we didn't want to assume what       10   this yes or no. Apart from conversations with
    11   they were looking for, and they didn't always      11   legal counsel, did you ever have any
    12   give us details, so we didn't assume what they     12   conversations with Ms. Harper on this topic of
    13   were looking for. So unless they specifically      13   how you responded to inquiries from law
    14   asked me, I didn't provide the information.        14   enforcement of the type you describe in this
    15   BY MR. GOTTO:                                      15   paragraph?
    16       Q. Was it your intention to cooperate          16       A. Not that I remember.
    17   with law enforcement when you received inquiries   17       Q. And again, apart from conversations
    18   of this nature?                                    18   with counsel, did you have discussions with
    19       A. To the best of my ability, yes.             19   anyone else at Mallinckrodt with respect to how
    20       Q. And did you feel that requiring them        20   you responded to law enforcement inquiries as
    21   to specifically request the information before     21   you describe in this paragraph?
    22   you would divulge it was cooperating to the best   22       A. With the security director at this
    23   of your ability?                                   23   time.
    24       A. Yes.                                        24       Q. And who was that?

   Golkow Litigation Services                                                    Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 84. PageID #: 253580
                                                                             Review
                                                Page 234                                                Page 236
     1      A. Bill Ratliff.                                 1   uncovered, do you recall?
     2      Q. And what can you recall of that               2       A. The customer called us and said they
     3   conversation?                                       3   had received C2 product.
     4      A. Basically as I previously stated, we          4       Q. Okay. And who was Brenda Rehkop?
     5   don't assume what they're looking for, we don't     5   R-E-H-K-O-P.
     6   know the facts of their case, and we answer the     6       A. Customer service rep.
     7   questions to the best of our ability. But we        7       Q. Were you able to determine how it came
     8   don't always know who we're talking to over the     8   to be that the product was shipped to Masters
     9   phone, so if they are looking for detailed          9   after they had been put on hold?
    10   information or want documentation they have to     10       A. It was a timing thing. There was an
    11   send a subpoena so that it goes through the        11   order picked and packed in the warehouse already
    12   proper channels.                                   12   at the time that customer service was notified
    13      Q. Okay. And did Mr. Ratliff give you           13   to put the orders on hold.
    14   any feedback as far as that approach, either       14       Q. So on the first page of the exhibit,
    15   confirming it or suggesting a change?              15   your e-mail dated July 13, 2011, you say "I
    16      A. I was cautioned not to give out              16   completely understand and will not disclose.
    17   information over the phone because we don't know   17   It's impossible to manage so many accounts
    18   who we're talking to over the phone.               18   manually due to these circumstances that are
    19      Q. The practice that you described              19   beyond our control."
    20   regarding when you would give information, when    20          What were you referring to there in
    21   you would require a subpoena, was there a          21   terms of being impossible to manage so many
    22   written policy in place at Mallinckrodt to that    22   accounts manually?
    23   effect?                                            23       A. So it was an assumption on my part
    24      A. I don't believe there's a written            24   that they have multiple accounts in which
                                                Page 235                                                Page 237
     1   policy. I believe it was through verbal             1   they're releasing orders daily for clinics,
     2   training.                                           2   because at this time we shipped clinic orders
     3       Q. And who gave you that verbal training?       3   same day. They had orders that were coming in.
     4       A. Our legal department.                        4   This was at the time that there was action going
     5       Q. Okay. You can set that aside.                5   on, I believe, with KeySource and Masters at the
     6          (Whereupon, Mallinckrodt-Spaulding-31        6   same time, and we were trying to stop orders in
     7          was marked for identification.)              7   transit because the ISO had been issued. And
     8   BY MR. GOTTO:                                       8   there was just multiple balls in the air
     9       Q. Exhibit 31 is a multi-page e-mail            9   juggling all at one time, and this one order
    10   thread bearing Bates MNK-T1_0005424123. These      10   fell through the cracks.
    11   are e-mails from July of 2011. There were          11       Q. When you say that the order fell
    12   several e-mails here. I have a couple of           12   through the cracks, were you able to ascertain
    13   questions for you really on the first page.        13   who had authorized the shipment to be made?
    14          (Witness reviewing document.)               14       A. Yes.
    15       A. Okay.                                       15       Q. And who was that?
    16       Q. Do you recognize those e-mails?             16       A. It was a CSR who released the order.
    17       A. I vaguely recall them, yes.                 17       Q. And who was it?
    18       Q. Okay. What do you recall about them?        18       A. Cheryl Nelson.
    19       A. This was in the time that we were           19       Q. Were there any changes made to
    20   stopping shipments to Masters and putting their    20   practices or policies to assure that this sort
    21   account on hold, and there was a system error in   21   of mistake wouldn't happen in the future?
    22   which some material that was shipped was not       22       A. Yes.
    23   supposed to be.                                    23       Q. What were they?
    24       Q. Okay. And how was that error                24       A. So instead of the customer service rep

   Golkow Litigation Services                                                    Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 84. PageID #: 253581
                                                                             Review
                                                     Page 238                                                 Page 240
     1   changing -- being able to change the credit               1   correct?
     2   limit to prevent it from shipping, that now has           2       A. Yes, based on this e-mail.
     3   to be done by a separate department that manages          3       Q. So had Mallinckrodt requested of
     4   the customer accounts, taking that                        4   Cedardale that Cedardale refrain from selling to
     5   responsibility off from the CSRs.                         5   specific identified pharmacies?
     6      Q. Do you recall in any of the                         6       A. Based on this e-mail, yes.
     7   DEA-sponsored seminars or Buzzeo programs that            7       Q. Okay. You don't independently recall
     8   you attended discussions regarding the                    8   that?
     9   involvement of either customer service personnel          9       A. No.
    10   or sales personnel in the suspicious order               10       Q. Do you recall there being other
    11   monitoring program?                                      11   situations in which Mallinckrodt made requests
    12          MR. O'CONNOR: Objection to form.                  12   of its distributors not to sell to particular
    13      A. I recall at a Buzzeo conference them               13   indirect customers?
    14   saying that it's not in the best interest of a           14       A. No.
    15   company for finance people to be involved in SOM         15       Q. And then Mr. Picciano goes on to
    16   perspective to eliminate that optic of                   16   provide information regarding Cedardale's SOM
    17   impropriety.                                             17   program, correct?
    18   BY MR. GOTTO:                                            18       A. Yes.
    19      Q. Okay. And do you recall any similar                19       Q. And this appears to be before you
    20   observation you made with respect to involvement         20   conducted the on-site audit, correct?
    21   of sales personnel in SOM?                               21       A. Yes.
    22      A. No, because we have to rely on sales               22       Q. And in your March 23rd e-mail to
    23   personnel to provide us information sometimes.           23   Ms. Harper, you say you reviewed the attached
    24      Q. You can set that aside.                            24   documents, "continue to believe Cedardale needs
                                                       Page 239                                               Page 241
     1          (Whereupon, Mallinckrodt-Spaulding-32              1   more work around their SOM program."
     2          was marked for identification.)                    2          So was your e-mail prior to the
     3   BY MR. GOTTO:                                             3   on-site audit?
     4       Q. Exhibit 32 is a two-page e-mail thread             4      A. My e-mail, no. My e-mail was after
     5   with the numbers MNK-T1_0000282686, e-mails from          5   their audit in which he sent me those SOPs.
     6   March of 2011 concerning suspicious order                 6   Because when we were there for the audit we
     7   monitoring. Tell me if you recognize those                7   advised him that he might want to look at making
     8   e-mails.                                                  8   them more robust.
     9          (Witness reviewing document.)                      9      Q. Okay. So the SOPs are -- is that
    10       A. Yes.                                              10   what's referenced in -- are you making reference
    11       Q. So the earliest e-mail in the thread              11   to what's in the November 15th e-mail?
    12   is from a David Picciano to Karen Harper.                12      A. No. So if you look at the subject
    13          And do you know who Mr. Picciano know             13   line, you can tell it changes with the March,
    14   was?                                                     14   2011 e-mail from my e-mail to Karen with a CC to
    15       A. Yes.                                              15   Rich.
    16       Q. Who was he?                                       16      Q. Okay.
    17       A. He's the director of regulatory                   17      A. And that's where I'm sending her the
    18   compliance for Cedardale.                                18   SOPs that David Picciano has sent to me.
    19       Q. Okay. And he says this in his e-mail,             19      Q. I see. Okay.
    20   "Cedardale Distributors...is willing to comply           20          And at that point you concluded that
    21   with Covidien's request that we refrain from             21   their SOM program was still insufficient,
    22   selling Mallinckrodt's 15-milligram and                  22   correct?
    23   30-milligram oxycodone tablets to the Florida            23      A. Still weak, yes.
    24   based pharmacies listed on Attachment 1,"                24      Q. All right. You can set that aside.

   Golkow Litigation Services                                                          Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 84. PageID #: 253582
                                                                             Review
                                                Page 242                                                Page 244
     1          (Whereupon, Mallinckrodt-Spaulding-33        1   unfamiliar of the inner workings of quota, and
     2          was marked for identification.)              2   we explained how St. Louis plant receives
     3   BY MR. GOTTO:                                       3   manufacturing quota, we receive procurement
     4       Q. Exhibit 33 is a one-page document,           4   quota, and that our quota ultimately turns into
     5   MNK-T1_0000290887, additional e-mails relating      5   product that we send to the market.
     6   to the Cedardale audit, and these are in January    6   BY MR. GOTTO:
     7   of 2011.                                            7       Q. Okay. So how did the suspicious order
     8       A. Yes.                                         8   monitoring program relate to that?
     9          MR. O'CONNOR: Counsel, I apologize,          9       A. So I can't assume what DEA wanted to
    10   can we go off the record for a minute?             10   know or how it ties in. We could just explain
    11          MR. GOTTO: You bet.                         11   our program.
    12          THE VIDEOGRAPHER: The time is               12       Q. Okay. I'm just -- since this is your
    13   3:35 p.m., we're off the record.                   13   e-mail, I'm just wondering when you said
    14          (Off the record discussion.)                14   "provide information on the SOM and how it
    15          THE VIDEOGRAPHER: The time is               15   relates to quota," was there information that
    16   3:36 p.m., and we're on the record.                16   comes to your mind as being -- that you provided
    17          (Whereupon, Mallinckrodt-Spaulding-34       17   in response to that request?
    18          was marked for identification.)             18       A. I don't remember specific information
    19   BY MR. GOTTO:                                      19   that was provided or if there was a
    20       Q. Exhibit 34 is a one-page e-mail             20   presentation, only that we explained the quota
    21   thread, MNK-T1_0003044340. Take a moment to        21   process and we reviewed our suspicious order
    22   look at those e-mails, if you would, and tell me   22   monitoring program, and that we can't ship
    23   if you recognize them.                             23   anything to the market that we haven't been
    24          (Witness reviewing document.)               24   granted quota for.
                                                Page 243                                                Page 245
     1       A. Okay.                                        1       Q. Okay. So Mr. Yamashita then responds
     2       Q. Do you recognize those e-mails?              2   to you "Great. Thanks for the update. Did you
     3       A. I don't remember them, no.                   3   get the impression now that if our quota
     4       Q. Okay. Who is Kenneth Yamashita?              4   justification and suspicious order monitoring
     5       A. He was a site director at the time.          5   program is good, we will get the quota or at
     6       Q. Okay. In your June 20th e-mail you           6   least some portion?"
     7   say "I briefed Clay on the situation on your        7          Do you remember what your answer to
     8   absence."                                           8   that was?
     9          Who was Clay?                                9       A. No.
    10       A. Clay Wagner was the plant controller,       10       Q. So Mr. Yamashita seems to be at least
    11   so he was the designee when Ken Yamashita was      11   questioning whether -- or inquiring into whether
    12   out of the office.                                 12   the quality of the suspicious order monitoring
    13       Q. The last sentence of that paragraph         13   program could have an effect on the DEA's
    14   says "We have been asked to provide information    14   decision as to quota to grant, is that how you
    15   on our Suspicious Order Monitoring Program and     15   understand his e-mail?
    16   how it relates to quota and ties in with           16          MR. O'CONNOR: Objection to form.
    17   St. Louis plant manufacturing quota."              17       A. I don't know what his thoughts were at
    18          What was that information? How did          18   that time.
    19   the SOM program relate to quota and tie in with    19   BY MR. GOTTO:
    20   the St. Louis plant manufacturing quota?           20       Q. Okay. Was it your belief at this
    21          MR. O'CONNOR: Objection to form.            21   time, or has it been at any time, that the DEA
    22       A. So we explained to DEA, we hosted them      22   would be more likely to grant a quota request if
    23   on-site, and we explained to them the quota        23   it were persuaded that the suspicious order
    24   process at a high level, because DI White was      24   monitoring program was of high quality?

   Golkow Litigation Services                                                    Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 84. PageID #: 253583
                                                                             Review
                                                Page 246                                               Page 248
     1      A. No. Ken Yamashita was new to the              1       Q. Do you know if it's a group at the
     2   plant at that time, he was probably just            2   DEA?
     3   learning about how it works and what the            3       A. I don't.
     4   expectations are.                                   4           (Whereupon, Mallinckrodt-Spaulding-36
     5      Q. Okay.                                         5           was marked for identification.)
     6          (Whereupon, Mallinckrodt-Spaulding-35        6   BY MR. GOTTO:
     7          was marked for identification.)              7       Q. Exhibit 36 is a two-page document
     8   BY MR. GOTTO:                                       8   beginning at Bates MNK-T1_0006055924. It
     9      Q. Exhibit 35 is a multi-page e-mail             9   appears to be an e-mail exchange in August of
    10   thread, MNK-T1_0000283719. These are e-mails       10   2012 concerning safety stock. Tell me if you
    11   from 2011 regarding quota requests. If you'd       11   recognize those e-mails, please.
    12   take a look at them for just a moment, please.     12           (Witness reviewing document.)
    13   My particular question is on the e-mail that's     13       A. Okay.
    14   on the second page.                                14       Q. Do you recognize those e-mails?
    15          (Witness reviewing document.)               15       A. No.
    16      A. Okay.                                        16       Q. Okay. There is -- the e-mail in the
    17      Q. Do you recognize these e-mails?              17   middle of the first page from you to Kevin
    18      A. Vaguely.                                     18   Hewlett -- first of all, who is Kevin Hewlett?
    19      Q. Okay. So the e-mail at the bottom of         19       A. He was the corporate planning manager
    20   the first page onto the second page, is that       20   at the time.
    21   from Frank Sapienza?                               21       Q. Okay. You make reference to a formula
    22      A. No, so that's the bottom -- I'm sorry,       22   that was used in favor of the most recent
    23   bottom e-mail of the first page?                   23   several requests. Is the formula the formula
    24      Q. Yes, the one that starts "Hi Karen."         24   that's in the attachment?
                                                Page 247                                               Page 249
     1      A. Yes. What we referred to earlier in           1      A. Yes.
     2   which they have to go for additional signatures.    2      Q. And is this what you discussed -- you
     3      Q. Okay. And then on the second page,            3   testified to, I think this morning, regarding
     4   the material in the middle that starts with "One    4   quota formula?
     5   of our industry colleagues forwarded" --            5      A. Yes.
     6      A. Yes.                                          6      Q. So this was the formula that was used
     7      Q. -- who is it that was sending that            7   back in 2012?
     8   e-mail?                                             8      A. Yes.
     9      A. I have no idea. Oh, sending it,               9      Q. Has the formula changed since that
    10   that's Karen.                                      10   time?
    11      Q. Okay. And so this is information that        11      A. No.
    12   Ms. Harper received from someone else in the       12      Q. Okay. You can set that aside.
    13   industry in June of 2011, correct?                 13          (Whereupon, Mallinckrodt-Spaulding-37
    14      A. That's my understanding of this, yes.        14          was marked for identification.)
    15      Q. Okay. And so in this -- on these             15   BY MR. GOTTO:
    16   eight points, the fifth point is "External         16      Q. Exhibit 37 is a one-page e-mail,
    17   review 3: The suspicious order monitoring group    17   MNK-T1_0006056192. This appears to also be the
    18   reviews and makes sure our material is not being   18   quota formula. Could you take a look at that
    19   used to complete suspicious orders."               19   and confirm that for me?
    20          Do you have an understanding as to who      20      A. Yes. Correct.
    21   the suspicious order monitoring group is that's    21      Q. Okay. You can set that aside.
    22   referred to in that item?                          22          (Whereupon, Mallinckrodt-Spaulding-38
    23      A. No, because this is pulled from              23          was marked for identification.)
    24   somebody else in industry.                         24   BY MR. GOTTO:

   Golkow Litigation Services                                                    Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 84. PageID #: 253584
                                                                             Review
                                                    Page 250                                                   Page 252
     1       Q. Exhibit 38 is a multi-page e-mail                 1           And with respect to Exhibit 39, we are
     2   thread, MNK-T1_0005641401. Again, these are              2   now making a clawback request with respect to
     3   e-mails concerning quota. And my questions for           3   that because this document is protected by the
     4   you concern Ms. Johnson's e-mail at the bottom           4   attorney/client privilege as well as the work
     5   of the first page.                                       5   product protection, and we'll be following up
     6       A. Okay.                                             6   with a letter shortly.
     7       Q. She says "Yes, you have it straight.              7           MR. GOTTO: Okay. And as to 39,
     8   Part of the difference is the formulas are in AA         8   that's the entire document?
     9   and the quota analysis is in Salt."                      9           MR. O'CONNOR: That's correct.
    10          What does that mean, AA and salt in              10           MR. GOTTO: Okay. Fair enough.
    11   this context?                                           11   BY MR. GOTTO:
    12       A. So AA is anhydrous alkaloid, and                 12       Q. Ms. Spaulding, if you'd take the
    13   that's how quota is measured by, the base               13   redacted Exhibit 33 that you now have in front
    14   content. So our analysis, because we receive            14   of you, I do have a couple questions for you on
    15   API in its salt form isomer on the dock, our            15   that. And this is Bates MNK-T1_0000290887.
    16   analysis and what we track is all in salt form.         16   Take a look -- it's a one-page e-mail thread.
    17   But when we have to request quota from the DEA,         17   Take a look at that, if you would, and tell me
    18   we have to convert it back to AA, and every             18   if you recognize it.
    19   molecule has its own conversion factor to go            19       A. Yes.
    20   from salt to AA.                                        20       Q. And so your e-mail to Mr. Nikolaus on
    21       Q. Okay. You can set that aside.                    21   January 14 of 2011 indicates that you "just got
    22          (Whereupon, Mallinckrodt-Spaulding-39            22   off a Suspicious Order Monitoring Steering
    23          was marked for identification.)                  23   Committee conference call discussing the SOM
    24   BY MR. GOTTO:                                           24   audits. I sent Karen the preliminary report
                                                      Page 251                                                   Page 253
     1       Q. Exhibit 39 is a two-page e-mail                   1   awaiting any comments from you. Basically the
     2   beginning at Bates MNK-T1_0007729523, appears to         2   committee has decided to release Masters and
     3   be an e-mail that you sent to Donald Lohman,             3   KeySource to resume shipping Oxy 15-milligram
     4   L-O-H-M-A-N.                                             4   and 30-milligram when we come out of backorder,
     5           Who is Mr. Lohman?                               5   but has determined based on our audit that
     6       A. He's our legal counsel.                           6   Cedardale does not have a robust enough system
     7       Q. Okay.                                             7   in place to resume shipping C2s to them."
     8           MR. O'CONNOR: Counsel, maybe now is a            8   Correct?
     9   good time for a break.                                   9      A. Yes.
    10           MR. GOTTO: Sounds like it might be.             10      Q. Do you recall that decision by the
    11           THE VIDEOGRAPHER: The time is                   11   committee?
    12   3:49 p m., and we're off the record.                    12      A. Based on this e-mail, yes.
    13           (Whereupon, a recess was taken.)                13      Q. So you don't have an independent
    14           THE VIDEOGRAPHER: The time is                   14   recollection of what the basis was for the
    15   4:04 p m., and we're on the record.                     15   decision to release Masters and KeySource at
    16           MR. GOTTO: Counsel?                             16   this point?
    17           MR. O'CONNOR: All right. Counsel,               17      A. No.
    18   thank you for that break.                               18      Q. Okay. You can set that aside.
    19           Just to clarify what's transpired               19          (Whereupon, Mallinckrodt-Spaulding-40
    20   here, with respect to Exhibit 33, that document         20          was marked for identification.)
    21   was clawed back pursuant to a November 27, 2018         21   BY MR. GOTTO:
    22   letter, so we have just gone ahead during the           22      Q. Exhibit 40 is a two-page document,
    23   break and replaced the unredacted, clawed back          23   MNK-T1_0006442504, appears to be an e-mail from
    24   version with the redacted version.                      24   you to Richard Nikolaus dated July 17th of 2008

   Golkow Litigation Services                                                          Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 84. PageID #: 253585
                                                                             Review
                                                Page 254                                                     Page 256
     1   attaching a letter to Denise Jordan at DEA.         1          (Whereupon, Mallinckrodt-Spaulding-41
     2   Take a moment and tell me if you recognize that     2          was marked for identification.)
     3   e-mail and the attachment.                          3   BY MR. GOTTO:
     4       A. I don't recognize the e-mail, but it         4       Q. Exhibit 41 is a copy of the
     5   is one of my letters.                               5   Administrative Memorandum of Agreement between
     6       Q. Okay. So in your e-mail you say              6   Mallinckrodt and the DEA from 2017. Take a look
     7   "Rich, Take a look when you get a chance and let    7   at that document, if you would. First tell me
     8   me know what you think. I'm running out of BS       8   if you've seen it before.
     9   to put in these letters, especially this one."      9       A. Yes.
    10          And then the letter is to Denise            10       Q. Okay. Are you familiar with it?
    11   Jordan at the DEA.                                 11       A. Yes.
    12          Who was Denise Jordan?                      12       Q. When did you first become aware that
    13       A. She was the diversion investigator          13   the DEA was formally investigating Mallinckrodt?
    14   responsible for our site at that time.             14       A. During the 2013 inspection.
    15       Q. And so your letter is in response to        15       Q. Okay. Did you receive copies of
    16   an inquiry you received from her, is that right?   16   subpoenas that were issued by DEA in 2011 and
    17       A. No, this is attached filing a 106. So       17   2012?
    18   we had a loss in transit, and this is              18       A. I've received copies of subpoenas. I
    19   notification to DEA of the details regarding the   19   don't remember if they were 2011 or 2012.
    20   loss in transit.                                   20       Q. Okay. But you recall in 2013 becoming
    21       Q. Okay. So judging from your cover            21   aware of the investigation?
    22   e-mail where you say "I'm running out of BS to     22       A. Yes, because of the audit that was
    23   put in these letters," was there something in      23   conducted in March and April of 2013.
    24   the Denise Jordan letter that you were referring   24       Q. Okay. And what was it about that

                                                Page 255                                                   Page 257
     1   to in particular by that phrase?                    1   audit that made you become aware of the
     2       A. No, I was -- it was a poor choice of         2   investigation?
     3   words basically. I was running out of               3       A. They had 15 to 16 agents and were
     4   explanations to explain why FedEx had lost          4   there for 6 weeks, which was unprecedented to
     5   another package.                                    5   any other audit that had ever been done previous
     6       Q. And is that because there had been a         6   to that.
     7   large number of incidents like that?                7       Q. So in previous audits, approximately
     8       A. I don't know how many there had been         8   how many people would be there and for
     9   during this specific time frame.                    9   approximately how long?
    10       Q. So were there other communications --       10       A. Two to four days and less than a
    11   when you say "to put in these letters," by         11   week -- sorry. Two to four people, and there
    12   "these letters" you mean letters to the DEA        12   less than a week.
    13   dealing with a loss incident?                      13       Q. Okay. Did you provide any sworn
    14       A. Yes. Because FedEx would give us very       14   testimony to DEA as part of your investigation?
    15   little information, so we were, you know, trying   15       A. Sworn testimony, no, I don't believe
    16   to be factual in what we put to DEA, but DEA       16   so.
    17   would sometimes push back and say, well, what is   17       Q. Okay. No affidavits, anything like
    18   FedEx doing about it? And we'd go to FedEx and     18   that?
    19   say, what are you doing about it? And they'd       19       A. There was an inspection report that
    20   say, that's an internal investigation, we can't    20   was signed. There was legal documents provided.
    21   disclose an internal investigation, we can't       21   But I don't recall signing anything.
    22   disclose an internal investigation. So as -- we    22       Q. Okay. You do recall receiving a
    23   were caught between a rock and a hard place.       23   subpoena from the DEA at some point, correct?
    24       Q. Okay. You can put that aside.               24       A. Yes, I received them frequently for

   Golkow Litigation Services                                                      Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 84. PageID #: 253586
                                                                             Review
                                                       Page 258                                               Page 260
     1   shipping verifications.                                   1   Hobart site making sure that anything we agreed
     2       Q. Okay. And do you recall receiving a                2   to was feasible to manage and manageable.
     3   subpoena that you understood to be in connection          3       Q. Okay. On the first page of the
     4   with the DEA's investigation of Mallinckrodt?             4   administrative memorandum of agreement, there
     5       A. No.                                                5   are a number of numbered paragraphs under
     6       Q. Were you aware of anyone else at                   6   "Background."
     7   Mallinckrodt giving a deposition or sworn                 7          Do you see that?
     8   statement to the DEA in connection with its               8       A. Yes.
     9   investigation of Mallinckrodt?                            9       Q. And do you recall reviewing those
    10       A. Not that I was aware of, no.                      10   paragraphs when you reviewed a draft of this
    11       Q. Did you have any involvement in the               11   document?
    12   discussions between Mallinckrodt and DEA that            12       A. Yes.
    13   led up to the memorandum of agreement?                   13       Q. And was there any inaccuracy in any of
    14       A. Yes.                                              14   those paragraphs that you can recall from your
    15       Q. What discussions were you involved in?            15   review?
    16       A. So we were -- we went to Albany DEA               16       A. Not that I recall.
    17   and met with them to review the mass balance             17       Q. In Paragraph 2 it indicates that "From
    18   records after they had taken copies of all of            18   January 1, 2008, through September 30, 2011,
    19   the batch records that were part of the audit.           19   there was an epidemic increase in diversion of
    20   There was follow-up questions from DEA regarding         20   the controlled substance oxycodone, largely out
    21   the reports that we had provided, so those were          21   of the State of Florida."
    22   all answered. That was my direct involvement             22          Do you see that?
    23   with DEA.                                                23       A. Yes.
    24       Q. What are the mass balance records?                24       Q. Was that a circumstance you were aware
                                                     Page 259                                                 Page 261
     1       A. So that's how DEA does an audit of a               1   of during the time period January 1 of '08
     2   manufacturer. They basically take your                    2   through September 30th of 2011?
     3   year-ending inventory, add in all your                    3       A. I don't know if I was aware of it at
     4   acquisitions, and subtract out all your                   4   that time or not.
     5   dispositions.                                             5       Q. Paragraph 3 indicates that "The United
     6       Q. And the review that you participated               6   States alleges that Mallinckrodt, a manufacturer
     7   in with the Albany DEA, what was the focus of             7   and distributor of oxycodone, knew about the
     8   that review?                                              8   diversion and sold excessive amounts of the most
     9       A. They audit three major molecules and               9   highly abused forms of oxycodone, 30-milligram
    10   all products produced within 14 months of                10   and 15-milligram tablets, placing them into a
    11   oxycodone, hydrocodone, and Methadone.                   11   stream of commerce that would result in
    12       Q. Did that review disclose any                      12   diversion."
    13   discrepancies?                                           13          Did you believe that that allegation
    14          MR. O'CONNOR: Objection to form.                  14   was accurate when you reviewed a draft of this
    15       A. I don't know. DEA never provides us               15   document?
    16   reports, so I don't know what they came up with.         16       A. No.
    17   BY MR. GOTTO:                                            17       Q. What parts of it do you think were
    18       Q. Did you review a draft of the                     18   inaccurate?
    19   administrative memorandum of agreement before it         19       A. That we knowingly sold excessive
    20   was signed?                                              20   amounts.
    21       A. Yes.                                              21       Q. Okay. Paragraph 4 indicates that
    22       Q. And what was the purpose of your                  22   "Mallinckrodt had a responsibility to maintain
    23   review?                                                  23   effective controls against diversion, including
    24       A. Because I was the key person at the               24   a requirement that it review and monitor these

   Golkow Litigation Services                                                          Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 84. PageID #: 253587
                                                                             Review
                                                Page 262                                                Page 264
     1   sales and report suspicious orders to DEA."         1   conduct adequate due diligence of its customers?
     2          Did you believe that was accurate when       2       A. Yes.
     3   you reviewed it?                                    3       Q. And do you believe -- under Roman
     4       A. Yes.                                         4   Numeral ii, do you believe that Mallinckrodt
     5       Q. Paragraph 5, the last sentence states        5   detected and reported to the DEA orders of
     6   "Furthermore, the United States alleges that        6   unusual size and frequency?
     7   Mallinckrodt never notified the DEA of the          7       A. What is an order of unusual size and
     8   suspicious orders in violation of the CSA."         8   frequency? I mean, yes, we did the best with
     9          Did you believe that statement was --        9   the information we had.
    10   or that that allegation was accurate when you      10       Q. You understood that there was a
    11   reviewed a draft of this document?                 11   regulatory obligation to report orders of
    12       A. No.                                         12   unusual size and frequency, correct?
    13       Q. If you'd turn to Paragraph 3 on Page 2      13       A. Yes.
    14   of the document, Paragraph 3(a) states that        14       Q. The next paragraph, "detect and report
    15   "With respect to its distribution of oxycodone     15   to the DEA orders deviating substantially from
    16   and hydrocodone products, Mallinckrodt's alleged   16   normal patterns."
    17   failure to distribute these controlled             17          Again, you understood that there was a
    18   substances in a manner authorized by its           18   regulatory requirement to detect and report such
    19   registration and Mallinckrodt's alleged failure    19   orders, correct?
    20   to operate an effective suspicious order           20       A. Yes.
    21   monitoring system and to report suspicious         21       Q. And do you believe Mallinckrodt did
    22   orders to the DEA when discovered as required by   22   so?
    23   and in violation of 21 CFR Section 1301.74(b)."    23       A. Yes.
    24          Did you believe that the allegations        24       Q. Paragraph iv, "use 'chargeback'
                                                Page 263                                                Page 265
     1   described in that sentence were accurate when       1   information from its distributors to evaluate
     2   you reviewed a draft of this document?              2   suspicious orders."
     3       A. The alleged allegations, yes.                3         Prior to October of 2010, Mallinckrodt
     4       Q. You understand --                            4   did not use chargeback data as part of its SOM
     5       A. Wait a minute. I'm sorry, I don't            5   program, correct?
     6   understand.                                         6       A. No, it's not part of the regulations.
     7       Q. You understood it was accurate that          7       Q. And Roman Numeral v, "take sufficient
     8   those allegations were made. My question is,        8   action to prevent recurrence of diversion by
     9   did you believe that the underlying allegations     9   downstream customers after receiving concrete
    10   were accurate?                                     10   information of diversion of Mallinckrodt product
    11       A. No.                                         11   by those downstream customers."
    12       Q. And in what regard did you believe          12         Do you believe that Mallinckrodt was
    13   they were not accurate?                            13   under an obligation to take action to prevent
    14       A. We were reporting any orders that we        14   recurrence of diversion in these circumstances?
    15   deemed to be truly suspicious, and I don't         15         MR. O'CONNOR: Objection to form.
    16   believe that we failed to report any suspicious    16       A. Not under the regulations, but as part
    17   orders. And although there's allegations and we    17   of our MOA, yes.
    18   settled with the MOA, we didn't admit any          18   BY MR. GOTTO:
    19   wrongdoing.                                        19       Q. Paragraph B has a series of
    20       Q. And under paragraph A, there's              20   allegations regarding the Hobart facility,
    21   specific -- in the Roman Numeral numbered          21   correct?
    22   paragraphs, number "i. conduct adequate due        22       A. Yes.
    23   diligence of its customers."                       23       Q. And these are matters that you have
    24          Do you believe that Mallinckrodt did        24   some personal familiarity with, correct?

   Golkow Litigation Services                                                    Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 84. PageID #: 253588
                                                                             Review
                                                Page 266                                                Page 268
     1       A. Yes.                                         1      A. Because of the way that the dust
     2       Q. And so paragraph "i. failure to take         2   collectors operate and are designed, there is
     3   actual weights of controlled substances at all      3   challenges with being able to account for any
     4   stages of the manufacturing process."               4   specific batch, but it's not a result of not
     5          Did you feel that was an accurate            5   trying to determine how much went into each
     6   allegation?                                         6   batch.
     7       A. Yes.                                         7   BY MR. GOTTO:
     8       Q. And what was done to rectify that            8      Q. How about Roman Number iv, "failure to
     9   situation going forward?                            9   check-weigh controlled substances received into
    10       A. We immediately at the -- this was           10   the facility," was that an accurate allegation?
    11   discovered during the 2013 audit, and so we        11      A. Yes.
    12   immediately updated the records that didn't have   12      Q. What was done to rectify that?
    13   complete weights, complete physical inventory of   13      A. As mentioned before, the check-weigh
    14   the entire site was taken to make sure we had a    14   of all procedures -- of all controlled
    15   complete and accurate inventory, and we changed    15   substances coming into the facility.
    16   our receiving process to do a check-weigh on all   16      Q. And Roman Numeral v, "failure to
    17   API coming in, not just a seal verification and    17   maintain accurate records of substances
    18   label verification.                                18   transferred from the manufacturing process to
    19       Q. Okay. Paragraph ii, Roman ii, "use of       19   Mallinckrodt's analytical laboratories," did you
    20   a 'target' tablet weight for purposes of           20   think that was an accurate allegation?
    21   reconciling batch records and determining the      21      A. Yes.
    22   number of units of finished form manufactured      22      Q. And what was done to rectify that?
    23   even though the actual average weight of the       23      A. So there was a gap in our record
    24   tablets in any specific batch sometimes deviated   24   receiving documents within the laboratories, and
                                                Page 267                                                Page 269
     1   from the target weight."                            1   again during the 2013 audit, it was -- DEA had
     2          Did you believe the allegation               2   detected that, and we immediately updated our
     3   described in B(ii) was an accurate allegation?      3   documents to have traceability of all samples
     4       A. Yes.                                         4   coming into the lab regardless of their
     5       Q. And what was done to rectify that            5   controlled substance schedule.
     6   going forward?                                      6       Q. Okay. And Roman Numeral vi, "failure
     7       A. Again, immediately during the 2013           7   to include substances held in certain
     8   audit before this MOA, we changed our procedures    8   vaults/storage as part of the biannual
     9   to calculate an actual weight per lot for each      9   inventory, and records provided for vaults
    10   batch produced, and that actual weight per batch   10   containing discrepancies with respect to weight,
    11   is now what's used in reconciliation purposes.     11   missing substances, incorrect lots/batch
    12       Q. Okay. And B(iii) related to                 12   numbers, and incorrect or incomplete drug
    13   "commingling of dust collector waste and           13   names." Did you believe that was an accurate
    14   assignment of dust losses."                        14   allegation when it was made?
    15          Did you feel that was an accurate           15       A. Yes.
    16   allegation when it was made?                       16       Q. And what was done to rectify that?
    17       A. No.                                         17       A. That was part of the complete physical
    18       Q. What part of it did you think was not       18   inventory that was taken that same time period
    19   accurate?                                          19   of counting and documenting every single
    20       A. Without confirming how much dust was        20   controlled substance in the facility.
    21   actually attributable to any specific batch.       21       Q. So the various allegations under
    22       Q. Do you know why the DEA alleged that        22   paragraph B that you've indicated you believed
    23   lack of confirmation?                              23   were accurate allegations when they were made,
    24          MR. O'CONNOR: Objection to form.            24   were those circumstances that came into

   Golkow Litigation Services                                                    Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 84. PageID #: 253589
                                                                             Review
                                               Page 270                                                Page 272
     1   existence during 2013?                             1   given.
     2      A. Came, like had just started?                 2       Q. Did you ever receive any performance
     3      Q. Yes.                                         3   evaluation that -- well, strike that.
     4      A. No.                                          4          In any of your performance evaluations
     5      Q. Okay. Do you have any idea when they         5   that you received at Mallinckrodt, was the
     6   did start?                                         6   subject of the suspicious order monitoring
     7      A. No, that's just when they were               7   program one of the items on which you were
     8   detected.                                          8   evaluated?
     9      Q. And what caused them to be detected?         9       A. Yes.
    10      A. Part of the audit that the DEA              10       Q. And what evaluations did you receive
    11   conducted.                                        11   in that regard?
    12      Q. And do you know what was different in       12       A. I was always meeting expectations.
    13   the 2013 audit that gave rise to that detection   13       Q. And who was it who performed your
    14   that hadn't caused these circumstances to be      14   evaluations?
    15   detected previously?                              15       A. My manager.
    16      A. In the 2000 DEA -- 2013 DEA audit,          16       Q. Ms. Harper?
    17   there was more investigators there, and they      17       A. Yes.
    18   were going through the batch records in greater   18       Q. You were familiar with the DEA letters
    19   detail than they had in any previous audit.       19   from September of '06 and December of '07 that
    20      Q. Okay. Paragraph 4 states it is not an       20   are referred to in Paragraph 4, correct?
    21   admission of liability, however, Mallinckrodt     21       A. Yes.
    22   agrees that at certain times certain aspects of   22       Q. So if, in fact, aspects of
    23   Mallinckrodt's system to monitor and detect       23   Mallinckrodt's SOM program did not meet the
    24   suspicious orders did not meet the standards      24   standards outlined in those letters, that
                                               Page 271                                                Page 273
     1   outlined in letters from the DEA deputy            1   failure would have indicated, at least to some
     2   administrator from September and December of       2   extent, a personal failure on your regard -- on
     3   2006 and 2007 respectively.                        3   your part with respect to the SOM program,
     4          Do you see that?                            4   right?
     5      A. Yes.                                         5          MR. O'CONNOR: Objection to form.
     6      Q. And do you believe that's true, that         6       A. I don't think I understand. Are you
     7   certain aspects of the SOM program in place at     7   saying that because we admitted that our program
     8   Mallinckrodt prior to January 1, 2012 did not      8   wasn't robust I wasn't doing my job?
     9   meet standards outlined in those letters?          9   BY MR. GOTTO:
    10      A. Do I personally?                            10       Q. Well, let me put it a little
    11      Q. Yes.                                        11   differently.
    12      A. No, I believe they did.                     12          During the period prior to January 1
    13      Q. Do you know why Mallinckrodt agreed         13   of 2012, did you attempt to cause the SOM
    14   that the SOM did not meet certain of those        14   program at Mallinckrodt to be in compliance with
    15   standards?                                        15   the standards outlined in the DEA letters of
    16      A. I do not.                                   16   September of '06 and December of '07?
    17      Q. Did you have any discussions with           17       A. I believe I did, yes.
    18   anyone at Mallinckrodt prior to the time this     18       Q. Okay. And so if, in fact, the program
    19   memorandum of agreement was executed with         19   was not in compliance with those standards, then
    20   respect to that point?                            20   that would have meant that you failed to achieve
    21      A. I remember having discussions. I            21   your objective in that regard, correct?
    22   don't know if it was part of the memorandum of    22          MR. O'CONNOR: Object to form.
    23   agreement that we were doing the best we could    23       A. I disagree with that.
    24   with what we had and the direction we had been    24   BY MR. GOTTO:

   Golkow Litigation Services                                                   Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 84. PageID #: 253590
                                                                             Review
                                                Page 274                                                Page 276
     1       Q. You disagree with whether the program        1   any time soon?
     2   met the standards, right?                           2      A. Not that I foresee.
     3       A. No, I disagree with whether I was            3      Q. And then, if this was covered this
     4   doing what was expected of me and met the intent    4   morning I apologize, but can you do a -- provide
     5   of the letters based on the information and the     5   some -- a little bit of your educational
     6   direction that we have. DEA gives very little       6   background?
     7   guidance around what is an unusual order, what      7         Did you graduate from college?
     8   is a suspicious order, so we have to interpret      8      A. Again, I have an associate from BYU in
     9   that the best that we can, and I feel that I've     9   computer information systems.
    10   done that.                                         10      Q. When you say BYU, is that Brigham and
    11          MR. GOTTO: Okay. Why don't we go off        11   Young University?
    12   the record.                                        12      A. Yes, the Idaho campus.
    13          THE VIDEOGRAPHER: The time is               13      Q. And how long ago did you receive that
    14   4:34 p.m., and we're off the record.               14   degree?
    15          (Whereupon, a recess was taken.)            15      A. 1990.
    16          THE VIDEOGRAPHER: The time is               16      Q. And were you living in Idaho at the
    17   4:45 p.m., and we're on the record.                17   time?
    18              EXAMINATION                             18      A. While I attended college. No, I lived
    19   BY MR. GESTEL:                                     19   in New Jersey, went to college in Idaho, and
    20       Q. Good evening, Ms. Spaulding.                20   came back to New Jersey.
    21          MR. GESTEL: Before I begin, I'll just       21      Q. Got it. Thank you very much.
    22   launch what has become our standard objection      22         And what is your current title at
    23   without going into the whole basis for that, if    23   Mallinckrodt?
    24   you'll let me. I assume that you'll --             24      A. Controlled substances compliance
                                                Page 275                                                Page 277
     1          MR. O'CONNOR: I'll offer our standard        1   manager.
     2   objection to the objection.                         2      Q. And in that role do you have
     3          MR. GESTEL: All right. Thank you.            3   supervisory authority over any employees?
     4   BY MR. GESTEL:                                      4      A. Yes, I have two employees on my team.
     5       Q. Ms. Spaulding, my name is Ben Gestel.        5      Q. Who is directly reporting to you?
     6   I represent a group of plaintiffs in the State      6      A. Carrie Johnson and Rachelle Rogers.
     7   of Tennessee that are in a slightly different       7      Q. And if I'm understanding the testimony
     8   lawsuit than the lawsuit that Mr. Gotto was         8   earlier, are you continuing to directly report
     9   asking you questions about this morning.            9   to Karen Harper?
    10          I'll begin by asking you, have you          10      A. I am.
    11   reviewed the complaint in any of the Tennessee     11      Q. In your work with Mallinckrodt, did
    12   cases?                                             12   you have occasion to travel to the State of
    13       A. No.                                         13   Tennessee?
    14       Q. I'm going to also sort of back up and       14      A. I have attended a conference in
    15   do a couple of preliminary things.                 15   Tennessee.
    16          Where do you live? What is your             16      Q. Do you remember what conference that
    17   residential address?                               17   was?
    18       A.                                             18      A. NADDI conference in Nashville.
                                                            19      Q. Do you remember what year that was?
    20      Q.   And how long have you lived there?         20      A. Not the exact. It's within the past
    21      A.   12 years.                                  21   five years.
    22      Q.   And who lives there with you?              22      Q. Apart from attending that NADDI
    23      A.   Currently alone.                           23   conference in Nashville, do you recall ever
    24      Q.   And then do you have any plans to move     24   travelling to the State of Tennessee for your

   Golkow Litigation Services                                                    Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 84. PageID #: 253591
                                                                             Review
                                               Page 278                                                Page 280
     1   work for Mallinckrodt?                             1   BY MR. GESTEL:
     2      A. No.                                          2       Q. And are you aware that epidemic is
     3      Q. So you don't ever recall travelling to       3   particularly acute in some parts of the country
     4   a distributor's facility in Tennessee to do an     4   compared to other parts of the country?
     5   audit?                                             5          MR. O'CONNOR: Objection to form.
     6      A. I stand corrected. I have travelled          6       A. Yes.
     7   to Memphis in my role at Mallinckrodt to FedEx.    7   BY MR. GESTEL:
     8   And I've been to a distributor -- no, they're      8       Q. Do you believe that Tennessee has been
     9   not in Tennessee, sorry. Just FedEx in Memphis,    9   particularly hard-hit by the opioid crisis?
    10   Tennessee.                                        10          MR. O'CONNOR: Objection to form.
    11      Q. And do you recall when it was you went      11       A. I don't know how significant or hit
    12   to FedEx?                                         12   any one state is over another.
    13      A. Not exactly. I've been there three or       13   BY MR. GESTEL:
    14   four times.                                       14       Q. Sure.
    15      Q. When was the most recent trip that you      15          But do you understand or do you
    16   were there?                                       16   believe that Tennessee has -- is one part of
    17      A. It's been many years.                       17   those country -- one part of this country that
    18      Q. And can you just provide a general          18   has been particularly hit by the opioid
    19   overview of what you were doing at that FedEx     19   epidemic?
    20   facility?                                         20          MR. O'CONNOR: Objection.
    21      A. We were doing a collaboration visit.        21       A. I'm aware that Tennessee has concerns.
    22   They gave us a tour of the facility. We were      22   I don't know the specific facts to know whether
    23   conducting an audit because we had had some       23   it was one of the highest or not or more so than
    24   losses in transit with FedEx, and reviewing       24   any other state.
                                               Page 279                                                Page 281
     1   their security procedures and how they handle      1   BY MR. GESTEL:
     2   Mallinckrodt freight when it goes through the      2      Q. Do you recall during your time with
     3   hub.                                               3   Mallinckrodt ever discussing any specific pill
     4       Q. And was this before the transition          4   mill operations in the State of Tennessee?
     5   over to the FedEx Express service that you         5          MR. O'CONNOR: Objection to form.
     6   talked about this morning?                         6      A. Nothing specific, no.
     7       A. It was after.                               7   BY MR. GESTEL:
     8       Q. It was after that.                          8      Q. Have you ever reviewed IMS Health data
     9          And you said "we went." Do you recall       9   regarding the rates of prescribing of opioids
    10   who went with you?                                10   related to the State of Tennessee?
    11       A. Security managers, Rich Nikolaus.          11      A. No.
    12       Q. Anybody else attend on that trip?          12      Q. Have you ever heard of Interstate 75
    13       A. No, not that I can recall.                 13   being described as the "Oxy Express"?
    14       Q. As you sit there today, do you have        14      A. Yes.
    15   any understanding of opioid prescription rates    15      Q. About when did you first hear that
    16   in the State of Tennessee?                        16   term?
    17       A. No.                                        17      A. Several years ago. I don't remember
    18          MR. O'CONNOR: Objection to form.           18   exactly when.
    19   BY MR. GESTEL:                                    19      Q. And I don't mean to test your
    20       Q. I think you testified earlier that you     20   knowledge of American geography, but are you
    21   believe that there's a current opioid epidemic    21   aware that Interstate 75 runs through the State
    22   going on in this country, is that correct?        22   of Tennessee?
    23          MR. O'CONNOR: Objection.                   23      A. At a high level, yes.
    24       A. I'm aware of it.                           24      Q. In your role as manager of controlled

   Golkow Litigation Services                                                   Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 84. PageID #: 253592
                                                                             Review
                                                Page 282                                                Page 284
     1   substances, did you interact with law               1   distributors in certain states?
     2   enforcement officials in the State of Tennessee?    2      A. I have not, no.
     3       A. I interact with law enforcement              3      Q. I'm going to hand you a document that
     4   officials. I don't remember specifically if any     4   we'll mark as Exhibit 42.
     5   of them have been from Tennessee. They could        5          (Whereupon, Mallinckrodt-Spaulding-42
     6   have, but I don't know specifically.                6          was marked for identification.)
     7       Q. Did you have occasion to ever just           7          MR. GESTEL: (Handing). Sorry, that
     8   have a conversation with a police officer from      8   was a little -- like Tom Brady over here.
     9   Morristown, Tennessee? Does that ring a bell in     9   BY MR. GESTEL:
    10   your mind at all?                                  10      Q. I hand you a document that's been
    11       A. I believe the security director had a       11   marked as Exhibit 42. I'll represent to you
    12   conversation with someone from Morristown,         12   that the first page is a cover page carrying the
    13   Morrisville.                                       13   Bates label of this Excel spreadsheet that was
    14       Q. But you weren't involved in that            14   sent to us, and it has some what's called
    15   conversation, to the best of your recollection?    15   metadata showing that it was last modified on
    16       A. No, not directly.                           16   September 2, 2011. The reason why we do that,
    17       Q. How did you learn about it indirectly?      17   ma'am, is that the spreadsheet was produced to
    18       A. The security director asked me for          18   us in native format so the Bates numbers don't
    19   shipping information, that he had been contacted   19   appear, but that's the Bates number of this
    20   by somebody from Morrisville, Tennessee.           20   document.
    21       Q. And then why would he contact you           21          And if you flip to the first page, in
    22   about that information, if you know?               22   the upper left-hand corner there is in column
    23       A. Because I was at the distribution           23   A1, it says "Oxy's percent of sales by state per
    24   center and could run the reports to know what --   24   distributor versus sales in all US by district,"
                                                Page 283                                                Page 285
     1   where we shipped our orders to.                     1   I assume.
     2       Q. And then did you provide him the             2          Do you see that?
     3   report that he asked for?                           3       A. Yes.
     4       A. Yes.                                         4       Q. Have you ever seen this document
     5       Q. And then did you follow up with him at       5   before, ma'am?
     6   all after providing that report about the status    6       A. I don't remember if I have or have
     7   of that Morristown investigation?                   7   not.
     8       A. No.                                          8       Q. Do you ever recall doing any training
     9       Q. Have you ever asked any law                  9   on this document, where you might have trained
    10   enforcement official about prescription opioid     10   people to run these reports?
    11   division -- I'm sorry, strike that.                11       A. No.
    12          Have you ever asked any law                 12       Q. Do you see that the state listed here
    13   enforcement official where prescription opioid     13   is Florida?
    14   diversion was most prevalent?                      14       A. Yes.
    15       A. No, not that I can recall.                  15       Q. And then flip to the next page. Do
    16       Q. During your time with Mallinckrodt,         16   you see that the state listed there is Texas?
    17   have you ever had occasion to run reports          17       A. Yes.
    18   detailing the percentage of oxycodone sales for    18       Q. And flip to the next page. Do you see
    19   Mallinckrodt's distributors in certain states?     19   that the state listed there is Ohio?
    20       A. Can you say that again?                     20       A. Yes.
    21       Q. Sure.                                       21       Q. And flip to the next page. Do you see
    22          During your time with Mallinckrodt,         22   that the state listed there is Kentucky?
    23   have you had occasion to run reports detailing     23       A. Yes.
    24   the percentage of Oxy sales for Mallinckrodt's     24       Q. And then flip to the next page. And

   Golkow Litigation Services                                                    Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 84. PageID #: 253593
                                                                             Review
                                                Page 286                                                Page 288
     1   do you see there that the state listed there is     1           MS HOSMER: Do you have a Bates number
     2   Tennessee?                                          2   for us, please?
     3       A. Yes.                                         3           MR. GESTEL: Sure.
     4       Q. And none of this is -- you don't             4           MS HOSMER: Thank you.
     5   believe you've ever seen this document before?      5   BY MR. GESTEL:
     6       A. I don't remember it.                         6      Q. This is an e-mail carrying Bates label
     7       Q. And then flip to the next page. And          7   MNK-T1_0007898862. And then do you see that
     8   there's the State of Georgia. Do you see that?      8   this is an e-mail dated November 26, 2013 from
     9       A. Yes.                                         9   Jennifer Buist to you carrying a subject "KVK
    10       Q. And then if you flip to the next page,      10   Heat Maps"? Did I read that correctly?
    11   there's a graph titled "Percent of Oxycodone       11      A. Yes.
    12   Sales in Florida."                                 12      Q. Do you recall this e-mail?
    13          Do you see that?                            13      A. Vaguely.
    14       A. Mm-hmm.                                     14      Q. And then, let me put a clean copy up.
    15       Q. Do you recall ever seeing a graph like      15   And the first -- or the last e-mail in that
    16   this in your work with Mallinckrodt?               16   chain says "These may be discussed during our
    17       A. No, I don't remember.                       17   staff meeting."
    18       Q. And do you remember why, if at all, in      18           Do you see that?
    19   2011 Mallinckrodt might have become interested     19      A. Yes.
    20   in tracking oxycodone sales to the states listed   20      Q. And then a couple e-mails down is an
    21   in this spreadsheet?                               21   e-mail from Julie Milford to Jacob Longenecker
    22       A. Only due to DEA activities around that      22   with Jen Terp and Jennifer Buist copied.
    23   time period.                                       23           Do you see that?
    24       Q. And if you wanted to have a chart like      24      A. Yes.
                                                Page 287                                                Page 289
     1   this made for you, it sounds like you don't         1      Q. And the body of that e-mail says "Hi
     2   recall running these types of reports, who would    2   Jake, Attached are the heat maps with
     3   you go to within Mallinckrodt in 2011, if you       3   Mallinckrodt data. I also added a section on
     4   can recall, to run a report like this?              4   per capita usage to negate any effects or
     5       A. Oxy sales by state by distributor. It        5   questions around population sizes. Similar
     6   could have been in our finance department, or it    6   patterns still exist that suggest relatively
     7   would go to our marketing department.               7   high usage in the Pacific Northwest, especially
     8       Q. And who in those departments would you       8   for the 5-milligram tablet. In general, there
     9   direct an inquiry to?                               9   are still high rates in the KY, WV, and
    10       A. Whoever was the head of the department      10   Tennessee area and in Florida."
    11   at the time.                                       11          Did I read that correctly?
    12       Q. Would that have been Jen Buist?             12      A. Yes.
    13       A. No. Jen Buist would have gotten it          13       Q. And attached to this e-mail chain is
    14   from one of those departments.                     14   this referenced heat maps, and I think it's just
    15       Q. Would it have been Jen Terp?                15   a PowerPoint presentation carrying the title
    16       A. Could have been. I don't know for           16   "Volume Heat Maps."
    17   sure.                                              17          Do you see that?
    18       Q. You can set that aside. Thank you           18      A. Yes.
    19   very much.                                         19      Q. Do you recall ever running these heat
    20          (Whereupon, Mallinckrodt-Spaulding-43       20   maps while you were employed at Mallinckrodt?
    21          was marked for identification.)             21      A. No, I didn't run them.
    22   BY MR. GESTEL:                                     22      Q. Do you recall this spread -- or this
    23       Q. I'm going to hand you a document that       23   PowerPoint presentation as you sit here today?
    24   we'll mark as Exhibit 43.                          24      A. Now that I'm looking at it, I vaguely

   Golkow Litigation Services                                                    Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 84. PageID #: 253594
                                                                             Review
                                                Page 290                                                Page 292
     1   remember it, yes.                                   1   it says the source is IMS, LRx, Xponent.
     2       Q. And then if you flip to the first page       2          Do you see that?
     3   of the PowerPoint presentation, it says "MNK        3       A. Yes.
     4   geographical patterns are similar to the rest of    4       Q. And it's apparently from July, 2012 to
     5   the market."                                        5   June, 2013?
     6          Did I read that correctly?                   6       A. Yes.
     7       A. You said the first page?                     7       Q. Do you know what the IMS, LRx, Xponent
     8       Q. The first page of the PowerPoint.            8   references?
     9       A. Yes.                                         9       A. No, I do not.
    10       Q. And then there's two maps. There's a        10       Q. Do you believe that that could be a
    11   map carrying the title of "All Strengths -         11   reference to IMS Health data?
    12   Mallinckrodt."                                     12       A. Reasonably.
    13          Do you see that?                            13       Q. Are you familiar with IMS Health data?
    14       A. "All Strengths - Mallinckrodt," yes.        14       A. At a very, very high level.
    15       Q. And then the second map is "All             15       Q. Do you use that at all in suspicious
    16   Strengths - Other Manufacturers."                  16   order monitoring program at Mallinckrodt?
    17          Do you see that?                            17       A. I do not, no.
    18       A. Yes.                                        18       Q. Do you know of anybody within the
    19       Q. And then it appears that based on the       19   suspicious order monitoring program at
    20   legend here at the bottom that the deeper purple   20   Mallinckrodt who uses IMS Health data?
    21   you get in an area, the more Oxy prescriptions     21       A. Not currently, no.
    22   in that area. Is that your understanding of        22       Q. Well, was it ever used, to the best of
    23   this heat map?                                     23   your knowledge?
    24       A. Well, it's saying "All Strengths," so       24       A. So I know at one point in time this
                                                Page 291                                                Page 293
     1   not just oxycodone.                                 1   group may have had access to IMS data in which
     2       Q. Okay. But regardless, as you get more        2   Jen Buist, who was the SOM auditor analyst at
     3   purple, you see more -- that's more units going     3   the time, may have reached out to her for
     4   into that geographic territory, right?              4   information, but I don't know that and I can't
     5       A. Based on the legend.                         5   speak on her behalf.
     6       Q. And then if you look here in the area        6       Q. And when you say "this group," what do
     7   of the country that is Tennessee, you'll see        7   you mean?
     8   that it's -- do you see that it's purple in the     8       A. The commercial marketing. I don't
     9   areas around the State of Tennessee?                9   even know who Ms. Julie Milford is, but her
    10       A. Yes, roughly.                               10   title says she's global business insights and
    11       Q. And then also on the Other                  11   forecasting, commercial analytics.
    12   Manufacturers map, the State of Tennessee is       12       Q. And you're getting that from the cover
    13   kind of more purple than other areas around it.    13   of this -- the cover e-mails?
    14           Do you see that?                           14       A. Yes. I don't know who she is.
    15       A. I wouldn't say it's more purple than        15       Q. If you'll flip back, there's a very
    16   other areas around it, but I see it.               16   similar map to the one we just went through
    17       Q. But you would agree with me that            17   carrying the labels of "30-milligram." It's
    18   that's a -- the State of Tennessee is purple in    18   about halfway back, I apologize. These
    19   this graph, correct?                               19   PowerPoint presentations aren't numbered.
    20       A. In which one, the Other Manufacturers       20   There's a 30-milligram chart.
    21   or the Mallinckrodt one?                           21       A. Yes.
    22       Q. The Other Manufacturers.                    22       Q. And then do you see that this
    23       A. Yes.                                        23   particular chart carries the title "Mallinckrodt
    24       Q. And then do you see here at the bottom      24   and other manufacturers have very similar

   Golkow Litigation Services                                                    Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 84. PageID #: 253595
                                                                             Review
                                                Page 294                                                Page 296
     1   geographical dispensing patterns"? Did I read       1       A. The All Strengths - Other
     2   that correctly?                                     2   Manufacturers, yes.
     3       A. "Have very similar geographical              3       Q. And then also on the All Strengths -
     4   dispensing patterns," yes.                          4   Mallinckrodt map, the eastern portion of that
     5       Q. And then once again we see a map with        5   region is also green.
     6   the legend that the more purple an area is, the     6          Do you see that?
     7   more 30-milligram Mallinckrodt extended units       7       A. No, because I see darker green spots
     8   have been sent into that area.                      8   all throughout Tennessee.
     9           Do you see that?                            9       Q. I see.
    10       A. Based on the map, yes.                      10          So you would agree with me that the
    11       Q. And then do you see the State of            11   State of Tennessee is green in the All Strengths
    12   Tennessee is purple once again?                    12   - Mallinckrodt map?
    13       A. Yes.                                        13       A. It's a light shade of green, yes.
    14       Q. If you flip to the next page, there's       14       Q. And then once again if you'll flip
    15   a -- it carries the title of "Per Capita Heat      15   back to the 30-milligram page, a very similar
    16   Maps."                                             16   heat map showing the -- carrying the title "Per
    17           Do you see that?                           17   capita usage of the Oxy 30 tablet is lowest in
    18       A. Yes.                                        18   the midwest." Did I read that correctly?
    19       Q. And then there are similar maps to the      19       A. Can you say that again, please?
    20   one that we just went through. The first one       20       Q. Sure.
    21   listed after that cover page is the one carrying   21          The title of the 30-milligram slide is
    22   the title "The coasts have more per capita usage   22   that "Per capita usage of the Oxy 30 tablet is
    23   than the midwest."                                 23   lowest in the midwest."
    24           Do you see that?                           24          Did I read that correctly?
                                                Page 295                                                Page 297
     1      A. Yes.                                          1       A. I went the wrong way.
     2      Q. And then again there's another map            2       Q. I think it's the second-to-last, or
     3   showing per capita Oxy usage, and it appears        3   might be the very last page.
     4   that the greener that you get in this map the       4       A. Last page. Got it, yes.
     5   more per capita usage you see.                      5       Q. And then once again on the
     6          Do you see that?                             6   Mallinckrodt 30-milligram page, we see that
     7      A. Based on the map, yes.                        7   Tennessee is green, suggesting once again larger
     8      Q. And then on the "All Strengths -              8   per capita usage.
     9   Mallinckrodt," you'll see that Tennessee, and       9          Do you see that?
    10   particularly East Tennessee, is green.             10       A. I can't tell where Tennessee starts
    11          Do you see that?                            11   and ends, but I see that there's green on the
    12      A. I don't know exactly where Tennessee         12   map.
    13   starts and ends, but --                            13       Q. Sure.
    14      Q. Well, if you go over to the "All             14          And then also over here on the
    15   Strengths - Other Manufacturers," the outline of   15   30-Milligram - Other Manufacturers, you also see
    16   the State of Tennessee is a little bit more        16   in the area of the State of Tennessee green,
    17   prevalent there in the southeast portion of the    17   suggesting greater per capita Oxy 30 usage in
    18   country.                                           18   the State of Tennessee, right?
    19          Do you see that?                            19       A. Based on these maps, yes.
    20      A. Yes.                                         20       Q. And once again, not to belabor the
    21      Q. And then if you -- the area,                 21   point, but apparently the source of the per
    22   especially the eastern portion of that area is     22   capita map is also this IMS, LRx, Xponent from
    23   also lit up on the Mallinckrodt All Strengths      23   July 2012 to June 2013.
    24   map, correct?                                      24          Do you see that?

   Golkow Litigation Services                                                    Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 84. PageID #: 253596
                                                                             Review
                                                Page 298                                                       Page 300
     1       A. I see it. I don't know what it is.           1       A. Sent to Ken Yamashita, the site
     2       Q. Sure.                                        2   director.
     3           Do you recall using these heat maps at      3       Q. And he was the site director for what
     4   all in the suspicious order monitoring program?     4   site?
     5       A. I do not, no.                                5       A. Hobart.
     6       Q. But you don't have a specific                6       Q. For Hobart?
     7   recollection as to whether or not the suspicious    7       A. Yes.
     8   order monitoring program was generating these       8       Q. And then if you flip over, this e-mail
     9   heat maps as part of its suspicious order           9   attaches this Word document carrying the title
    10   monitoring program?                                10   "Notes from Hobart Meeting with DEA Albany/NYC
    11       A. Correct. Jen Buist was the analyst at       11   on SOM and Quota, 6/26/12."
    12   the time responsible.                              12          Do you see that?
    13       Q. And do you know who Jen reported to?        13       A. Yes.
    14       A. She started out reporting to Gail           14       Q. Do you recall this meeting with the
    15   Tetzlaff, director of government reporting.        15   DEA in June of 2012?
    16       Q. Okay. And then at some point did that       16       A. To be honest, no, I don't.
    17   change?                                            17       Q. And that's all right. But you see
    18       A. Yes. Then she reported to Don Lohman        18   that you -- in the Mallinckrodt attendees you're
    19   in legal.                                          19   listed there at the bottom, Eileen Spaulding?
    20           (Whereupon, Mallinckrodt-Spaulding-44      20       A. Yes.
    21           was marked for identification.)            21       Q. Any reason to doubt that you were
    22   BY MR. GESTEL:                                     22   there?
    23       Q. Same rules apply, by the way, if you        23       A. No, no. I'm sure I was there. I just
    24   need a break by all means, just say so and we      24   don't remember it.

                                                Page 299                                                     Page 301
     1   can take a break.                                   1       Q. And then apparently there was some
     2      A. Thank you.                                    2   question/answer between Mallinckrodt
     3      Q. I can assure you I will be much               3   representatives and the DEA, and I want to
     4   shorter in my examination than Mr. Gotto was        4   direct your attention to the bottom of that
     5   this morning, but...                                5   first page of the Word document. There's a
     6          I'll hand you a document that we'll          6   question there about "How long does it take to
     7   mark as Exhibit 44. I do this once a deposition     7   process lines?" Do you see that question?
     8   where I accidentally mark my copy, so just give     8       A. Yes.
     9   me one second and let me flip this over. I          9       Q. And then the answer apparently given
    10   should learn my lesson and that should be the      10   was "Reports are run daily at 9:00 a.m. and 3:00
    11   last one that I mismark.                           11   Central. The average time is 10 to 15 minutes
    12          This is an e-mail sent on June 29,          12   to review and process each line that has gone on
    13   2012 from you to Karen Harper carrying the         13   hold."
    14   subject line "DEA Albany/New York City Meeting     14          Did I read that correctly?
    15   notes on SOM/Quota."                               15       A. Yes.
    16          Did I read that correctly?                  16       Q. Is that suggesting that processing
    17      A. Yes.                                         17   lines, these are the orders that have been
    18      Q. And you ask Karen Harper to "review          18   flagged by the suspicious order monitoring
    19   and make edits/comments as you feel appropriate.   19   algorithm as needing further investigation?
    20   Please advise when I may publish to Ken."          20       A. Yes.
    21          Did I read that correctly?                  21       Q. And then the average time to process
    22      A. Yes.                                         22   those were 10 to 15 minutes to review?
    23      Q. Do you recall what you mean by this          23       A. Each line.
    24   "publish to Ken" comment?                          24       Q. For each line?

   Golkow Litigation Services                                                      Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 84. PageID #: 253597
                                                                             Review
                                                Page 302                                                Page 304
     1       A. For each order, yes.                         1       Q. You can set that aside.
     2       Q. Okay. Flip to the next page. Top of          2          (Whereupon, Mallinckrodt-Spaulding-45
     3   the page, the question "When you say 195 lines      3          was marked for identification.)
     4   filed, what does it mean?" And then the answer      4   BY MR. GESTEL:
     5   is "It means that the line has hit the algorithm    5       Q. I'm going to hand you what's been
     6   and requires review and/or investigation."          6   marked as Exhibit 45. Sorry, I'm somehow down a
     7          Did I read that correctly?                   7   copy.
     8       A. Yes.                                         8          Do you see that this is a document
     9       Q. Does that suggest that there's 195           9   Bates stamped MNK-T1_0006967775, and it's
    10   lines that are hitting the algorithm?              10   carrying the title "CSC Steering Committee
    11       A. It could.                                   11   Meeting Notes," December 12, 2012.
    12       Q. And is that, do you know, or do you         12          Do you see that?
    13   recall, is that 195 lines a month, a week, a       13       A. Yes.
    14   day?                                               14       Q. And you are on the suspicious order
    15       A. I don't know the time period that Don       15   monitoring steering committee at that time,
    16   was speaking to.                                   16   correct?
    17       Q. And you don't recall any specifically       17       A. Yes.
    18   from this meeting?                                 18       Q. And you see that there's a reference
    19       A. No. I mean, as I testified earlier, I       19   to introducing John?
    20   remember reviewing our SOM program, but I don't    20       A. Yes.
    21   remember specifics of the meeting.                 21       Q. Do you recall who that was?
    22       Q. Sure.                                       22       A. John Gillies.
    23          And then the next question there is         23       Q. And was he just coming on board at
    24   "How many orders have been deemed suspicious?"     24   this time?
                                                Page 303                                                Page 305
     1          Do you see that?                             1       A. Yes.
     2       A. Yes.                                         2       Q. Flip to the second page. There's some
     3       Q. And then the answer is "None, it was         3   bullet items there, and it says, third one down,
     4   explained that this updated SOM program went        4   it says "We also dropped out," and I think
     5   into place on 3/1/2012 and no orders have been      5   that's a typo, it should be "our multiplier from
     6   determined to be suspicious since that date."       6              ."
     7          Did I read that correctly?                   7          Do you see that?
     8       A. Correct.                                     8       A. Yes.
     9       Q. Is that consistent with your                 9       Q. So does that suggest to you that in
    10   recollection that there was no suspicious order    10   December of 2012 that the suspicious order
    11   reported on the updated SOM program since it       11   monitoring algorithm threshold was lowered from
    12   went into place on March 1st of 2012?              12              ?
    13       A. Between March 1st of 2012 and the date      13       A. Yes.
    14   of this meeting on June 26th of 2012, correct.     14       Q. And then I believe that you testified
    15       Q. And then does that -- taking that with      15   earlier that eventually that was also further
    16   the previous question, does that suggest to you    16   reduced down to ?
    17   that the 195 lines that were flagged were in       17          MR. O'CONNOR: Objection to form.
    18   that period between June 1st -- I'm sorry,         18       A. I don't remember stating that. I
    19   March 1st, 2012 and the date of this meeting of    19   don't know that it's . I know it went from
    20   June 26, 2012?                                     20   to we spoke about that earlier, but I don't
    21          MR. O'CONNOR: Object to form.               21   remember that it went from         down to .
    22       A. I don't know. I wouldn't want to            22   BY MR. GESTEL:
    23   guess that that is.                                23       Q. So is the multiplier currently      ?
    24   BY MR. GESTEL:                                     24       A. Yes.

   Golkow Litigation Services                                                    Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 84. PageID #: 253598
                                                                             Review
                                                  Page 306                                                Page 308
     1      Q. And do you believe that that's been             1       A. Yes.
     2   the case from December of 2012 to the present?        2       Q. What is tier 1 and tier 2?
     3      A. Based on my knowledge, yes.                     3       A. Tier 1 is the top three major
     4      Q. And then it has a description there,            4   distributors for Oxy 15-milligram and Oxy
     5   "we multiply the 18 month average of orders on a      5   30-milligram. So if there -- it's a
     6   per customer, per SKU basis and multiply that         6   multi-layered system. So tier 1 looks at Oxy 15
     7   amount by        to get the level at which orders     7   and Oxy 30s for the big three, and if the order
     8   will trip the volume flag that month. We do the       8   hits the threshold amount, then it will go on a
     9   same for number of orders."                           9   tier 1 hold. Tier 2 is based on all orders
    10          Did I read that correctly?                    10   being reviewed by an 18-month history.
    11      A. Yes.                                           11       Q. Okay. And am I understanding your
    12      Q. And is that a description of how the           12   testimony correctly that only the big three
    13   algorithm functionally works?                        13   distributors would be in the tier 1?
    14      A. One component of it.                           14       A. Yes.
    15      Q. And so is it safe to say that once you         15       Q. And just for the record, who are the
    16   move the        multiplier, if an order was within   16   big three?
    17       times the 18-month moving average that that      17       A. McKesson, AmerisourceBergen, and
    18   order would not be flagged and would be              18   Cardinal.
    19   processed and shipped?                               19       Q. And then tier 2, am I understanding
    20          MR. O'CONNOR: Objection to form.              20   your testimony correctly that that's essentially
    21      A. If it did not? Can you repeat that?            21   everybody else?
    22   BY MR. GESTEL:                                       22       A. That's everybody including the
    23      Q. Sure.                                          23   distributors, but it's based on an 18-month --
    24          Is it safe to say that once you move          24   including the big three distributors for all
                                                  Page 307                                                Page 309
     1   the     multiplier, if an order was within            1   products, but it's based on the 18-month
     2                     the 18-month moving average         2   history. So that's where it's referring to the
     3   that order would not be flagged and would be          3   multiplier above.
     4   processed and shipped?                                4      Q. Got it.
     5      A. If it was less than , yes, that's               5          And then do you see that there's two
     6   correct.                                              6   columns there of "Order Lines Processed" and
     7      Q. And that would be the same for the              7   "Order Lines Failed"? Do you see that?
     8   number of orders, right?                              8      A. Yes.
     9      A. For this frequency, order frequency,            9      Q. And in tier 1, just take March of
    10   yes.                                                 10   2012, there's 124 order lines processed and 56
    11      Q. And then -- and is that how the                11   order lines failed.
    12   algorithm continues to operate today?                12          Do you see that?
    13      A. Yes.                                           13      A. Mm-hmm.
    14      Q. For both volume of order and for the           14      Q. So does that mean that in March of
    15   number of orders?                                    15   2012, for tier 1 orders there were 124 of them?
    16      A. Yes.                                           16      A. There were 124 orders processed. 56
    17      Q. And then if you flip -- continuing on          17   went on hold.
    18   that page, it ends with this reference to "Jen       18      Q. And that means that it flagged the
    19   Buist Statistics."                                   19   algorithm?
    20          Do you see that?                              20      A. Yes.
    21      A. Yes.                                           21      Q. Do you recall what was going on in
    22      Q. And then there's a reference to a tier         22   March of 2012 to suggest that high level of
    23   1 and a tier 2.                                      23   flagging by the algorithm?
    24          Do you see that?                              24      A. I don't. I know it's when the program

   Golkow Litigation Services                                                      Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 84. PageID #: 253599
                                                                             Review
                                                Page 310                                                Page 312
     1   started, so I don't know if there was historical    1       Q. And then 596 average order lines
     2   data that needed to be loaded.                      2   hitting the algorithm, right?
     3       Q. Sure.                                        3       A. Yes.
     4       A. Or I don't remember specifically.            4       Q. And so that's approximately, just
     5       Q. And then you see for the rest of the         5   doing the math, about 93 percent clearing the
     6   tier 1, that March of 2012 is an anomaly? Would     6   algorithm and being processed and shipped,
     7   you agree with me with that?                        7   right?
     8       A. Yes.                                         8       A. Yeah, I don't know the math, but --
     9       Q. So -- and then there's less orders           9   not my thing.
    10   processed going down the line, and then            10       Q. And do you know, apart from sort of
    11   correspondingly less order fails, correct?         11   that March, 2012 anomaly, do these statistics
    12       A. Correct.                                    12   hold from 2012 to the present, do you know?
    13       Q. And again, that's the number of those       13       A. I don't, not without running reports
    14   orders that are being flagged by the algorithm,    14   and looking at them.
    15   right?                                             15       Q. And I assume that, again, based on the
    16       A. Correct, for tier 1.                        16   document here, that Jen Buist must have ran
    17       Q. So if you just look at the averages         17   these statistics?
    18   here, you take an average, and it does the math    18       A. She did when she was in that role.
    19   for you there, 78 average orders during that       19       Q. And it sounds like she's no longer in
    20   time period, on average 7 monthly fails.           20   that role?
    21           Do you see that?                           21       A. Correct.
    22       A. It's 78 lines, not 78 orders.               22       Q. Who is in that role?
    23       Q. Sorry. Thank you.                           23       A. Rachelle Rogers.
    24           78 lines, 7 line fails, right?             24       Q. Do you know if the SOM steering
                                                Page 311                                                Page 313
     1      A. Yes.                                          1   committee is continuing to receive these types
     2      Q. And just simple math, that suggests           2   of reports showing how many tier 1 and tier 2
     3   that 90 percent of the orders are making its way    3   order lines are being processed and hitting the
     4   through the algorithm and being processed and       4   algorithm?
     5   shipped, right?                                     5       A. Not recently.
     6      A. If they don't hit tier 2 metrics, yes.        6       Q. And then we saw in the previous
     7      Q. Sure.                                         7   document that when that investigation gets
     8          And then down on tier 2, it has the          8   tripped, the investigation takes 10 to
     9   same two columns, Order Lines Processed, Order      9   15 minutes, right?
    10   Lines Failed, right?                               10       A. On average.
    11      A. Yes.                                         11       Q. And is that continuing the average
    12      Q. I don't want to belabor the point, but       12   from 2012 to the present?
    13   again, these are lines that go through the         13       A. I'd have to run reports. It's --
    14   algorithm in tier 2, correct?                      14   every line is thoroughly investigated.
    15      A. Mm-hmm. Sorry, yes.                          15       Q. And who would you go to to run that
    16      Q. And then order lines failed are those        16   report about how long it's taking to process the
    17   that are flagged by the algorithm for additional   17   orders that are being hit by the algorithm?
    18   investigation?                                     18       A. I would run it.
    19      A. Yes.                                         19       Q. You would run the report?
    20      Q. And then again taking the averages           20       A. Mm-hmm.
    21   here, the sheet does the math for you, that's on   21       Q. How would you do it?
    22   average per month 8,436 lines on average are       22       A. We have a system. Well, let me
    23   processed per month, correct?                      23   clarify.
    24      A. Yes.                                         24          So how long it takes to review, to

   Golkow Litigation Services                                                    Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 84. PageID #: 253600
                                                                             Review
                                                Page 314                                              Page 316
     1   review and release an order if appropriate?         1       A. I would contact the finance analyst
     2       Q. Yes.                                         2   that has access to the chargeback system.
     3       A. So I don't know that we'd have a             3       Q. And who is that?
     4   mechanism to know that. It's human involvement,     4       A. Currently is Debbie Digby.
     5   and I have an analyst that that's what her          5       Q. And who was it prior to Ms. Digby?
     6   full-time job is, and she spends a good part of     6       A. I'm not sure who Jennifer was
     7   her day reviewing and releasing, so I don't --      7   getting -- Jen Buist was getting them from.
     8   we don't have a mechanism that tracks exactly       8       Q. And then have you ever had occasion to
     9   how long it takes.                                  9   ask for chargeback data?
    10       Q. And who is that analyst?                    10       A. Yes.
    11       A. Rachelle Rogers currently.                  11       Q. Any time when that request for
    12       Q. And how long has she been in that           12   chargeback data was refused?
    13   role?                                              13       A. No.
    14       A. Since December.                             14       Q. You testified earlier that when
    15       Q. And did she take over from Jennifer         15   Mallinckrodt terminated chargebacks to a
    16   Buist?                                             16   pharmacy you reported this to the DEA and
    17       A. No. She took over from Amanda Chase         17   Mallinckrodt would inform the DEA through a
    18   who was in that role for approximately a year      18   letter. Do you remember that testimony?
    19   and a half.                                        19       A. Yes.
    20       Q. And did Amanda Chase take over the          20       Q. Did Mallinckrodt maintain a copy of
    21   role from Jennifer Buist?                          21   the letter that it sent to the DEA?
    22       A. No. Previous to Amanda Chase it was         22       A. Yes.
    23   done out in corporate by Heather McKenzie, and     23       Q. And did you send that letter?
    24   Jen Buist was previous to Heather McKenzie.        24       A. I send them currently. Previous to me
                                                Page 315                                              Page 317
     1      Q. Just forgive me, just give me one             1   would have been Jen Buist or Heather McKenzie.
     2   second because I ask a lot of questions that        2      Q. Okay. And when did you start sending
     3   were already covered, and it's a lot easier for     3   them?
     4   me just to look at my notes than to ask you all     4      A. When SOM program transferred to Hobart
     5   those questions again.                              5   back in April of 2017.
     6          As part of your role on the suspicious       6      Q. Okay. Thank you.
     7   order monitoring steering committee, have you       7           I'm going to hand you a document that
     8   had a chance to review some chargeback data?        8   we marked as Exhibit 46.
     9      A. Yes.                                          9           (Whereupon, Mallinckrodt-Spaulding-46
    10      Q. And this may have been covered               10           was marked for identification.)
    11   earlier, but do you recall when chargeback data    11   BY MR. GESTEL:
    12   started being used by the suspicious order         12      Q. And I promise you that we're near the
    13   monitoring program at Mallinckrodt?                13   end.
    14      A. So we reviewed some e-mails earlier          14           You've been handed a document that's
    15   today that gave a ballpark, but I don't remember   15   been marked as Exhibit 46. At the top of it,
    16   exactly when.                                      16   the title of this document is the "HZQS -
    17      Q. And have you ever had occasion for           17   Controlled Substances Compliance
    18   yourself to request chargeback data?               18   Responsibilities Associated with
    19      A. For myself?                                  19   Anti-Diversion."
    20      Q. Well, let me back up.                        20           Did I read that correctly?
    21          Do you maintain the chargeback data?        21      A. Yes.
    22      A. No.                                          22      Q. And you see the revision date is
    23      Q. If you needed a chargeback report run,       23   March 11, 2015.
    24   how would you go about effectuating that?          24           Do you see that?

   Golkow Litigation Services                                                    Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 84. PageID #: 253601
                                                                             Review
                                                Page 318                                                Page 320
     1      A. Yes.                                          1   February 19, 2015, correct?
     2      Q. Do you know if this is -- continues to        2      A. Yes.
     3   be the current policy?                              3      Q. And then a supersedes date of a
     4      A. I don't.                                      4   previous policy of November 14, 2013, right?
     5      Q. Do you maintain the policies?                 5      A. Yes.
     6      A. I do not.                                     6      Q. And then once again, we can assume
     7      Q. But you know that based on the record         7   that this is the policy that went into effect on
     8   here that this was at least the portion that was    8   February 19, 2015?
     9   in effect on March 11, 2015?                        9      A. Yes.
    10      A. Based on this document, yes.                 10      Q. And then do you know if this is the
    11      Q. And then if there are subsequent             11   current policy in effect?
    12   revisions, does the revision date gets updated     12      A. I don't.
    13   and it supersedes the date of the previous         13      Q. But if it was revised, there would be
    14   revision?                                          14   a new revision date with the supersede date
    15      A. Correct, the next revision would move        15   replaced with this February 19, 2015 date?
    16   the March -- 03/11/2015 to supersedes date, and    16      A. Correct, if it had been approved.
    17   then become the new date.                          17      Q. That was my last policy. I hand you
    18      Q. Got it.                                      18   Exhibit Number 49.
    19          I've handed you a document that we'll       19          (Whereupon, Mallinckrodt-Spaulding-49
    20   mark as Exhibit 47.                                20          was marked for identification.)
    21          (Whereupon, Mallinckrodt-Spaulding-47       21   BY MR. GESTEL:
    22          was marked for identification.)             22      Q. This is an e-mail from you dated
    23   BY MR. GESTEL:                                     23   September 18, 2015 to Carrie Johnson, correct?
    24      Q. And this document is another SOM             24      A. Yes.
                                                Page 319                                                Page 321
     1   written policy. This one is entitled                1      Q. And it has -- carries the title
     2   "Identification, Investigation, and Reports of      2   "UO" -- or subject "UOR Program Review," right?
     3   Controlled Substances Suspicious Orders."           3      A. Yes.
     4          Did I read that correctly?                   4      Q. What is the UOR program?
     5      A. Yes.                                          5      A. Unusual order reports.
     6      Q. I don't want to belabor this too much,        6      Q. And then if you flip back, you see
     7   but same thing with regard to the effective date    7   that there are various attachments to this
     8   and supersede date is the same as the document      8   e-mail, right?
     9   that preceded this?                                 9      A. Yes.
    10      A. Yes.                                         10      Q. Do you recall sending this e-mail?
    11      Q. Do you know if this is the current           11      A. I don't, no.
    12   in-force version of this policy?                   12      Q. Any reason to believe that you did not
    13      A. I don't.                                     13   send the e-mail?
    14          (Whereupon, Mallinckrodt-Spaulding-48       14      A. No.
    15          was marked for identification.)             15      Q. And then if you flip back to the last
    16   BY MR. GESTEL:                                     16   page, there is a document entitled "Excluded
    17      Q. You're going to notice a trend here.         17   Items within the UOR scope of JDE."
    18   Exhibit 48 (handing). Once again, another SOM      18          Did I read that correctly?
    19   policy, this one entitled "Controlled Substances   19      A. Yes.
    20   Compliance Responsibilities Associated with        20      Q. What does that mean?
    21   Suspicious Order Monitoring."                      21      A. So there's certain products that we
    22          Did I read that correctly?                  22   make on behalf of other manufacturers, such as
    23      A. Yes.                                         23   this Methylin Chewable, Methylin Oral,
    24      Q. And then there's a revision date of          24   Tussicaps, and we do not distribute to the

   Golkow Litigation Services                                                    Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 84. PageID #: 253602
                                                                             Review
                                                Page 322                                                Page 324
     1   market. So we're a contract marketing               1       Q. Got it. Actually that was my next
     2   organization for another manufacturer.              2   question.
     3       Q. Okay. And then do you see there's a          3          So when you say removed from the list,
     4   chart that says, two columns, "Reason" and then     4   it means removed from this carveout list from
     5   "Definition"?                                       5   the suspicious order monitoring -- or I'm sorry,
     6          Do you see that?                             6   the algorithm processing?
     7       A. Yes.                                         7       A. Correct, because they were both new
     8       Q. And then there are three reasons             8   products that were launched, so there was no
     9   listed. Under the second one, there's               9   history in the market to be able to measure
    10   "Xartemis XR." Did I say that correctly?           10   volumes against for previous orders.
    11       A. Yeah, Xartemis.                             11       Q. Got it.
    12       Q. Xartemis.                                   12          So -- but then beginning on
    13          And it says "added to table on              13   January 22, 2015, these two items were then
    14   March 12, 2014. XXR deemed by SOM Team not         14   added to the algorithm?
    15   likely to be diverted into other than legitimate   15       A. Correct, because now we had a history
    16   medical channels."                                 16   to know what customers would be ordering of it
    17          Did I read that correctly?                  17   to look at.
    18       A. Yes.                                        18       Q. Got it.
    19       Q. What does that mean?                        19          And is that true through today, that
    20       A. It's a branded product, and it's very       20   those are being ran through the algorithm?
    21   small volume, very expensive, so there's not a     21       A. Both products are discontinued, but
    22   lot of it moving.                                  22   yes.
    23       Q. And so what does it mean that "XXR          23       Q. Got you.
    24   deemed by SOM Team not likely to be diverted"?     24          You went through with Mr. Gotto
                                                Page 323                                                Page 325
     1      A. It's -- XXR is the abbreviation for           1   some -- the memorandum of understanding entered
     2   Xartemis XR.                                        2   between Mallinckrodt and the United States
     3      Q. Got it.                                       3   Department of Justice.
     4          Does this mean that orders for this          4          Do you recall that testimony?
     5   particular item are not being run through the       5      A. The memorandum of agreement, yes.
     6   algorithm?                                          6      Q. Yes.
     7      A. Yes.                                          7          Were you disciplined at all as a
     8      Q. And then the same thing here on the           8   result of the allegations by the Department of
     9   next reason, "Generic Exalgo"?                      9   Justice that led to that MOA?
    10      A. Correct.                                     10      A. No.
    11      Q. It says it's added to the table on           11      Q. Are you aware of anyone at
    12   May 15, 2014.                                      12   Mallinckrodt that was disciplined as a result of
    13      A. Added to the table, yes.                     13   the allegations that gave rise to the July, 2017
    14      Q. And then "Generic Exalgo deemed by SOM       14   MOA with the United States Department of
    15   Team not likely to be diverted into other than     15   Justice?
    16   legitimate medical channels."                      16      A. No.
    17          Did I read that correctly?                  17      Q. This must be music to your ears,
    18      A. Correct.                                     18   Ms. Spaulding, but that's all I have.
    19      Q. Does that mean that orders for the           19          THE VIDEOGRAPHER: The time is
    20   generic Exalgo are also not being run through      20   5:40 p.m., and we're off the record.
    21   the algorithm?                                     21          (Whereupon, a recess was taken.)
    22      A. For both products until they were            22          THE VIDEOGRAPHER: The time is
    23   removed on January 22, 2015, and then they were    23   5:40 p.m., and we're on the record.
    24   being run.                                         24              EXAMINATION

   Golkow Litigation Services                                                    Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 84. PageID #: 253603
                                                                             Review
                                                Page 326                                                          Page 328
     1   BY MR. O'CONNOR:                                    1   That's it.
     2       Q. Ms. Spaulding, I promise to be quick.        2          Go off the record.
     3          Can you please take a look at Exhibit        3          THE VIDEOGRAPHER: The time is
     4   Number 41, the memorandum of agreement? I just      4   5:43 p.m. This deposition has concluded, and we
     5   want to make sure we have a very clear record on    5   are off the record.
     6   this.                                               6          (Whereupon, the deposition was
     7          Earlier today Mr. Gotto questioned you       7          concluded.)
     8   with regard to the Background section on Page 1     8
     9   of this agreement.                                  9
    10          Do you recall that testimony?               10
    11       A. Yes.                                        11
    12       Q. Again, just so we have a clear record,      12
    13   after you had a chance to review the language of   13
    14   that Background section with Mr. Gotto, do you     14
    15   agree with any of the allegations the United       15
    16   States was making against Mallinckrodt in these    16
    17   paragraphs 1 through 7?                            17
    18       A. No.                                         18
    19       Q. Okay. And specifically you don't            19
    20   agree, or do you agree with the United States --   20
    21   strike that.                                       21
    22          Do you agree with the allegations the       22
    23   United States is making in paragraph 3             23
    24   specifically?                                      24

                                                Page 327                                                          Page 329
     1        A. No.                                         1 COMMONWEALTH OF MASSACHUSETTS )
     2        Q. And do you agree with the allegations       2 SUFFOLK, SS.                 )
     3   the United States is making in paragraph 5?         3         I, MAUREEN O'CONNOR POLLARD, RMR, CLR,
     4        A. No.                                         4 and Notary Public in and for the Commonwealth of
     5        Q. Okay. If you could turn to Page 3,          5 Massachusetts, do certify that on the 5th day of
     6   I'll direct your attention to subparagraph B, as    6 February, 2019, at 9:06 o'clock, the person
     7   in boy, Mr. Gotto asked you a series of             7 above-named was duly sworn to testify to the
     8   questions about paragraph B. Do you recall          8 truth of their knowledge, and examined, and such
     9   that?                                               9 examination reduced to typewriting under my
    10        A. Yes.                                       10 direction, and is a true record of the testimony
    11        Q. And how would you characterize the         11 given by the witness. I further certify that I
    12   issues that are addressed in paragraph B?          12 am neither attorney, related or employed by any
    13           MR. GOTTO: Object to form.                 13 of the parties to this action, and that I am not
    14        A. They are all documentation --              14 a relative or employee of any attorney employed
    15   BY MR. O'CONNOR:                                   15 by the parties hereto, or financially interested
    16        Q. Okay.                                      16 in the action.
    17        A. -- instances.                              17         In witness whereof, I have hereunto
    18        Q. Are you aware of any evidence to           18 set my hand this 7th day of February, 2019.
    19   suggest that any of the issues described in        19
    20   paragraph B led to any controlled substance        20        ______________________________________
    21   leaving the Hobart facility?                       21        MAUREEN O'CONNOR POLLARD, NOTARY PUBLIC
    22           MR. GOTTO: Object to form.                 22        Realtime Systems Administrator
    23        A. No.                                        23        CSR #149108
    24           MR. O'CONNOR: Okay. All right.             24


   Golkow Litigation Services                                                           Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-19
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 84. PageID #: 253604
                                                                             Review
                                                Page 330                                               Page 332
     1         INSTRUCTIONS TO WITNESS                      1
     2                                                      2         ACKNOWLEDGMENT OF DEPONENT
                                                            3
     3             Please read your deposition over         4             I, __________________________, do
     4   carefully and make any necessary corrections.          Hereby certify that I have read the foregoing
     5   You should state the reason in the appropriate     5   pages, and that the same is a correct
     6   space on the errata sheet for any corrections          transcription of the answers given by me to the
                                                            6   questions therein propounded, except for the
     7   that are made.
                                                                corrections or changes in form or substance, if
     8             After doing so, please sign the          7   any, noted in the attached Errata Sheet.
     9   errata sheet and date it. It will be attached      8
    10   to your deposition.                                9   _________________________________
                                                                Eileen Spaulding    DATE
    11             It is imperative that you return        10
    12   the original errata sheet to the deposing         11
    13   attorney within thirty (30) days of receipt of    12
                                                           13
    14   the deposition transcript by you. If you fail
                                                           14
    15   to do so, the deposition transcript may be        15
    16   deemed to be accurate and may be used in court.   16   Subscribed and sworn
    17                                                          To before me this
    18                                                     17   ______ day of _________________, 20____.
    19
                                                           18   My commission expires: ________________
                                                           19
    20
                                                                _______________________________________
    21                                                     20   Notary Public
    22                                                     21
                                                           22
    23
                                                           23
    24                                                     24

                                              Page 331                                                 Page 333
     1          ------                                      1         LAWYER'S NOTES
                ERRATA                                      2   PAGE LINE
     2          ------                                      3   ____ ____ _______________________________
     3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
     4   ____ ____ _________________________________        5   ____ ____ _______________________________
     5     REASON: __________________________________       6   ____ ____ _______________________________
     6   ___ ____ __________________________________        7   ____ ____ _______________________________
     7     REASON: __________________________________       8   ____ ____ _______________________________
     8   ____ ____ _________________________________        9   ____ ____ _______________________________
     9     REASON: __________________________________      10   ____ ____ _______________________________
    10   ____ ____ _________________________________       11   ____ ____ _______________________________
    11     REASON: __________________________________
                                                           12   ____ ____ _______________________________
    12   ____ ____ _________________________________
                                                           13   ____ ____ _______________________________
    13     REASON: __________________________________
                                                           14   ____ ____ _______________________________
    14   ____ ____ _________________________________
    15     REASON: _________________________________
                                                           15   ____ ____ _______________________________
    16   ____ ____ _________________________________
                                                           16   ____ ____ _______________________________
    17     REASON: _________________________________
                                                           17   ____ ____ _______________________________
    18   ____ ____ _________________________________
                                                           18   ____ ____ _______________________________
    19     REASON: _________________________________       19   ____ ____ _______________________________
    20   ____ ____ _________________________________       20   ____ ____ _______________________________
    21     REASON: _________________________________       21   ____ ____ _______________________________
    22   ____ ____ _________________________________       22   ____ ____ _______________________________
    23                                                     23   ____ ____ _______________________________
    24                                                     24   ____ ____ _______________________________

   Golkow Litigation Services                                                   Page 84 (330 - 333)
